Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 1 of 191




           Exhibit A
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 2 of 191




                                                                          Hon. Thomas S. Zilly




                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON

 ESTHER HOFFMAN, SARAH                          )       Case No.: 2:18-cv-01132 TSZ
 DOUGLAS, ANTHONY KIM, IL KIM                   )
 and DARIA KIM,                                 )       DECLARATION OF
                                                )       JOHN G. RICHARDS II
                Plaintiffs,                     )
                                                )
        -vs-                                    )
                                                )
 TRANSWORLD SYSTEMS INC., et al.,               )
                                                )
                Defendants.                     )

       JOHN G. RICHARDS II, pursuant to 28 U.S.C. § 1746, declares as follows:

       1.      I am over the age of 18 and have personal knowledge of each of the matters set

forth in this Declaration, and if called as a witness, would testify competently to them.

       2.      I am a Vice President for U.S. Bank National Association (“U.S. Bank”) and

have been an employee of U.S. Bank since April 2, 2012. In my role as Vice President, I share

responsibility for and have personal knowledge of U.S. Bank’s contractual relationships related

to the special servicing of the National Collegiate Student Loan Trusts. I also have access to

and have reviewed the Bank’s business records pertaining to its contractual relationships with

National Collegiate Student Loan Trust 2003-1, National Collegiate Student Loan Trust 2004-

1, National Collegiate Student Loan Trust 2004-2, National Collegiate Student Loan Trust

2005-1, National Collegiate Student Loan Trust 2005-2, National Collegiate Student Loan

Trust 2005-3, National Collegiate Student Loan Trust 2006-1, National Collegiate Student

DECLARATION OF JOHN G. RICHARDS II – 1
     Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 3 of 191




Loan Trust 2006-2, National Collegiate Student Loan Trust 2006-3, National Collegiate

Student Loan Trust 2006-4, National Collegiate Student Loan Trust 2007-1, National

Collegiate Student Loan Trust 2007-2, National Collegiate Student Loan Trust 2007-3,

National Collegiate Student Loan Trust 2007-4 and National Collegiate Master Student Loan

Trust (collectively the “Trusts”), First Marblehead Education Resources, Inc. (“FMER”), and

Transworld Systems Inc. (“TSI”), and I am familiar with the Trust Agreements, Trust Related

Agreements, and related documents.       I am duly authorized to make the representations

contained in this Declaration for and on behalf of U.S. Bank.

       3.      On or about March 1, 2009, U.S. Bank entered into a Special Servicing

Agreement with FMER, as Special Servicer, and each Trust other than NCSLT 2007-3, NCSLT

2007-4, and National Collegiate Master Student Loan Trust . Attached as Exhibit A is a true

and correct copy of the Special Servicing Agreement dated March 1, 2009. In addition, on or

about May 1, 2009, U.S. Bank entered into a Special Servicing Agreement with FMER, as

Special Servicer, Ambac Assurance Corporation, and NCSLT 2007-3, NCSLT 2007-4, and

National Collegiate Master Student Loan Trust. The provisions of the March 1, 2009 and May

1, 2009 Special Servicing Agreements are materially similar and each operate in the same

manner described below. For ease of reference, I refer to them together as the “Special

Servicing Agreement” in this Declaration.

       4.      Pursuant to the Special Servicing Agreement, U.S. Bank was named the Back-

Up Special Servicer, and it would assume certain limited contractual obligations, or appoint

another eligible entity to do so, if FMER was removed or resigned as Special Servicer (Ex. A

at ¶¶ 8(A), (B)). Pursuant to the Default Prevention and Collection Services Agreement,


DECLARATION OF JOHN G. RICHARDS II – 2
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 4 of 191




contemporaneously executed and incorporated by reference into the Special Servicing

Agreement if U.S. Bank became the Successor Special Servicer, NCO Financial Systems

(“NCO”), would be the entity obligated to conduct collection activities, including the

management of collection litigation on behalf of the Trusts (Id. at 1 8(G)).

        5.      In addition, the Special Servicing Agreement, among other things, designated

FMER as a “Special Servicer” and as a “Servicer” pursuant to each Trust’s respective

Indenture. The agreement authorized the Special Servicer to, among other things: (1) “retain[]

counsel on behalf of the applicable Trust (whether directly or through collections agencies) to

further pursue enforcement and collection . . . including through litigation”; (2) engage Sub-

servicers, “for and on behalf of the applicable Trust . . . to seek enforcement and collections of

[defaulted or delinquent] Loans,” and (3) commence any actions or proceedings “necessary or

appropriate in connection with” such enforcement or collection efforts (Id. at ¶ 2(B)(i), (xv),

and ¶ 4).

        6.      The Special Servicing Agreement was executed by Wilmington Trust Company,

in its capacity as the Owner Trustee on behalf of the Trusts, and it was Acknowledged and

Confirmed by First Marblehead Data Services, Inc., in its capacity as Administrator of the

Trusts (Id. at 22).

        7.      Also on March 1, 2009, FMER, as Special Servicer, and NCO Financial

Systems, Inc., which, upon information and belief, was a predecessor to TSI, entered into a

Default Prevention and Collection Services Agreement. The Default Prevention and Collection

Services Agreement was Exhibit II to the Special Servicing Agreement and incorporated therein

by reference. Attached as Exhibit B is true and correct copy of the Default Prevention and


DECLARATION OF JOHN G. RICHARDS II – 3
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 5 of 191




Collection Services Agreement dated March 1, 2009 (the “TSI Agreement”), which has been

redacted to protect confidential and proprietary information.

          8.    Under the TSI Agreement, NCO/TSI was retained to act as Special Sub-

Servicer, on behalf of the Trusts, in the event U.S. Bank became the Special Servicer under the

Special Servicing Agreement. The TSI Agreement provides for TSI to perform the vast

majority of the duties of the Special Servicer under the Special Servicing Agreement, including

all collections activities.

          9.    Under the TSI Agreement, TSI is retained as the Trusts’ record keeper for the

loans it services on behalf of the Trusts. TSI is also contracted to assist in providing information

and documents related to the servicing and collection of defaulted student loans owned by the

Trusts.

          10.   TSI is also contracted under the TSI Agreement to manage litigation of defaulted

student loans owned by the Trusts and, upon the Special Servicer’s request, to manage litigation

of claims asserted against the Trusts as counterclaims or arising out of collection activity.

          11.   In 2012, FMER resigned as Special Servicer, and in or around November 2012,

U.S. Bank assumed the role as Successor Special Servicer, and NCO undertook the special

servicing and collection activities, including litigation.

          12.   On information and belief, in or around October 2014, NCO transferred the

business to TSI, which was then sold. TSI has managed the past-due and default servicing for

the Trusts since November 2014.

          13.   U.S. Bank, as Successor Special Servicer, requested TSI manage this litigation

on behalf of the Trusts. In its role managing litigation, TSI is contracted to and regularly retains


DECLARATION OF JOHN G. RICHARDS II – 4
                     Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 6 of 191


         1
         ')
                counsel to act for the Trusts at TSI's direction. U.S. Bank understands that TSI regularly retains

         3      Sessions, Fishman, Nathan & Israel ("The SESSIONS FIRM") to defend claims against the

         4      Trusts. U.S. Bank further understands that TSI retained The SESSIONS FIRM and Andrews

         5      Skinner, P.S. ("ANDREWS SKINNER") in the above-captioned case.

         6             14.     All of the foregoing statements are true and correct to the best of my knowledge,

         7     information and belief.

         8             I declare under penalty of perjury under the laws of the United States that the foregoing
         9     is true and correct.

    10                                           October, 2020 at Chicago, Illinois.
    11

    n
   13

   14

  15

  16

  17

 18

 19

JO

::n
'')'")




13

~4
              DECLARATION OF JOHN G, RICHARDS JJ - 5
~5
Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 7 of 191




           Exhibit A
     Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 8 of 191

                                                                                  Execution version



                              SPECIAL SERVICING AGREEMENT

       This Special Servicing Agreement, dated as of March 1, 2009 (this "Agreement"! is
entered into by and among First Marblehead Education Resources. Inc. ("FMER'T, as the Special
Servicer (together with its successors and assigns, the "Special Servicer T. U.S. Bank National
Association, as the Rack-Up Special Servicer (the "Back-Up Special Scrvicc-r j and each of the
Trusts listed on Schedule A attached hereto [the "Trusts"!.

        WHEREAS, the Special Servicer, and other sub servicing agents appointed from time to
time by the Special Servicer, as provided herein, are experts in tire management of student loan
collections and default prevention services;

       WHEREAS, each of the Trusts is appointing the Special Servicer as a Servicer under
each Trust's respective indenture, as listed on Schedule A attached, hereto (the "Indent urcs"1. to
perform certain limited duties with respect to student loans (the "Student Loans") owned by the
Trusts, including Student Loans that are delinquent or defaulted loans ("Delinquent Loans" and
"Defaulted Loans.'' as defined below).

         WHEREAS, tilt Trusts are appointing the Back-Up Special Servicer to serve in such
capacity pursuant to the provisions of this Agreement;

         'NOW, THEREFORE,           in consideration of the premises and the mutual       covenants
hereinafter set forth, the parties agree as follows:

       Section 1 .   Definitions. Capitalized terms used and not otherwise defined herein shall
have the meanings assigned to such terms in the Indentures. For purposes of this Agreement, the
following capitalized terms shall have the respective meanings set forth below:

      "Defaulted Loan" means any Student Loan as to which any of the following: (a) a TERi
Guaranty Event has occurred, (b) the Servicer has determined that a TKR1 Guaranty Event has
occurred and has submitted documents supporting that determination to the Special Servicer or
(c) if the Student Loan is no longer subject to a valid TERI Guaranty Agreement, the Servicer
has determined that a borrower has defaulted under his respective student loan credit agreement
and has notified the Special Servicer of such occurrence.  .

          "Delinquent Loan" means a Student Loan, thai is at least 31 days past due but is not yet a
 Defaulted Loan.

          Section 2.       APPoimmenL: Special Servicing Duties,

         A.     Appointment. Each of the Trusts hereby hires, designates and appoints the
 Special Servicer as a Servicer under each Trust's respective Indenture to perform the special
 servicing duties (as defined below), and the Special Servicer accepts such appointment and.
 agrees to perform such duties with respect to lire Student Loans, including Delinquent Loans and
 Defaulted Ixiana, in accordance with the terms of this Agreement and each Indenture,

          B.        Special Services.   The Special Servicer shall take such actions as it shall deem
 reasonably necessary or appropriate lo administer and oversee Early Awareness Services (as



 lRrc:,<G5iilA;29S99\V-6
     Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 9 of 191




denned below) with respect to Student Loans as generally described below and the enforcement,
and collection of Delinquent Loans and Defaulted Loans to maximize the collection of amounts
payable on tine Student Loans (collectively, the "Special Services'"), including without limitation:

               (i)     Retaining and entering into agreements with licensed collection agencies
                       and other legally authorized persons (the "Sub servicers'" engaged in
                       providing default prevention services, in form and substance satisfactory
                       to the Special Servicer, pursuant Lo which the Subservicers. for and on
                       behalf of the applicable Trust, will contact borrowers with respect to the
                       Student Loans, including without, limitation borrowers with respect to
                       Delinquent    Loans   or   Defaulted   Loans,   and   seek   enforcement   and
                       collection of such Loans:


               (ii)    At die 30 So discretion of the Special Servicer, (a) performing periodic
                       audits of Subservlcers for compliance and performance reviews and (b)
                       providing oversight of the activities of Sub servicer with regard to account
                       management, litigation assistance, and/or settlement strategies:

                (hi)   Replacing any Sub servicer who, in the sole judgment of the Special
                       Servicer, is deemed to be deficient or negligent in performing the duties
                       outlined in its subsetvicing agreement with the Special Servicer;

                (iv)   Requiring in the applicable subsetvicing agreement, the Subsetvioers to
                       provide certain monthly reports to the Special Servicer with respect to
                        Student Loans serviced by such Subservicer, in each case, in form and
                        substance satisfactory to tire Special Servicer;


                (v)     With respect to Student Loans, retaining one or more Subserviccrs to
                        perform. Early Awareness Services,       5 'Early Awareness Services" .shall
                        mean such services determined by the Speck] Servicer to be desirable to
                        reduce the number and percentage of student borrowers becoming
                        subsequently delinquent in the repayment process, including without
                        Inniiatioii, sen-ices that are- intended to alert student borrowers and
                        coborrowers as to their repayment obligations, available borrower benefits
                        (such as ACH automatic payments) and contact information tor the
                        Servicer, E:uly Awareness Services may include both telephonic and mail
                        contacts, as well as address verification and skip tracing;

                (vi)    With respect to Delinquent Loans, the Special Servicer shall transfer all
                        collection activities from the applicable Servicer to Subservicers who will
                        seek" enforcement and collection of such Loans and provide monthly
                        reports to the Special Servicer in form and substance satisfactory to the
                        Special Servicer, provided that the Special Servicer shall not be required
                        to transfer such collection activities if hirst Marble bead Data Services, inc.
                          J LMDS") is the Administrator and FM'DS determines That collections
                        would not be maximized on such Delinquent Loans if the collection
                        activities were transferred to Subservicers:
    Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 10 of 191




              (vii)     With respect to Defaulted Loans, review claim packages as described in
                        subparagraph (xi);


              (viii)    With resjreet to Defaulted Loans that are the subject of a TER.l Guaranty
                        Event, as determined by the Special Servicer* (a) submit a. claim under the
                        Guaranty Agreement to TER1 for the benefit of the Trust, and/or (b) refer
                        the loan far collection by a Subserviuer on behalf of such Trust;


              Ox)       With respect to Defaulted Loans that are over 1 SO days delinquent, die
                        Special Servicer wilt cause ibe Subservicer to (a) roll or reassign accounts
                        from ISO days delinquent into a default recovery queue for collection
                        efforts and (b) remit weekly to the FMER. Collection Account (as
                        herein after defined) for the receipt of collections from a Subservicer for
                        the benefit of the respective trusts as their interest may appear, cash
                        collected on all Defaulted Loans serviced by such Subservicer for the
                        Trusts.


              (x)       Establishing and maintaining an account or accounts QtFMER Collect] on
                        Account'*) in die name of the Indenture Trustee (or its agent or custodian)
                        for benefit of the applicable secured parties of the Trusts under the
                        respective Indentures for the deposit by a Subservicer of net collections on
                        all Defaulted Loans serviced by such Subservicer for the respective Trust
                        and hi connection therewith preparing or causing to be prepared such
                        control agreement or agreements us may be necessary or desirable to
                        maintain   and preserve the lieu and      security interest therein of the
                        Jn denture Trustee under the respective Indentures;


              (xi)      Reviewing claim packages (which packages shall contain the information,
                        reports and documents required in the Program. Manual for the related
                        TERI Guaranty Agreement and identified 011 the checklist or lists attached
                        hereto as Exhibit !) prepared by the Servicer with respect to Defaulted
                        Loans to confirm, on. the basis of such review, that (a) Servicer 1ms
                        complied witli applicable servicing guidelines and (b) the Loan originator
                        has complied with applicable program guidelines;


              (xii)     Receiving reports from Servicers and Subservi.ceis related to payments
                        with respect to Delinquent Loans and Defaulted Leans and updating
                        records with respect to Student Loans as interest and oilier charges accrue
                        and amounts are collected;


               (xiii)   Remitting or causing the Subsetvie er to remit net collections received on
                        Defaulted Loans to the FMER Collection Account;


               (xiv)    With respect to Defaulted Loans, the Special Servicer shall transfer all
                        collection activities to Subservicers, provided that the Special Servicer
                        shaii not be required to transfer such collection activities if FMDS is the
                         Administrator and FMDS determines that it is likely that collections would




(PW3H05 1 1
                                                  3
   Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 11 of 191




                           not be maximised on such Defaulted Loans if the collection activities were
                           transferred to Subsemcers;

                   (xv)    Retaining counsel on behalf of the applicable Trust (whether directly or
                           through collection agencies) to further pursue enforcement and collection
                           of Delinquent Loans and Defaulted Loans, including through litigation and
                           bankruptcy or probate proceedings; and

                   (xvi)   Negotiating any settlement or compromise of any claim with respect to a
                           Defaulted Loan, which in the reasonable judgment of the Special Servicer
                           or the applicable Subsets'] cer is more likely to produce greater proceeds of
                           collection than by virtue of a forbearance, payment arrangement or odier
                           accommodation with the borrower.

         Section .1 .      incorporation.    As of the date hereof, the definition of "Servicing
Agreement" in each of the Indentures shall include this Agreement, the definition of "Servicer11
in each, of the Indentures shall include the Special Servicer and any Servicing Fee and other fees
and expenses payable under this Agreement to the Special Servicer or the- Buck-Lip Special
Servicer shall be a "Servicing Fee" for purposes each of the Indentures,


         Section 4,        Subservicers.    In carrying out its duties under this Agreement        with
respect to the Student Loans, including Delinquent loans and Defaulted Loans, the Special
Servicer may retain, and employ Subservicers to perform any of the Special Services with respect
to die Student Loans owned by any of I be Trusts, and to commence any actions or proceedings
the Subservicers deem necessary or appropriate in connection with such enforcement or
collection efforts on such Student Loans, the costs of such services with respect to Delinquent
Loans shall be subject to the Monthly Reimbursement Limit described in Section 5(B) below.

          Section 5.       Servicing Fee,    As compensation for the performance of the         Special
Servicer's obligations under this Agreement and as reimbursement for its expenses related
thereto, the Special Service;' shall be entitled to a fee and expense reimbursement (the "Servicing
Fee"} payable from each Trust in accord ance with tire related indenture on each Distribution
Date consisting of

       A,      A fixed fee 3z a rate equal to 1/12 of 0.01% of the aggregate outstanding Pool
Balance (for the Student Loans owned by such Trust) as of the last day of the prior calendar
month.


              B.   Reimbursement by each Trust for all of tire Special Servicer's expenses incurred
in performing its obligations hereunder tor such Trust, including all fees and expenses of all
Subserviters and other persons appointed as agenLs of lire Special Servicer pursuant to this
Agreement and any other expenses incurred by the Special Servicer on behalf of each Trust,
including costs and expenses incurred by the Special Servicer in establishing and maintaining the
FMER Collection Account; provided that the tees and expenses of Subservicers with respect to
collections on Defaulted Loans shall be paid from such collections prior to remittance to such
FMER Collection Account, us described in Section 2(B)(x) and (xiii) above. The reimbursement
described in this Section 5(B) with respect to Social Services Ibr Delinquent Loans (but not




         "1
                                                     4-
    Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 12 of 191




with respect to Early Awareness Services for Student. Loans or with respect to Special Services
for Defaulted. Loans') shall not exceed the dollar amount Listed for each Trust on Schedule B,
attached hereto, in the aggregate per calendar month per respective Trust (the -'Monthly
Reimbursement Limit"!.      The reimbursement described in this Section 5(B) with respect to
Special Services for Early Awareness Services for Student Loans shall not exceed the dollar
amount listed for each Trust on Schedule C, attached hereto, in the aggregate for each such Trust
until its respective Indenture is discharged.


       C.      The Administrator of each Trust may (and shall, at the direction of the Back-Up
Special Servicer if it shall bo acting as Special Servicer) arrange direct payments of the Servicing
Fee from cacti Trust to the Subservicers by delivering written instructions to the Indenture
Trustee to make such payments, as the same may be calculated, apportioned and charged to each
of the Trusts by the Administrator based on Etc expenses of the Subservicers relating to the
Trust's private student loan portfolio. The payment of the Servicing Fee payable by each Trust
shall be solely an obligation of such Trust, payable in accordance with the indentures, arid none
of the parries hereto, including the Back-Dp Special Servicer in such capacity or in its capacity
as successor Special Servicer, or any of the Trusts shall be liable to any Snhscrvlcer for any
amounts owed by FMER pursuant to its arrangements with Subservicers except as provided in
Sections 5(A) and (B) hereof to the extent funds are reimbursed by the Trusts.

        Section 6.     Term of Agreement; Resignation and Removal of Special Servicer .

        A.     This Agreement shall, continue in force with respect to each Trust until the
dissolution of such Trust and the- payment in full of the Notes under the related indenture, upon
which event tins Agreement snail automatically terminate with respect to that Trust. The Back
Up Special Servicer's duties and ohli gallons hereunder (hi eluding in its capacity as successor
Special Servicer, if applicable) and hi tight to receive compensation as provided in Section 8(F)
shall terminate upon the payment in lull of the Notes under the related Indenture.


        B,     Subject to Section 6(E) of this Agreement, the Special Servicer may resign its
duties hereunder by providing the Trusts, the Administrator, the Back-Up Special Servicer and
the Indenture Trustee with at least 1.0 days' prior written notice.

        C.      [RESERVED]


        D.      Subject to Section 6(E) of tills Agreement, the Indenture Trustee shall remove the
Special Servicer by delivering to the Special Servicer written notice of termination if any of the
following events shall occur:

                0)      The Special Servicer shall default ha the performance of any of its duties
                       under this Agreement and. after written notice of such default, shall not
                        cure such default within forty -five days (or such longer period as shall be
                        reasonably satisfactory to the Indenture Trustee);


                (ii)    A court having jurisdiction in She premises shall enter a decree or order for
                        relief, and. such decree or order shall not have beer, vacated within 60
                        days, with rc street to any involuntary7 case commenced again si: the Special
                        Servicer under any applicable bankruptcy, insolvency or other similar law



IMJMH J
                                                   5
    Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 13 of 191




                      now or hereafter in effect or shall appoint a receiver, liquidator, assignee,
                      ctiNt.od.ian, trustee, sequestrator or similar official for tits Special Servicer
                       or any .substantial part of its property or order the winding-up or
                       liquidation of its affairs;


              (iifi    The Special Servicer shall commence a voluntary case under any
                       applicable bankruptcy, insolvency or other similar law now or hereafter in
                       effect, shall consent to the entry of un order for relief in an involuntary
                       case under any such Jaw, or shall consent to the appointment of a receiver,
                       liquidator, assignee, trustee, custodian, sequestrator or similar official for
                       it or any substantial part of its property, shall consent to the taking of
                       possession by any such official of any substantial pari of its property, shall
                       make any general assignment for the benefit of its creditors or shall fail
                       generally to pay hs debts as they become due; or

               (TV)    Either: (a) The First Marbiehead Corporation fTMC") no longer has
                       sufficient assets- to pay debts as they coinc due in the ordinary course of
                       FMC "s business or (b)            KMC reports in its cortsoHoated      financial
                      ' statements cash, cash equivalents, investments and federal funds sold, in
                       the aggregate, of less than S30 million at the end of." any fiscal quarter.

               The Special Servicer agrees that if any of the events specified in clauses (in, (Hi)
or (iv) of this Section shall occur, it shall give written notice thereof to the Owner Trustee, the
Back-Up Special Servicer, each of the Raring Agencies and the Indenture Trustee within two
Business Days after the happening of such event Concurrently with the giving of such notice as
provided above (and in any event no later than five (5) Business Days after receipt of notice of
termination), the Special Servicer shall (1) notify NCO {or, if applicable, such other Sub servicer
or Subserv leers under such agreements with Subservicers as may then be in effect) of its removal
(and provide the Back -Up Special Servicer with a copy of such notice), and. (ti) cause the
Servicers to provide to NCO (or such other Subservkor or S ubservicers) such data files,
information and access to Servicer's systems as may be required by the NCO Agreement {or
successor agreements) or as may be necessary nr desirable for NCO (or such Subserviccr or
Subsetvicersi to perform under the NCO Agreement (or such other agreements with Subset"vjeers
as may then be in effect).


        E.      No resignation or removal of the Special Servicer pursuant to this Section shah be
effective until a successor Special Servicer (which Servicer, if other than the Back-Up Special
Servicer shall be reasonably acceptable to the Indenture Trustee) shall have agreed in writing to
be bound by the terms of this Agreement in the same manner as the Special Servicer is bound
hereunder, subject, with respect to the Back-Up Special Servicer, the terms of this Agreement.
The appointment of any successor Special Servicer (other than the Back-Up Special Servicer)
shalL be effective only after each Rating Agency shaij have been given, lb days' prior notice of
such proposed appointment and each Rating Agency other than Fitch Ratings (Fitch, fee.) shall
have declared in writing that such appointment will not result in a reduction ox withdrawal of die
then-current rating of the Notes,




(FCCe^lM J
                                                     6
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 14 of 191




             Section 7.Aciiun xtpoit Termination, Resignation or Removal. Promptly upon the
effective date of termination of this Agreement pursuant to Section 6(A) of this Agreement or the
resignation or removal of the Special Servicer pursuant to Section 6 of this Agreement the
Special Servicer shall be entitled to be paid all fees and reimbursable expenses accruing to il to
the date of such termination, resignation or removal. The Special Servicer shall forthwith upon
such termination pursuant to Section 6 of this Agreement deliver to the Trusts as appropriate, ail
property and documents of or rehiring to the Student Loans then in the custody of the Special
Servicer pursuant to this Agreement. In. the event of the resignation or removal of the Special
Servicer pursuant to Section 6 of this Agreement, the Special Servicer, for a period of not leas
than 1 20 days following notice of such resignation or removal, shall cooperate with the Trusts
and die Back -Up Special Servicer and take all reasonable steps requested m assist the Trusts and.
Back-Dp Special Servicer in making an orderly transfer of the duties of the Special Servicer to
the Back- Up Special Servicer or other successor Special Servicer, as applicable.

              Section 8        Back-lip Soecial Servicer.


              A.        In the event of the rerigmiiion or removal of the Special Servicer pursuant to
Section 6 of this Agreement, the Back-Up Special Servicer shall become the Special Servicer
and shall assume the rights, duties and obligations of the Special Servicer to the extern expressly
required to be assumed and performed by the Back-Up Special Servicer under this Agreement;
provided that the Back-Up Special Servicer shall not under any circumstances he responsible for
any representations and warranties made by FMER as the Special Servicer, or for any payment
and indemnity obligations of FMER as the Special Servicer under this Agreement, or for any
liability incurred by FMER as the Special Servicer prior to the date of the assumption by the
Back-Up Special Servicer of the obligations of the Special Servicer under this Agreement or for
any obligation to pay the fees and expenses of any Subservicer (except to the extent it receives
funds from the Trusts for such, purposes). In addition, nothing hi this Agreement shall be
construed to require or permit the Back-Up Special Servicer (in its capacity as Special Servicer
or otherwise) to undertake direct collection or enforcement activities including, without
limitation, Early Awareness Services, with respect io consumer borrowers or other consumer
obligors. Notwithstanding any term hereof or elsewhere to the contrary , the Buck- Up Special
Serried (in its capacity as Special Servicer or otherwise) shall have no liability hereunder or
 otherwise in the event that it 13 unable to engage one or more- Subserviccm, upon reasonably
 acceptable terms and conditions (including compensation) and in accotdan.ce with the applicable
 terms and requirements of this Agreement, to perform Early Awareness Services, enforcement,
 collection and servicing of Delinquent Loans and Defaulted Loans; so long as the Back-Up
 Special Servicer shaii have taken commercially reasonable efforts to engage one or more
 Subsetvicers 1° perform such Special Services, Notwithstanding the foregoing, die Back-Up
 Special Servicer, if it is unwilling or unable to so act, may designate a. successor Special Servicer
 under this Agreement, subject to the satisfaction of die conditions set forth in Sections 6(E)
 hereo f.


                   B.   In the event thai the Special Servicer resigns or is removed as Special Servicer
 and the Bad; -Up Special Servicer begins pe.rtbmi.ing Special             Servicer U duties as Special
 Servicer under this Agreement, the Back-Up Special Servicer shall be compensated as the
 Special Servicer in accordance with this Agreement. Upon assuming the duties of Special
 Servicer pursuant to this Section 8, except as otherwise provided herein, the Back-Up Special



 {1*00239*5 .4 '                                            -7
   Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 15 of 191




Servicer will be subject to all of the terms and conditions of this Agreement as "Special
Servicer' insofar as such terms and conditions apply to the Back-Up Special Servicers duties as
set forth above. Without limiting the foregoing, in the performance or non-performance of its
duties contemplated by this Section 8, the Back-Up Special Servicer (in. its capacity as Special
Servicer or otherwise) shall be subject to the same standard of care as the Special Servicer and
shall be entitled to the same rights., privileges, protections, immunities and benefits given, to the
Special Servicer hereunder. The Back-Up Special Servicer as successor Special Servicer may
employ and act through agents, attorneys and independent contractors and shall not be
responsible or accountable for performance of such agents and independent contractors
appointed by it with due care. In carrying out the duties or obligations of the Special Servicer
under this Agreement, the Back-Up Special Servicer may enter into transactions or otherwise deal
with any of its Affiliates, in no event will the Back-Up Special Servicer be responsible for the
obligations of the Special Servicer (or any Servicer or Sub servicer) or be responsible for any
actions, omissions or malfeasance of the Special Servicer under this Agreement prior to the
assumption by the Back-Up Special Servicer of the obligations of the Special Servicer (or any
Servicer or Subvervicer) under this Agreement or any agreement with a Servicer or Subservicer.
The Back-Up Special Servicer (in such capacity and in its capacity as successor Special Servicer)
shall not be liable for any errors contained in any reports, certificate or other data or document
delivered to the Back-Up Special Servicer (in such capacity and in its capacity as successor
Special Servicer) hereunder or on which it must rely in order to perform its obligations hereunder
(including in its capacity' as Special Servicer), In no event shall the Back-Up Special Servicer
have any responsibility to monitor, supervise, verify or administer the performance of the Special
Servicer or any Servicer or Subservicer, prior to the date it assumes the duties of tire Special
Servicer. The Back-Up Special Servicer (including in its capacity as successor Special Servicer,
if applicable) undertakes to perform only such duties and obligations as are specifically set forth
 in this Agreement, it being expressly understood by all parties hereto that there are no implied
 duties or obligations of the Back-Up Special Servicer hereunder. In no event will the Back-Up
 Special Servicer (including in its capacity as successor Special Servicer) be liable for any
 indirect damages, lost profits, special, punitive, or consequential damages which arise out of or
 in connection with the sendees contemplated by this Agreement even if the Back-Up Special
 Servicer lias been informed of the possibility of such damages. If the- Back-Up Special Servicer
 (including in its capacity as successor Special Servicer) is prevented from fulfilling its
 obligations hereunder as a result of government actions, regulations, fires, strikes, accidents
 causing a material disruption in the operations of the Back-Up Special Servicer, acts of god or
 other causes beyond its control, its obligations shall be suspended for a reasonable time during
 which such conditions exist.

          C.     It) order to facilitate the performance of the Back-Up Special Servicer's dirties
 under this Agreement, for a period of not less than 120 days following the resignation or removal
 of the Special Servicer pursuant to Section 6 of this Agreement the Special Servicer will provide
 lo the Back-Up Special Servicer reasonable access, during normal business hours and upon
 reasonable prior notice, to all files, systems and employees of the Special Servicer then used in
 the provision of the Special Sendees. Without limiting the generality of the foregoing, the
 Special Servicer agrees to cooperate with the Back-Up Special Servicer (or its designee) to
 facilitate the orderly transfer of its duties under this Agreement, including without limitation,
 notifying the Servicers, Subservjcers, the Custodians, their collection, agents and other
 appropriate parties of the transfer of the Special Servicer function and providing (or causing the


  frKQWjH ;
                                                    8
     Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 16 of 191




Servicers, Subservicers and/or Custodians, as applicable, vo provide) the Back-Up Special
Servicer with, all documents and records in electronic or other form reasonably requested by the
Back- Up Special Servicer to enable (be Back -Up Special Servicer or its designee to assume (be
Special Servicers functions under this Agreement (including without limitation such information
relating to Delinquent Loans and Defaulted Loans) and shall transfer (and cause any collection
agent to transfer) to the Indenture Trustee for deposit into the Collection Account for the benefit
of each Trust net collections received by it with respect to the Defaulted Loans.

            D.       In the event that (he Back-Up Special Servicer begins performing the Special
Servicer's duties, it shall he authorized to accept and rely on all of the accounting, records

(including computer records} and work of the Special Servicer, any Servicer or any Subsemcer
(collectively, foe "'Predecessor Work Product"') without any audit or other examination thereof)
and it shall have no duty, responsibility, obligation or liability tor the acts and omissions of the
Special Servicer or of a Servicer or Subsetvicets. tf any error, inaccuracy, omisEtun or incorrect
or non-standard practice or procedure (collectively, "'Errors") exist in any Predecessor Work
Product and such Errors make it materially more difficult to service or should cause or materially
contribute to the successor Special Servicer making or continuing any Errors (collectively,
'•'Continued Errors"), the Back-Up Special Servicer as successor Special Servicer or otherwise
shall have no duty, responsibility, obligation or liability for such Continued Errors; provided that
the Back- Up Special Servicer agrees to use its commercially reasonable efforts to prevent further
Continued Errors. In foe event that tire Back-Up Special Servicer upon succeeding to the Special
Servicer becomes aware of Errors or Continued Errors, it shall use commercially reasonable
efforts to reconstruct and reconcile such data in order to correct such Errors and Continued
Errors and to prevent future Continued Errors. In performing the obligations of the Special
Servicer under (his Agreement, the Back-Up Special Servicer in Its capacity as successor Special
Servicer, shall be entitled to rely conclusively on the reports and other information which it may
receive from a Servicer or Subservicer, including as to the accuracy and completeness thereof,
and shall not be required to reconcile such information nor shall it be required to otherwise
supervise or monitor the performance of such Servicers or Sub servicers. The Back-Up Special
Servicer (including in its capacity as Special Servicer) shall have no liability for the acts or
omissions of any such Servicer or Subservicer in performing its obligations under the applicable
Servicing Agreement.

                E,   Subject to the foregoing, the Back-Up Special Servicer will be required to begin
performing its duties as successor Special Servicer under this Agreement within TO days of
receiving notice of the resignation or removal of FMER as Special                Servicer under this
Agreement (or, if later, (he effective date of the resignation or removal), Administrator shall be
responsible for and hereby covenants to provide such notice promptly upon such resignation or
removal of FMER as Special Servicer. Out of pocket costs and expenses (including the fees of
its counsel and agents) incurred by the Back -Up Special Servicer in connection with the
transition of services hereunder during the 120 day period following notice of foe resignation or
removal of FMER as Special Servicer {including without limitation any costs and expenses
 associated with any Subservicer engagement described in Section 8G below) shall be borne by
 FMER.. To the extent that such expenses ate not paid by FMER (bur without limiting or
 discharging its liability therefor), such expenses shall be paid by EMUS, as Administrator who
 may seek reimbursement from the Trusts (and to the extent not paid by the Administrator, such
 expenses shall be reimbursed to the Back-lJp Special Servicer by the Trusts first, as a Servicer



 ttOEL3">S -1
                                                     9
    Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 17 of 191




expense up to the Monthly Reimbursement Limit, with any remaining amounts for a Distribution
Date payable as indemnities, fees and expenses of the Servicer after the payment on such date of
the principal and interest due on the biotas on such Distribution Date), such reimbursement by
the Trusts to be apportioned hi accordance with the respective Pool Balance of Student Loans
owned by each Trust as of the resignation or removal of FMER.

       T.      As compensation     for the   performance    of the   Back- Lip   Special   Servicers
obligations under this Agreement, the Back-Up Special Servicer shall be entitled to a monthly
fee of Si,000 per Trust payable by the Trusts 011 each Distribution Date as a Servicing Fee
pursuant to the terms of each Indenture, until such time as the Back-lip Speck! Servicer cither
begins performing the duties of the Special Servicer under tins Agreement, or otherwise ceases to
be the Back-Up Special Servicer.

       Q.      The initial Special Servicer hereby represents- and warrants that the Default
Prevention and Collection Services      Agreement, daled as of March 1.          2i>09 (the "NCO
Agreement*'), between the Special Servicer and NCO Financial Systems, Inc. R'NCO") (attached
hereto at Exhibit IT) is in full force and effect; and the initial Special Servicer hereby covenants
and agrees with the Back-kip Special Servicer thai the initial Special Servicer shall at all times
.maintain in full force (i) the NCO Agreement, and the engagement of NCO thereunder as
Subservicer, or (ii) one or mere other agreements upon terms reasonably acceptable to the Back
up Special Servicer, with a Subservicer or Suhserviceia reasonably acceptable to the Rack -Up
Special Servicer and capable of performing the obligations of a. Subservicer as contemplated by
this Agreement.   Without limiting or discharging aiiy other liability or obligation the Special
Servicer may have hereunder or otherwise in respect thereof, the initial Special Servicer hereby
expressly agrees to indemnify and hold harmless the Sack-Up Special Servicer for and from any
end all losses, liabilities, damages, costs and expenses (including reasonable attorney's fees) that
may be suffered, incurred or paid by tine Back-Up Special Servicer as a result of. or arising from,
any breach on the part of the Special Servicer of the representations, warranties, covenants or
agreements set forth in tire preceding sentence, including without limitation any cost associated
with the engagement by the Back-Up Special Servicer of one or more acceptable Sub servicers
necessitated thereby. FMER. shall give 10 days' prior notice to the Back-Up Special Servicer of
any amendment, modification or waiver relating to the NCO Agreement (or such other
agreement or agreements contemplated in subclause (ii) above), which notice shall be
accompanied by the form of the proposed amendment, modification, waiver or agreement or
agreements, as applicable.

        Section 9.     Regresentathms and Warranties -

        A.     The Special Servicer hereby makes the following representations and warranties
to each of the Trusts and to the Back-Up Special Servicer:

                (j)    Organization and Good Standing. The Special Servicer is an entity duly
                       organized, validly existing, and in good standing under the laws of its state
                       of incorporation or formation or the laws of the United States, and is in
                       compliance with me laws of each state m which any property is located to
                       the extent necessary to perform its obligations hereunder.




                                                  10
   Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 18 of 191




                (li)     No Violation. Neither the execution and delivery by the Special Servicer
                         of this Agreement, nor the consummation by it of the transactions
                         contemplated hereby, nor the performance of and compliance by the
                         Special Servicer with the provisions hereof, will conflict with or result in a
                         breach or violation of, or constitute a default (or an event which, with
                         notice or the lapse of time, or both, would constitute a default) under, the-
                         organizational documents (its articles of incorporation or charier or by
                         laws) of the Special Servicer, any of the provisions of any judgment,
                         decree, demand, or order of any federal, state, or local court binding on the
                         Special Servicer, or any of the provisions of any indenture, mortgage,
                         contract, instrument, or other document to which the Special Servicer is a
                         party or by which it is bound, or result in the creation ur imposition of any
                         lien, charge, or encumbrance upon any of its properties pursuant to the
                         terms of any indenture, mortgage, contract, instrument, or other document.
                         Neither the execution and delivery by the Special Semcer of this
                         Agreement, nor the consummation by it of the transactions contemplated
                         hereby, nor the performance of and compliance by the Special Servicer
                         with the provisions hereof, will, to its knowledge, result in a breach of any
                         law, rule or regulation of any federal, stale or local governmental or
                         regulatory7 authority binding 011 the Special Servicer. The Special Servicer
                         is not otherwise in violation of any law. rule, regulation, judgment, decree,
                         demand, or order (of any federal, state or local governmental or regulatory
                         authority or court), which violation, in the Special Servicer's good faith
                         and reasonable judgment, is likely to affect materially and adversely either
                          its ability to perform its obligations hereunder, or the financial condition
                          of the Special Servicer.


                 (iii)    Authorization and Enforceability.       The execution and delivery7 by the
                          Special Servicer of this Agreement, the consummation of the transactions
                          contemplated hereby, and the performance and compliance by the Special
                          Servicer with the terms hereof aire within the powers of the Special
                          Servicer, and have been duly authorized by all necessary action on the part
                          of the Special Servicer, All organizational resolutions and consents
                          necessary for the Special Servicer to enter into and consummate all
                          transactions contemplated hereby have been obtained. This Agreement has
                          been duly executed and delivered by the Special Servicer and constitutes
                          the legal, valid and binding obligation of the Special Servicer, enforceable
                          against it in accordance with its terms, subject to applicable bankruptcy,
                          insolvency, reorganization, moratorium., and other similar laws affecting
                          creditors' rights generally, and to general principles of equity, regardless
                          of whether such enforcement is considered in a proceeding in equity or at
                          law. The Special Servicer has not failed to obtain any consent, approval,
                          authorization, or order of, or failed to cause any registration or
                          qualification with, any court or regulatory authority or other governmental
                          body having jurisdiction        over tire   Special   Servicer, which consent,
                          approval, authorization, order, registration, or qualification is required for,
                          and the absence of which would materially adversely affect, the legal and



JF(KX!3«5.< J
                                                     11
   Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 19 of 191




                      valid execution., delivery, and performance of this Agreement by the
                      Special Servicer.

              Civ)    Approvals and Permits.      The Special Servicer possesses such certificates,
                      authorizations, licenses, and permits issued by the appropriate state,
                      federal and foreign regulatory agencies or bodies necessary to conduct tire
                      business now operated by it, and it has not received any notice of
                      proceedings relating to the revocation or modification of any such
                      certificate, authorization, or permit which, singly or in the aggregate, if the
                      subject of an unfavorable decision, ruling, or finding, would materially
                      and adversely affect the ability of the Special Servicer to perform its
                      obligations hereunder.

               (v)    No Litigation.      No litigation is pending or, to the best of the Special
                      Servicer's knowledge, threatened against it, which, if determined
                      adversely to the Special Servicer would prohibit the Special Servicer from
                      entering into this Agreement or, in the good faith and reasonable judgment
                      of the Special Servicer, is likely to materially and adversely affect either
                      its ability to perform its obligations hereunder or the financial condition of
                       the Special Servicer.

       B.      The Back-Up Special Servicer hereby makes the following representations and
warranties to each of the Trusts and to the Special Servicer:


               (i>     Organization and Good Standing,          The Back-Up Special Servicer is ail
                       entity duly organized, validly existing, and in good standing under the
                       laws of its state of incorporation or formation or the laws of the United
                       States, and is in compliance with the laws of each state in which any
                       property is located to the extent necessary to perform its obligations
                       hereunder.


               (u)     No Violation.   Neither the execution and delivery by the Back -Up Special
                       Servicer of this Agreement, nor the consummation by it of the transactions
                       contemplated hereby, nor the performance of and compliance by She Back
                       up Special Servicer with the provisions hereof, will conflict with or result
                       in a breach or violation of, or constitute a default for an event which, with
                       notice or the lapse of time, or both, would constitute a default) under, the
                       organizational documents (its articles of incorporation or charter or by
                       laws) of the Book-lip Special Servicer, any of the provisions of any
                       judgment, decree, demand, or order of any federal, state, or local court
                        binding on the Back -Up Special Servicer, or any of the provisions of any
                       indenture, mortgage, contract, instrument, or other document to which the
                       Back-Up Special Servicer is a party or bj1" which it is bound, or result in
                       the creation or imposition of any lien, charge, or encumbrance upon any of
                       its properties pursuant to the terms of any indenture, mortgage, contract,
                       instrument, or other document Neither the execution and delivery by the
                       Back-Up Special Servicer of this Agreement, nor the consummation by it




                                                  12
 Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 20 of 191




                      of the transactions contemplated hereby, nor the performance of and
                      compliance by the Back-Up Special Servicer with the provisions hereof,
                      will, to its knowledge, result in a breach of any law, role or regulation of
                      any federal, slate or local governmental or regulatory authority binding on
                      the Back-Up Special Servicer, 'llie Back-Up Special Servicer is not
                      otherwise in violation of any law, rule, regulation, judgment, decree,
                      demand, or order ( of any federal, state or local governmental or regulatory
                      authority or court), which violation, in the Back-Up Special Servicer's
                       good faith and reasonable judgment, is likely to affect materially and
                      adversely either its ability to perform its obligations hereunder, or the
                      financial condition of the Back-Up Special Servicer.

              (ill)   Authorization and Enforceability.  The execution and. delivery by the
                      Back- Up Special Servicer of this Agreement, tire consummation of the
                      transactions contemplated hereby, and the performance and compliance by
                      the Buck-Up Special Servicer with the terms hereof are within the powers
                      of the Back-Up Special Servicer, and have been duly authorized by all
                      necessary action on the part of the Back-Up Special Servicer. All
                      organizational resolutions and consents accessary for the Back-Up Special
                      Servicer to enter inio and consummate all transactions contemplated
                      hereby have been obtained. This Agreement has been duly executed and
                      delivered by the Back-Up Special Servicer and constitutes the legal, valid
                      and. binding obligation of the Back-Up Special. Servicer, enforceable-
                      against it in accordance with its terms, subject to applicable bankruptcy,
                      insolvency, reorganization, moratorium, and other similar laws affecting
                      creditors' rights generally, and to general principles of equity, regardless
                      of whether such enforcement is considered in a proceeding in equity or at
                       law. The Back-lip Special Servicer has not failed to obtain any consent,
                       approval, authorization, or order of, or failed to cause any registration or
                       qualification with, any court or regulatory authority or other governmental
                       body   having   jurisdiction over the   Back-Lip   Special   Servicer, which

                       consent, approval, authorization, order, registration, or qualification is
                       required for, and the absence of which would material I y adversely affect
                       the legal and valid execution, delivery, and performance of this Agreement
                       by the Back -Up Special Servicer.

               (iv)                     Permits.   Tire Back-Up Special Servicer possesses such
                       certificates, authorizations, licenses, and permits issued by the appropriate
                       state, federal, and foreign regulatory agencies or bodies necessary to
                       conduct the business now operated by it and it has not received any notice
                       of proceedings relating to the revocation or modification of any such
                       certificate, authorization, or permit which, singly or in the aggregate, if the
                       subject of an unfavorable decision, ruling, or finding, would materially
                        and adversely affect The ability of the Back-Up Special Servicer to
                        perform its obligations hereunder.




(PCKJSIS4 s
                                                   13
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 21 of 191



                       (v)      No Litigation.     No litigation is pending or, to the best of the Back-hp
                                Special Servicer's knowledge, threatened against it, which, if determined
                                adversely to the Back-'Up Special Servicer would prohibit the Back-hp
                                Special Servicer from entering into this Agreement or, in the good faith
                                and reasonable judgment of the Back-Up Special Servicer, is likely to
                                materially and adversely affect either its ability to perform its obligations
                                hereunder or the financial condition of the Baek-Up Special Servicer,

              Section 10,       Indemnification,    The Special Servicer will indemnity each of the Trusts,
tire Owner Trustee, the Back-hp Special Servicer (including in its capacity" as Special Servicer)
and the Indenture 'Trustee and their officer, directors, employees and agents for, and hold them
harmless against, any losses, liability or expense, including reasonable attorneys' fees and
expenses, incurred in the absence of willful misconduct, negligence or bad faith on the part of the
Trusts, the Owner Trustee, the Back-Up Special Servicer or the Indenture Trustee (as applicable)
and their agents, arising out of the willful misconduct, negligence or bad faith of the Special
Servicer (or its agents) in the performance of the Special Servicer's duties contemplated by this
Agreement; provided that neither the Special Servicer nor any of its directors, officers,
employees or agents shall be liable for any action taken or for refraining from the taking of any
action pursuant to instructions or directions from the Administrator or the Indenture Trustee or in
accordance with this Agreement and provided further however that the Back-Up Special Servicer
(in its capacity as successor Special Servicer) shall only be responsible for any such loss or
expense to the extent such are determined tu be proximately caused by its own gross negligence
or willful misconduct. To the extent any indemnification amounts are not paid by the Special
Servicer, such amounts shall be paid by cadi Trust (to the extent permitted under the applicable
Indenturc as indemnities, fees and expenses of the Servicer paid after the payment of principal
and interest) in accordance with the respective Pool Balance of Student Loans then owned by
each Trust.

              Section 1 i ,     Records: Inspection.     The Special   Servicer shall maintain appropriate
books of account and records relating to services performed hereunder, which books of account
and records shall be accessible for inspection by the Indenture Trustee at any Lime during normal
business hours.              The Special Semoer hereby grants tire Back -Up Special Servicer and the
Indenture Trustee the right for so long as any of the Notes remain outstanding, to perform
ongoing due diligence review of the Special Servicer's activities hereunder; provided that, such
due diligence be conducted in a reasonable maimer, convenient to the Special Servicer and the
Indentwe Trustee.             All expenses associated with the performance of the due diligence review
shall be paid by the Trusts and shall be subject to the Monthly Reimbursement Limit described in
Section 5(B).


              Section 12.       Reporting: Adi Iitional Information to be Furnished . On the lentil Business
Day after the end of each calendar month, the Special Servicer shall furnish the Back- Up Special
Servicer and the Administrator on behalf of the Trusts, an electronically transferred data file
containing a monthly collection report regarding the Delinquent Loans or Defaulted Loans in a
form satisfactory to the Administrator. On the tenth Business Day alter the end of each calendar
month, the Special Servicer shall furnish the Administrator on behalf of tire Trusts and the Back
Up Special Servicer an electronically transferred data file containing recovery data for Defaulted
Loan owned by each respective Trust and other information as required by Regulation ALL each




nxojaii i )
                                                          14
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 22 of 191




for investor reporting purposes,   The Special Servicer shall furnish to the Administrator on
behalf of the Trusts and the Back-Up Special Servicer from time to time such additional
information regarding the Student Loans, including Delinquent Loans or Defaulted Loans, as the
Administrator on behalf of the Trusts or the Sack-Up Special Servicer shall reasonably request.

             Section 13.   Sub servicing   Agreements.    The   Special   Servicer   will   cause   each
sub servicing agreement with a Siibservicer to contain provisions consistent with this Agreement,
including provisions requiring the applicable Subservicer to maintain adequate records and
procedures with respect to a Student Loan and its performance. Each subservicing agreement
shall be terminable by the Special Servicer (including for the avoidance of doubt, the Back-Up
Special Servicer acting as successor Special Servicer) upon thirty days written notice, and shall
provide that any .successor to the Special Servicer shall succeed to the Special Servicer
(hereunder. The Special Servicer shall promptly provide lite Back-Up Special Servicer copies of
all existing subservicing agreements with a Subservicer, including the NCO Agreement, and any
additionui subservicing agreements between the Special Servicer and S ubservieers or any
amendments to existing subservicing agreements with a Subservicer entered info after the date of
this Agreement.

       Section 14.   Regulation AB.     Or) or before September 15 of each calendar year
beginning in TOOfo the Special Servicer shall deliver to the Administrator any reports, servicer
compliance statements and attestations as may be required pursuant to the terms of any
Indenture, In the event the Special Servicer or the Back-Up Special Servicer is required to
deliver to the Administrator the documents described in this Section 14, the costs associated with
delivering such reports, including tbe fees and expenses of a registered public accounting firm,
shall be borne by the Administrator and reimbursed by the Trusts as a Servicer expense:
provided however that the obligation of the Special Servicer or of the Back-Up Special Servicer
as successor Special Servicer to deliver any such reports shall terminate if such report arc no
longer required by Regulation AB.

        Section 15.    Security Interest. Each of the Truths hereby Grants to the indenture
Trustee as of the dale hereof, all of the- Trust's right, title and interest in and to this Agreement
and all present and future claims, demands, causes and choc res in action in respect of this
Agreement and all payments on or under and all proceeds of every kind and nature whatsoever in
respect of this Agreement. The foregoing Grant, is made in trust to secure the payment of
principal of and/or interest on, as applicable, and any other amounts owing in respect of. the
Notes, all as provided in the Indentures, The Indenture Trustee, as Indenture Trustee on behalf
of the holders of the Notes, acknowledges such Grant, and accepts the Grant in accordance with
 (he provisions of the Indentures.

         Section 16.     Amendments. This Agreement may he amended from time to time by the
 parties hereto, including amendment of Schedule A and Schedule B. attached hereto, to add
 additional trusts, provided that an3: amendment must he accompanied by the written consent of
 the Administrator and upon satisfying the Rating Agency Condition.

        Section 1 7.    independence of the Special Servicer. For all purposes of litis; Agreement,
 the Special Servicer shall be an independent contractor arid shall not be subject to She supervision
 of the Trusts with respect to tire manner in which it accomplishes the performance of its



 £FCUaJ93.5 4 '(
                                                     15
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 23 of 191




obligations hereunder. Unless expressly authorized by the Trusts, the Special Servicer shall have
no authority to act tor or represent the Trusts, respectively, in any way other than as specified
herc-undcr and shall not otherwise he deemed an agent of the Trusts.


            Section 18.     No Joint Venture. Nothing contained in this Agreement (i) shall constitute
the Special Servicer or Back-Up Special Servicer and any of the Trusts as members of any
partnership, joint venture, association, syndicate, unincorporated business or other separate
entity, (ii) shall be construed to impose any liability as such on ant' of them, or (iii) shall be
deemed to confer on any of them any express, implied, or apparent authority to incur any
obligation or liability on behalf of the others.

            Section 19.     Other Activities of the Special Servicer. Nothing herein shall prevent the
Special Servicer or Back-Up Special Servicer or their              Affiliates from engaging in other
businesses or, in its or their sole discretion, from acting in a similar capacity as servicer for any
other person or entity even though such person or entity may engage in business activities similar
to those of the Trusts.

       Section 20.     Notices. Any notice, report or other communication given hereunder shall
be in writing and addressed as follows:

            If to the Special Servicer, to:

                            The First Marblehcad Corporation
                            The Prudential Tower
                            SOU Boylsion Street - 3A1h Floor
                            Boston, MA 02 1 99-8157
                            Attention: Corporate Law Department


            If to the Back-Up Special Servicer, to:

                            U.S. Bank National Association
                            Corporate Trust - Structured Finance
                            One Federal Street. Third Floor
                            Boston, Massachusetts 021 10
                            Attention: David Duclos
                            Phone: <5 1 7-603-6409
                            Fax: 617-603-6638

                            U.S. Bat sk National Association
                            a'o U.S. Bank. Portfolio Services
                            1310 Madrid, Suite 103
                            Marshall, Minnesota 56258
                            Attention: Joe Andries
                            Phone: 507-532-7129
                            Fax:     866-806-0755




{F0023SSi.« !
                                                      16
    Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 24 of 191




           If to the Trusts or the Indenture Trustee, to:

                           The address set forth in tire applicable Indenture


                           With, a copy to:

                           First Marbiehcad Data Services, Inc.
                           The Prudential Tower
                           800 Boylston Street - 34lh Floor
                           Boston,' MA02N9-8I57
                           Attention: Ms. Rosalyn Boneventure


Or to such other address as any party shall have provided to the other parties in writing.               Any
notice required to be in writing hereunder shall be deemed given if such notice is mailed by
certilled mail, postage prepaid, sent by overnight courier for nen-dav denvery or hand-delivered
to the address of such party as provided above,


           Section 21.     Notice- to Noteholders. Promptly upon execution of this Agreement, but in
any event no later than 30 days following execution hereof the Special Servicer shall deliver to
the Indenture Trustee of each of the Trusts an executed copy of this Agreement along with a
form of notice to each Noteholder to he distributed to each Noteholder by the Indenture Trustee
in accordance with Article XI of each Indenture to the effect that the respective Trust has entered
into this Agreement and has appointed FMER as Special. Servicer and each Noteholder' can
request a copy of the Agreement by contacting the Indenture Trustee.

           Section 22.     Miscellaneous.


           A.      Successors and Assigns.      Ibis Agreement may not be assigned by the Special
Servicer unless .such assignment is previously consented to tit writing by the Indenture Trustee,
and the Rack -Up Special Servicer and unless each. Rating, Agency, after having been given 10
days' prior notice of such assignment, shall have declared in writing that such assignment will
not result iu a reduction or withdrawal of the then-current rating of the Notes or Certificates. An
assignment with such consent and satisfaction, if accepted by the assignee, shall bind the
assignee hereunder         in the   same manner      as     the   Spcciai   Servicer   is   bound   hereunder.
Notwithstanding the- foregoing, this Agreement may be assigned by the Special Servicer, without
The content of the Indenture Trustee or the Back-Up Special Servicer either (i) to a corporation or
other organization thai is a successor (by merger, consolidation or purchase of assets) to the
Special Servicer or f ii) to Union Federal Savings Bank or any of its subs i diaries; provided that
such successor organization executes and delivers to the Indenture Trustee and the other parties
hereto an agreement in which such corporation or other organization agrees to be bound
hereunder in the same manner as the Special Servicer is bound Itemunder.                       Subject to the
foregoing, this Agreement shall bind any such permitted successors or assigns of the parties
hereto.

           B.      Governing Ifaw.       This Agreement shall be governed by, and construed in
accordance with, the laws of the State of New York, without, giving effect to conflicts of laws
provisions thereof (other than Section 5-1401 of die New York General Obligations Law).




nWIJ3M J
                                                      17
    Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 25 of 191




       C.      Headings-    The section headings hereof have been inserted for convenience of
reference only and shall not be construed, to affect the meaning, construction or effect of this
Agreement.


       D.      Co miternails.   This Agreement may be executed in counterparts, cacti of which
when so executed shah together constitute but' one and the same agreement.

       E.      Severability. Any provision of this Agreement thai is prohibited or unenforceable
in any jurisdiction shall be ineffective to the extent of such prohibition or unenforceability
without invalidating the remaining provisions hereof and any such prohibition or
unenforceability in any jurisdiction shall not invalidate or render unenforceable such provision in
any other jurisdiction.


       F.      Limitation, of Liability of Owner Trustee.      'Notwithstanding anything contained
herein to the contrary, this instrument has been executed by Wilmington. Trust Company, not in
its individual capacity but solely in its. capacity as Owner Trustee of each of the Trusts, and in no
event shall Wilmington Trust Company in its individual capacity or any beneficial owner of the
Trusts have any liability for the representations, warranties, covenants, agreements or other
obligations of the Trusts hereunder, as lo all of which recourse shall be had solely to the assets of
the Trusts, l or al 1 purposes of this Agreement, in the performance of any duties or obligations of
the Trusts hereunder, the Owner Trustee shall be subject, to, arid entitled to the benefits of the
terms and provisions of Articles VUL IX and X of the each Trust Agreement of the Trusts.

        G.      Third Party Beneficiary.    The parties hereto acknowledge that the Noteholders.
Certificateholders and the indenture Trustee arc express third party beneficiaries hereof and arc
entitled to enforce their respective rights hereunder as if actually parties hereto.

        H.      No Petition.    The parties hereto will not at arty time institute against the Trusts
any bankruptcy proceeding under arty United States federal or state bankruptcy or similar law in
connection with any obligations of the Trusts under any Transaction Document as defined in the
Indenture.

        L       Grant.    Each Trust hereby acknowledges that the Servicing Agreement is a
"Servicing Agreement" for alt purposes of its applicable Indenture, Each Trust hereby Grants to
the indenture Trustee, us trustee under each Indenture for the benefit of the Holders of Notes and
other secured parties as applicable under the applicable Indenture, all of its right, title and
interest in and In (i) the Agreement; and (ii) all present and future claims, demands, causes and
choses in action in respect of any or all of the foregoing and all payments on or under and all
proceeds of every kind and nature whatsoever in respect of any or all of the foregoing, including
all proceeds of the conversion, voluntary or involuntary, into cash or other liquid property, all
cash proceeds, accounts, accounts receivable, notes, drafts, acceptances, chattel paper, checks,
deposit accounts, insurance proceeds, condemnation awards, rights to payment of any and every
kind and other forms of obligations and receivables, instruments and other property which at tiny
time constitute ail or parr of or are included in the proceeds of the foregoing. The Administrator
on behalf of each Trust shall take all steps necessary to ensure the perfection and priority of tire
Indenture Trustees security interest ir, the foregoing collateral.       By its signature below, tire




                                                   18
    Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 26 of 191




Indenture Trustee on. behalf of the holders of Notes and. other secured, parties as appli cable,
acknowledges such Grant.


                              [SIGNATURE PAGE FOLLOWS]




 IRBZW3S 4 i
                                                19
  Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 27 of 191




           IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed by their respective officers hereunto duly authorized, as of the day and year first above
written.


                                             First Maiblehead Education Resources, Inc., as the
                                             Special Servicer



                                             By:
                                                    Name:
                                                    I1!tie:   jr     ~     i- s**-



                                             U.S. Bank National Association, as the Back- Up
                                             Special Servicer



                                             By:
                                                    Name:
                                                    Title:



                                             Each of the Trusts listed on Schedule A. ahached
                                                    hereto

                                             By: Wilmington Trust Company, not in its
                                                    individual capacity but solely as Owner
                                                    Trustee



                                             Br
                                                    Name:
                                                    Title:



                                             ACKNOWLEDGED AND CONFIRMED:



                                             First Marblehead Data Services, Inc., as
                                             Administrator

                                                                                     V"

                                                                                                          £c
                                             By '                                         {*:   rr-'-i.
                                                    Name:
                                                    Title:               taiyftSffliawartljjR


                                                                   Pa:mkmmm Bate Seme®®




 IFW23K.-.S1 IllfWWV-S
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 28 of 191




               IN WITNESS WHEREOF, fee parties hereto have caused this Agreement to be duly
    executed by their respective officers hereunto duly authorized, as of the day arid year first above
    written.

                                                 FixstMarblefcead Education Resources, Inc., as the
                                                 Spsciai Servicer



                                                 By:
                                                        Name;
                                                        Title:



                                                 U.S. Bank National Association, as the Back-Up
                                                 Special Servicer



                                                 By:
:
                                                             ic:
                                                                     Joseph Andsies
                                                        Title:
                                                                   Senior Vice President

                                                 Each of the Trusts listed or. Schedule A. attached
                                                        hereto
!
j
                                                 By; Wilmington Trust Company, .not in its
                                                        individual capacity but solely as Owner

;
                                                        Trustee



                                                 By:
                                                        Name:
                                                        Title:



                                                 ACKNOWLEDGED AND CONFIRMED:


:
                                                 First Marbiehead Data Services, Toe,, as
,
                                                  Administrator

;




                                                  By:
                                                        Name:
"
                                                        Tide*




I
!



I


;
!


!
Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 29 of 191




           IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed by their respective officers hereunto duly authorized, as of the day and year first above
written.

                                             First Marbleheud Education Resources. Inc., as the
                                             Special Servicer



                                             By:
                                                   Name:
                                                   Title:



                                             U.S. Bank National Association, as the Back-Up
                                             Special Servicer



                                             By:
                                                   Name:
                                                   Title:



                                             Each of the Trusts listed on Schedule A. attached
                                                   hereto

                                             By: Wilmington Trust Company, not in its
                                                 individual capacity but solely as Owner
                                                   Trustee



                                             ByS- J                  JjL&        A
                                                   Name:    -   Dorrs Costeiict
                                                   Title: Financial Services Officer



                                             ACKNOWLEDGED AND CONFIRMED:



                                             First Marblebead Data Services, Inc., as
                                             Administrator



                                             By:                                             ^
                                                   Name:
                                                   Title:             Rosaiyn Scfiav&Han;
                                                                           President
                                                                First MsrbfejJ Date Saigas




 IIWI3S55-3 pOISlMWftV-fr
        Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 30 of 191




                                      ACKNOWLEDGED :

                                      U. S. Bank National Association, as Indenture
                                       t rustee for each of the Indentures listed on
                                      Schedule A. attached, hereto



                                      By: „
                                           Name:
                                           Tide:
                                                                     Oav Id Dudos
                                                                                  Present




                                               -i   it'KV!   ii   k.i ' Ar rl .      .   .   L




                                                                                   "V-



!   '




        IKOlOJWS.2 I
  Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 31 of 191




                                             SCHEDULE A

Trusts:


   »      The National Collegiate Student Loan Trust 2003-1;
   *      The National Collegiate Student Loan Trust 2004-1;
   «      The National Collegiate Student Loan Trust 2004-2;
   *      The National Collegiate Student 1 .oan Trust 2005 - 1 ;
   *      Tlie National Collegiate Student Loan Trust 2005-2;
   *    The National Collegiate Student Loan Trust 2005-3;
   *      The National Collegiate Student Loan Trust 2006-1 ;
   *    'The National Collegiate Student Loan Trust 2006-2;
   »      The National Collegiate Student Loan Trust 2006-3;
   »      The National Collegiate Student Loan Trust 2006-4 ;
   *      The National Collegiate Student Loan Trust 2007-1: and
   *      The National Collegiate Student Loan Trust 2007-2.


Indentures;


Each of the following Indentures, as amended or supplemented, entered into by and between
U.S. Bank National Association, as Indenture Trustee and;


   e      The National Collegiate Student Loan Trust 2003- 1 , dated as of December 1 , 2003;
   *    The National Col legiate Student Loan Trust 2004-1 , dated as of June 1 , 2004 ;
   *      The National Collegiate Student J .oan Trust 2004-2, dated as of October L 2004;
   6      The National Collegiate Student Loan Trust 2005-1 . dated as of February 1 , 2005;
   *      The National Collegiate Student Loan T rust 2005-2, dated as of June i , 2005;
   <f     The National Collegiate Student Loan Trust 2005-3, dated as of October 1. 2005;
   «      The National Collegiate Student Loan. Trust 2006-1, dated as o: March L 2006;
   «      The National Collegiate Student Loan Trust 2006-2, dated as of June 1 , 2006;
   »      The National Collegiate Student Loan Trust 2006-3, dated as of September 1, 2006;
   *    The National Collegiate Student Loan Trust 2006-4, dated as of December 1, 2006;
   *      The National Collegiate Student Loan Trust 2007-1 , dated as of March L 2007; and
   »      The National Collegiate Student Loan Trust 2007-2, dated as of June 1, 2007.




                                                   A- 1
Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 32 of 191




                               SCHEDULE B


        [Schedule of Reimburgemeal Limits per Trust hy Calendar Month]




                                      B-1
    Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 33 of 191




    iiislsisBBiig!ii|Bil!isiis|iiK|igi!gs!!iB!||^II
                                                     iOdoooe>scoedoO$tp3i5^ffl!oi£(ikE                           I1
                                                                                                                 2,
                                                                                                                 =

                                                                                                                 r
    II mil 1 1| 1 s if § 1 1 ill § i i ii 1 1 ii i |i f 1 1 if it 1 1 if 111 i
    Pr?PPPf'PPPPP>,??PffP?PrPPP?PPPPPP.!>PiP®PPri0?i'?Ppl" a
    SggggggggSggg3gSgggSSB5SBSggggSgSgggggS6SSg£S                                                                I
                                                                                                                 e
                                                                                                                 &
    mmi    mmi 1 1 1 n inii mi in n it iilmll i ii *
    ispillppsiip§lpl§pilpig||lilgipi|$|p?iip^pg
    sssgsgsgssggsgggggggsgsgsggggggggggisgggggggg


    q q q q q q q q q ft B B fS S & B ftj B £ S3 53 B S g K £ $ $ " " 3 3 5S S3 S3 .53 " ft ft ft B S3 S 9 S |   #


    iiiiiSilliiiiillSiililiSiiiiiiillSlliiliiilSl
    ftqqqqqqqqqqqqqqqBBRftSR^tj^^ii^y^^BBj^SiiftSK                                                               S:
                                                                                                                 i


    gggggggg=2ggggH8ggg§|°gggS§§gB^gg§gg^^SgggSgg                                                                ~
                                                                                                                 £
    3 S 3 p s 1 ? : 5 : = .= s 3 3 3 3 3 3 .3 .3 s 333 3 3 ???.«»? s a a 3 s a a s a 3 jsm
    Islliiliillisiiiillllliiliilllliillliilillilil
    SSgBSgS^gSS&BggagSgSg^SSgSgogBSSggggggSBgSgSg

                                                                                                                      ST


I   iPiiiii!iiiiiliis!!ii!iiii!ii!!ii!iii!!ii||ii
     Si5Q05!&OOi5oOOSjQOOQOC>S&00©C?QE>V«»OC:35owvi!i:aaift>=5c>a5CSe3E»
                                                                                                                      -03
                                                                                                                      c.




     SggggggsgggggSggSSggg^SSgggSSggSSgggggggggggg

     £j8ISgg£BBKg££H&Bg8;g3g!33£i!£g!Sg833£5333$!!3£ft&333Q3C!
     liiiiiiiiiisiiisiiriiii'iiisiiiiiisriissriiris?
     gggggSSSggSSsgggggBggggBggSS^ggggggSgggSSgBig

     :3MftS8BBBaBBtSBBa!BBBBBBBlSKBSSB5}SiE3^i3!3t353!:!3S!5I.aBiJft££i:
    liiiriiiiiiriiiiiiiMiiiSiilSiiiiiliSii'iiiiP'i
     ggigbbsgtgggggggggggggggggoggfeggooggogggoggco




     £SB£gafS$S!g223!&if!8888gg8}f$aggBE£SEEEEE£SBSg88g£g

     rpiiiiiPsiiiriiiiii'iii§iiii'iiiiil"iiiiiiiili'iil
     l?!?5Si8ISIiiS£?S 1:351? jglisSSsSigSSSgSaggiSSS


     BSSSSESiEEE
    1SSgB8S£SSgSgggg3ggS8ggS^^g3SgSS§8S8gggfeg££gS£
      1 i 1s ! 1 1 i i 1 1 i 1 1 1 ! 1 1 ! 1 1 1 1 1 1 1 11 1 § i 1 1 i 1 !1 ! 1 1 1 1 III

     lflIlI!IIIIIIIIII!IiIIIlIII!llililIllIII!Il!lI
     fl035ocSiBp$c5Bp58S5pSSS5S = 5p5s5?3if5a®6f;[;SppI|.
     8SSgggg§SSggggggggggSg8§Sggggg8gggSSSgg3SeSSg



     piIlllI!III!III!Iip!I!I!l!!|lll!||!!IllIllli
     iftppspopppppoppppppgppopppTrjppppppuUQppppppupb
     gEgggg£S§gg8ggSgSSS8ggSSgSgggSSsSSSS58ggg88gg
                   Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 34 of 191




          aiiliiiiiiiiiiiiiiliiiliiiiiiniliilliiiiillii
          i 3 & $ v, $ $ s $ 3 g g a s a a a s a a s" s s? s ? p £ e' £ s £ s £ 2 £ £ tj ? ^                                                                                                                                                             ^^ 5 5
                ^^ggggg^g^ggggo^i^gsgggggg^gssggggggggg

          111 1 11 111 1 i 1 11 11 1 1 !11 1 i11 1 1S111 111 11 1 !I!11 18 1 1


          ililHiilliiililpiiiiiilliiiiiilliilliiiiiiii
          S9. vl 5. p. 3 3 3 5 O c o cp § c 5 3 <3 o o wr 6 o o 5 E o o o w o o 4 <5 o o 3 3 o o o « ^ &
          £J| ^ <j> ft                    n           ^ ^ "C 't qg £» cu- co ;G ^0                                a3a}(flcoaao^;C«(«wwWiMft?vrtt*)c,?i7/fl«f>?;rt                                                                                        n co              ^
          Pi I r*" 47J   pj   p-J   P>4   ipj   -pj   £""*J         C\J   CJ   V"*   T"   -f—   f"     T1"   1=   T—   r*   I*' f*     l""1   T"   *     r*-   T-       "T**~   >*-   "7^   '—    l-"   T-'   ""   7—   T*~   V"   T"   ^     I™    Tr   r-1   »"   -t-"




                1 1 £ 2 s * 1 1 Is 1 1 1 s 1 f 1 M lis ill g g $ 1 1 s 1 1 1 !? IN I ! 1 1 1 s 5                                                                                                                                                                    1-     CM




                888888888888888888888888888888888888888888888
          3 1 S 1 1 1 1 I § I S 8 1 1 1 1 1 i i 1 1 ? Sill 1 i 1 1 1 1 1 1 1 S 1 1 1 8 1 8 1 1 1 1
          ^        N ^ t t ^                          ji ^ 11! ir                    5i 5! ^ 2i S N'                        ^ J N'                                              ^ ^ ^ ^ 4:5 ^ !D' ^                                ^          ^ ^ tn « '-tf fi-

                S888S8SS8gg88i88i8838S388iS888SS88888S8888888
                llllliiilililiilllilliiiliillliililsiiiilllil
                n ftj" j< h. h. js" i< K si k> as ca" « g& ce « m im" cvj w" w ijj                                                                 r-i ri cm" pJ <\F « e-j af co re re « ®" id ta to <o tc a                                                        uj iV
                         7"   1—    1—1   V-"   -*    T*»     I1-   V     7"   —     1—   I—    "If"   T*    T-   >P   7"   I-    T—          I*   -1—   T~             7""     7—    7—    i—-   7"    7—    T—   f    T-




                                                                                                                                                                                                                                                                                r>
ca              §ggg8gggg83SSSggSSgSS§g8Sgg88gg383SS88S388SSS                                                                                                                                                                                                                   "c-
1
          liili§§ii!iiiii§liiii!iiiiiilliil^iiiilll§§i§t§                                                                                                                                                                                                                       CVi



1         si a s s s" g 53 ^ s s s;: ?l a a" s a s a ™ ^                                                                          ® ™ ?= ^ ~ $ ® 22 ® ®                                                 ® s 2                      2 ?; s ™ s ? ™ 2 ™                            I
5

                3gS3SS^SS3SBSS^3SSSS§SSSSS383@SSS3SS3SSSSSgS
                liiiiiiiiiiliiiiiiiiiliiiiiliiiiiiiiiiiiiili'
                P4 W S>a fti w 04 oj cj (D ',£ CP <0 to yj" t&                                               <ci ® ^ CO (D © to" « SC- £J to te i£!                                               «p (p (3 yj <Q LD                     1^5 tD C©        •?& r-l3 tC

     s
     G;


     x          g3SSS838S33S38S8S3SSS8S8S8S3S88SSS83S8SSS3S?S
     Ic illllllliliilllillaiiliillllllliililillilglllli
         of cu w w w w" csT rj pj oJ cS cJ c-j w w w « oo cJ cp o <d uj <s ui" c to uj <c" up & «o to yJ uT o up so (is oa us i~-~-




                88SSS^gSBSg§SiS8gS8g3gSgSggg88SgggS838SS8gggg
     &
     12
          piiiiliiiiiigiiiiigiiiiiiiiiiiiiiiiijiiiiiiig
     f     M £;          £f £f t S;: ^                        ^                      ^           Sf 5"            ^         ^           ^          ff ^ fi ""                                                                  ,J1 <d <*> Jja" "> ^ <*> i=' E' r-"
     -5
     S
     £


     I sill!1 1 1 1 I !I 1 I l l I I 1 I 1 1 I I 111
     7=    O <.0    lO   W '-S            £0                  US    £0 -tD *i« ^ UP             £'      UP        £0 £D     '-E   i,y UP £0 tZ?           :0   tC

     ^     85
     =

     c          3SBSSSg5SggSS8§3SSBSgge , ,                                                                                                                         ,

     I 11 1 1. ! 1 1 ! s 1 1 1 1 1 1 ! 1 i 1 i. S 1 1 1
     Ei    Q<i>yj£3«>-ieCEa5-y5UGtCitiPLOt£liJtPtiJU5<OtOiC'^?^UP

     5     ^
     .§
     E
                             Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 35 of 191




                     ggggggggggggggggSggggggggggggggg

                 a^Pi^BmwwnNh^^SNNN N N                                                N N N N N N        N N N N N N h-. N
                 Old T~     T—        T--   VJ   ¥""   **"




                     888SgSSSSSSS38S88§S8SS8S3S3§§SSg
                 s i § asii t § is.ia 1 1. §: i i s. i s I i s i. § < i 1 1 »: it"

                     3888SS3§§SggSg8g8SSS3gSBSB                                                                    1   '   *
                 iddcoggsgpodddcesQdddd 0 c> «? cj 0
                 i 8 1 1; i; 1 1; § i; § i s. t a § § ?$.§ 1 § § 1 1
                 aj N r- t-' n              n r-, ^ n        [w            h-r N"" N
                                                                       n h iv              N I"-- P-«. h- N N Ni




                     3SS8883SSSSS8S8SSS88B3S83S58SSS8388
                 a 1 1 § 1 1; 1 1 1 1 i i I i I i 1 1 8 1 i ? i;               t-      ^      n n n tn *,
                                                                                                          i; 8 1 i: § i
                                                                                                                   r«m n .*-, h-
                                                                                                                                      i1
                                                                                                                                   r^. n   p^
                 clj ; sj        to                               ^ cn tn p~




                      gssggssgig ssss ,
                  NoO<SOQOOOOQQ&g!c3
                  gissgggggs ggggg
                  o K hs' n N p~ p- n" p-r isi in n fsi n r*-"




                         ggsggggggggssgsss

                  1»iUiUO»i!.U '
                         fi,NNsi?,h.p. [\si>.rNSNhNS>



                                                                                                                                                GO

(Xi                      S3S8S33338S558SS33388S3 ,                                                                                              o
                                           ddcod
                         cs c5 oodbdddoeddoeddo                                                             '                                   to



3
                  1 1 1 1 11.11 1 8 1 i 1 1. 1 8 1 1 8 § § i i i
                  SH tfj p? N 3**- N N IN F1- P". N N N N p» P1* P* N N N N N N t -
                                                                                                                                                £
                                                                                                                                                £
1

                  & ' 1 '
                  *
      * I
      m
      C3

      +-;
                         §s

      I |1!'
      5£           f^i

      a
      S
       .                  ssggg ,
      ||           «{ o d = g 3
      |
      £
                   3 § §. = S 3
                          *v. is.   n   n N



       c


       I
       £
      £

      1
       ?


       Jj:

        E
       "it
       IX
                                                                                    ilCI{!>^^d)d]Sfflffl01pOao
             I              ifllO^a(jJNNNIsNFsNK(-.Njsh®t3S0ffi(iJCB!e;Ofli3CtJi3ie




       £
        5           a|ggS?«sg§Sggggg5^g^g§|ggggge = 958SSgg^ggS = ^5^g3
   Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 36 of 191




                                   SCHEDULE C

             [Schedule of Early Awareness Reimbursement Limits per Trust]




                                          C-l
f5W7   ^ .
             Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 37 of 191




                2IC"

                    «*




                    3

                    %

                    5

                n
                    CO
                    «-


                    '-




                    5
                1   :;-




                    •




                ^ cTj

                IIS
                ss"

                    z



                Ti °
                    *
                    s
o
JL
                    3
*8
-d
                    s

                    If:
     tS

                     7
     £

     |          It
     I          Sg
     3              <>9
     <

                    i
     LL'

     2          S S
      - ;»      SS
     iZ

     s
     I              .7



     §          3Jl£j
     I          i S-
     I
     "fl
                    W


     5               I
                    c!
     I
     —I

     3
                I8  £
     d

     &          5 g o
                    ••--


     *              s
     -I
        Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 38 of 191




                                             EXHIBIT I


All TERI claim packages require the following documentation:


            Application Credit Agreement, and Disclosure Statement

            Evidence of preparation for repayment summary letter and
telephone attempts


*           Forbearance Form(s) and supporting documentation where
required and/or system generated history reflecting the forbearance
period


41          Delinquency servicing history for the most recent 2 1 0 day
period or the delinquency period prior to claim, whichever is less.

            Payment History. Correspondence History

            Assignment of Rights (should include disbursement date and
name of the current Owner)


*           Bankruptcy and/or death information as appropriate (see
Death Claim section )




For Nfon-TERI Originated Loans tire claim package must also include the
following documentation;


             Credii Bureau Report (for non-TERI originated loans only)

    *        School Certification signed by school official or
 Enrollment Verification for Direct-to -Consumer and Continuing Education
 loans (for non-TERI originated loans only)

    *         Income/Employment Documentation, including but not
    limited to, where applicable, full recourse letter, income verification
    letter, and revolving debt burden calculation (for non-TERI originated
    loans only)


    *         Immigration documentation required to he collected at
    origination (tfk/a ICS, Citizenship and Immigration Service (USCIS))
    documentation of proof of permanent U.S. residency (if applicable) {for
    non-TERI originated loans only);




                                                Exhibit M
        Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 39 of 191




Cosigners:


                     INS 15: or INS 551 form with a valid expiration;


*                    A departure record (1-94) with a valid expiration
date issued from the INS showing "Refugee," or "Asylum Granted" or
"Indefinite Parole" and/or himiatiitarkin parole; or


                     Foreign passport bearing an unexpired temporary
1-551 stamp.


Students;


*                    Copy of hi s or her student visa, permanent
resident card, F-l or I -20 form.


                     A departure record (1-94) with a valid expiration
date issued from the INS showing "Refugee," or "Asylum Granted" or
"Indefinite Parole" and/or humanitarian parole; or

*
                     INS 15! or INS 551 form with a valid expiration;


For a Rehab Loan, the required claim documentation includes:


              Application, Credi; Agreement


              Repurchase Disclosure Statement


              Assignment of Rights (should include disbursement date and
name of the current Owner)


              Payment History, Correspondence History


*             Del itiq uency servicing hi story for the most recent 2 1 0 day
period or the delinquency period prior to claim, whichever is less.


              Bankruptcy and/or death information as appropriate (see Death
Claim seed oii>


In (he event of a. rolling delinquency, the Servicer will submit the.
history for the most recent 210 days or the delinquency period prior to
claim. whichever is less. This may not include al! delinquency
servicing activities for the loan (e.g., activities performed in the
early states of delinquency due to the fact the Borrower rolled several
rimes during the delinquency period).




    JPOOBWa 1 1
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 40 of 191




TERi will accept microfilm or electronic copies of all original
docmnetyes with the claim package. In the event that the Servicer Is
unable to secure the original wet signature Credit agreement, TKR1 will
accept a copy of such Note if it is accompanied by a notarized affidavit
certifying that the original is not available and that the copy is a
true one.


Further, the complete copy of the Note must contain the signatures of
ail obligors of the note. If a court of competent jurisdiction refuses
to accept the submitted copy of a note in the event that TERI must
litigate a case, and TERI loses the ease for that reason, TERI will he
reimbursed by the Loan Owner for the amount that TERI paid to the Owner
via the Servicer on the claim.


TERI. the Owner, and the Servicer acknowledge there may be contractual
agreements between Owner arid Servicer governing the entity responsible
for reimbursing TERI the amount of the claim, if a court of competent
jurisdiction refuses to accept such a copy of a Note,


TERI will make its best effort to send claim, payments to the Servicer
90-1 20 days after the claim Iras been submitted. Claim payments shall
include accrued interest through the payoff date.




 ifoHJT]; i :
Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 41 of 191




                            EXHIBIT n


                          [NCO Agreement]




                              Exhibit. I [-1
Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 42 of 191




           Exhibit B
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 43 of 191
                                                                                       Execution Version




            DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT



            This Default Prevention and Collection Services Agreement (hereinafter "Agreement") is
entered into by and between First Marblehead Education Resources, Inc. ("FMER"), a Delaware
corporation with a principal place of business at 800 Boylston St., 34ft Floor, Boston, MA 02199
(together with its successors and assigns, the "Special Servicer") and NCO Financial Systems,
Inc., a corporation organized under the laws of the Commonwealth of Pennsylvania having a
place of business at 507 Prudential Road, Horsham, PA 19044 (together with its successors and
assigns, "NCO"). This Agreement is executed as of March 1, 2009.

            WHEREAS, FMER as the initial Special Servicer currently provides administration
services to certain Delaware statutory trusts (the "Trusts") consisting of alternative student loans
("ASLs"), including the provision of default prevention and collection management services
pursuant to that certain Special Servicing Agreement entered into by and among FMER as
Special Servicer, U.S. Bank National Association ("U.S. Bank"), as the Back-Up Special
Servicer (in such capacity, the "Back-Up Special Servicer") and the Trusts party thereto and
dated as of March 1, 2009 (the "Special Servicing Agreement");

            WHEREAS, NCO provides default prevention and collections services (the "Services")
to financial institutions;

            WHEREAS, the initial Special Servicer desires to arrange for the outsourcing of certain
default prevention and collections acti vities to NCO as hereinafter provided in the event that the
Back-Up Special Servicer becomes the Special Servicer under the Special Servicing Agreement
pursuant to Section 8 of the Special Servicing Agreement; and



            WHEREAS, NCO is willing to provide certain default prevention and collection
activities as herein provided in the event that the Back-Up Special Servicer becomes the Special
Servicer.

            NOW THEREFORE, in consideration of these presents and the covenants contained
herein the parties hereto hereby agree as follows:

                                         ARTICLE 1 - DEFINITIONS

                1.1    Definitions

                "ASL" means an education-purpose loan made by a lender pursuant to the Program
Guidelines and now or formerly guaranteed by The Education Resources Institute, Inc.
("TERI"), and such other education loans as the parties may agree to in writing in the future.

                "ASL Lender" means the party that originally funded an ASL purchased by a Trust.

                "Attempt" means a left message for the borrower or, if applicable, and cosigner of ASL.

                "Borrower Data" has the meaning set forth in Section 7.1 .

                "Claims Package" has the meaning set forth in Section 2.3.

                "Confidential Information" has the meaning set forth in Section 7.1.

                "Contact" means a telephonic discussion with the borrower and/or cosigner(s) of an ASL.




{F0023945.1 }
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 44 of 191




             "Dedicated Staff' has the meaning set forth in Section 2.10(b).

             "Default Collection Reports" means the reports set forth on Exhibit E attached hereto.

             "Default Collection Services" means NCO performed default collection services as set
forth on Exhibit D attached hereto, and oversight of Default Collectors under Default Collection
Agreement(s).

             "Default Prevention Reports" means the reports set forth on Exhibit C attached hereto.

             "Default Prevention Services" means the services described in Section 2.2 and Exhibit B
attached hereto.

             "Early Awareness Services" means the services described in Section 2.9 and Exhibit G
attached hereto.

                 "Governmental Authority" means the federal government of the United States, any state
government, or any political subdivision of either, or any agency, court or body of the federal
government of the United States, of any state, or of any other political subdivision of either,
exercising executive, legislative, judicial, regulatory or administrative functions.

             "Guaranty Agreement" means the document by that name between each ASL Lender and
TERI.

             "Program Guidelines" means the document by that name included as a part of the
Guaranty Agreement.

             "Requirements of Law" means, with respect to any person, any certificate of
incorporation, articles of association and, as applicable, by-laws or other organizational or
governing documents of such person, and any law, ordinance, statute, rule, regulation, judgment,
order, decree, injunction, permit, issuance or other determination, finding, guidance or
recommendation of any Governmental Authority or final and binding determination of any
arbitrator applicable to or binding upon such person or to which such person is subject, whether
federal, state, county or local (including, if applicable, usury laws, the federal Truth-In-Lending
Act, the federal Fair Debt Collection Practices Act, the federal Equal Credit Opportunity Act, the
federal Fair Credit Reporting Act, the Gramm-Leach-Bliley Act, the Telephone Consumer
Protection Act, the Telemarketing and Consumer Fraud and Abuse Prevention Act, regulations
of the Board of Governors of the Federal Reserve System, and regulations of the Office of
Foreign Assets Control, each as amended from time to time).

                 "Servicers" means the Pennsylvania Higher Education Association Agency, d/b/a
American Education Services; Nelnet, Inc., Edfinancial Services, LLC; ACS Education Services,
Inc., Chase Student Loan Servicing LLC (f/k/a CFS SunTech Servicing LLC); and Great Lakes
Higher Education Servicing Corporation.

                 "Services" means Default Collection Services, Default Prevention Services, Early
Awareness Services and Fraud Claims Review.

                 "Servicing Guidelines" means the document by that name included as part of the
Guaranty Agreement.

      "Subservicers" means Special Servicer approved subservicers retained by NCO in
conformity with the requirements of Section 2.12 of this Agreement to perform part of the
Services.




jp'0023945.] }
                                                        2
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 45 of 191




                                            ARTICLE II - SERVICES

            2.1       Services Generally.    Special Servicer hereby retains NCO to perform the Services
set forth herein in the event that, and only in the event that, Special Servicer (including for the
avoidance of doubt, U.S. Bank in its capacity as successor Special Servicer) notifies NCO in
writing that the Back-Up Special Servicer has assumed the duties of the Special Servicer
pursuant to Section 8 of the Special Servicing Agreement. The parties acknowledge and agree
that the foregoing reference to the Special Servicing Agreement is intended only as a reference to
the conditions under which performance of the Services under this Agreement will begin; it is
does not and shall not create duties or obligations for NCO under the Special Servicing
Agreement. The parties further agree that upon U.S. Bank assuming the duties of Special
Servicer under the Servicing Agreement, all references to "Special Servicer" in this Agreement
shall, unless otherwise provided or the context otherwise requires, be deemed to refer to U.S.
Bank acting in such capacity. The date of the beginning of the performance of services by NCO
referenced in the foregoing sentence shall be the "Effective Date" for purposes of this Agreement
(it being acknowledged that NCO shall commence performance of the Services set forth herein
immediately upon being notified of the assumption by the Back-Up Special Servicer of the duties
of the Special Servicer under the Special Servicing Agreement or such later date (if any) as shall
be specified in such written notice). In order for NCO to carry out its duties under this
Agreement with respect to the Services, as of the Effective Date, the initial Special Servicer shall
cause the Servicers to provide to NCO (a) consumer file data in the manner and form described
in Exhibit A (as amended from time to time by Special Servicer), and (b) view-only access to
borrower ASL accounts on the Servicers' systems. NCO shall use such data for the purposes of
performing the Services, risk modeling, providing reports as set forth in this Agreement,
forecasting and billing.

            2.2       Default Prevention Services. NCO shall perform Default Prevention Services in
conformity with those Default Prevention Services set forth in Exhibit B attached hereto. NCO
shall provide Dedicated Staff to make outbound calls related to accounts thirty (30) days or
greater past due referred by Special Servicer and receive inbound calls resulting from NCO's
efforts. NCO will also draft and mail letters and conduct other activities reasonably calculated to
perform the Services.

                      (a)    NCO shall provide reports to Special Servicer with respect to the results of
Default Prevention Services performed by NCO with the frequency and having the content
described in Exhibit C ("Default Prevention Reports").

                      (b)    NCO shall perform Default Prevention Services in order to maximize
"cures" of delinquent loans. "Cures" include: (i) incenting ASL borrowers who are thirty (30)
days past due but less than one hundred and eighty (180) days past due to become less than thirty
(30) days past due, and (ii) incenting borrowers who are one hundred and eighty (180) days past
due with respect to whom the appropriate Servicer has not yet submitted a Claims Package to
become less than thirty (30) days past due.

                2.3   Default Collection Services. NCO shall perform Default Collection Services in
conformity with those Default Collection Services set forth herein and in Exhibit D attached
hereto. NCO shall use Dedicated Staff to perform Default Collection Services. Special Servicer
shall cause the Servicers to provide to NCO all documents and information specified in the




{F0023945.1 }
                                                        3
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 46 of 191




Servicing Guidelines to make a claim under the Guaranty to TERI, other than: (i) original notes
and (ii) a loan assignment to TERI (the "Claims Package").

                 (a)   Generally.

                       (i)     Special Servicer shall review the Claims Package for conformity to
the Servicing Guidelines and Program Guidelines. Special Servicer shall return the Claims
Package to the Servicers for further collection efforts and/or cure by the Servicers as provided in
the Servicing Guidelines and Special Servicer's servicing agreement if it detects Servicer error as
prescribed in the Servicing Guidelines.

                       (ii)    NCO shall reconcile all cash collections with its reported results of
operations and transmit all cash receipts (net of the fees set forth on Exhibit H) weekly to Special
Servicer. NCO shall provide the Default Collection Reports set forth in Exhibit E. NCO shall
assign defaulted ASLs as needed to optimize collection.

                       (iii)   From time to time Special Servicer may instruct NCO with respect
to collection costs, default interest rates and other adjustments to be made to account balances
submitted pursuant to Special Servicer's direction by Servicers to NCO with a Claims Package
("Default Charges"). Special Servicer represents and warrants that all such Default Charges
shall conform to all Requirements of Law. Any breach of the foregoing representation shall be
subject of indemnification by Special Servicer under Section 8. NCO shall have no
responsibility to attempt to collect any Default Charges, whether or not authorized by the ASL
documents, except as instructed by Special Servicer.

                 (b)   Collection and Credit Reporting Services.

                       (i)     NCO will use all reasonable and lawful efforts to collect the full
amount due on all accounts placed with it by Special Servicer for collection. Special Servicer
may place with NCO various First, Second and Third Placements, as defined in Exhibit D
attached hereto and incorporated herein. The full amount due on each account will consist of
principal; accrued interest; late fees, if any; and any collection costs and attorneys' fees awarded
by a court of competent jurisdiction pursuant to a final judgment and recoverable under the terms
of the loan agreement, as well as extrajudicial collection costs recoverable under applicable law.
NCO will keep full and accurate records of all borrower Contacts and other collection activity.
NCO may negotiate and revise any borrower's repayment schedule in any manner approved in
writing by an authorized representative or agent of Special Servicer. NCO may not reduce the
amount due on any account, or otherwise decrease the borrower's aggregate obligation on the
account, without specific prior written consent of an authorized representative or agent of Special
Servicer, except as expressly set forth in this Agreement.

                       (ii)    NCO will report the status of each post-default account whenever
placed to the three national credit reporting agencies currently known as Equifax, TransUnion
and Experian (f/k/a TRW), subject to the provisions of Article V. Reporting the status of an
account shall include reporting the status with respect to all co-debtors.

                       (iii)   Special Servicer reserves the right to restrict or otherwise limit at
any time, from time to time, the manner or means to be used by NCO in collecting any account,
which restrictions may be communicated to NCO by Special Servicer orally or in writing, at
Special Servicer's sole discretion.




(F0023Q45, 1 }
                                                  4
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 47 of 191




                  (c)    Source and Timing of Fee Payments. Notwithstanding the fee provisions
set forth in Article III, fees due NCO for Default Collection Services, including costs and
expenses related to litigation, will be paid on a loan-by-loan basis out of funds held in the
Account (as defined in Section 2.6). Fees will be billed weekly and NCO may withdraw billed
fees from the Account at such time (i.e., weekly) as it forwards the Account balances to Special
Servicer.

            2.4   Litigation Management. As part of the Default Collection Services, NCO shall
administer collection litigation as described in this section and in Exhibit D attached hereto.
Special Servicer may also from time to time designate loans as to which assessment and recovery
of collection costs from the borrower in an extrajudicial context are allowed by applicable law,
by way of contract or otherwise. NCO will use all reasonable and lawful efforts to collect such
collection costs as directed by Special Servicer.

NCO may, with Special Servicer's prior written approval, forward accounts for litigation to an
attorney licensed to practice law in the applicable jurisdiction and acceptable to Special Servicer.
NCO will handle all routine communication with the attorney on Special Servicer's behalf and
will be responsible for monitoring the attorney's performance in litigating the case, collecting on
the accounts pre-judgment and collecting on any judgment or settlement. Except in the case
where there is no media availability, any decision regarding settlement, dismissal of the action,
or the removal of an attorney will require Special Servicer's written consent. Special Servicer
recognizes that back up media, sworn statements of account, affidavits and other documentation
may be required to pursue legal treatment on accounts placed with NCO. In the event that
documentation is required, Special Servicer will comply with NCO's request for media and
follow request procedures as agreed upon in work standards. If Special Servicer can not comply
with media or documentation requests within a fourteen (14) day period, NCO reserves the right
to dismiss any legal action, with our without prejudice and close and return the account back to
Special Servicer. In the event that lack of media or documentation results in liability for NCO or
Special Servicer, Special Servicer bears the burden of indemnification. At all times, Special
Servicer and not NCO will be the client of the collection attorney. Special Servicer agrees
promptly to provide all available documentation, written testimony, witnesses and other
reasonably necessary materials and assistance requested by NCO in support of such litigation.

                  (a)    NCO shall be responsible for selecting and directly supervising collection
attorneys. NCO will submit lists of collection attorneys used by NCO to Special Servicer, and
Special Servicer may, at any time, prohibit the submission of new litigation files to an attorney
on its behalf.

                  (b)    All collection attorneys shall be paid by NCO and Special Servicer shall
have no obligation to pay such attorneys.

                  (c)    NCO will provide evidentiary support for collection attorneys, including
basic factual orientation, copies of documents, records of account balances, affidavits and
testimony, as reasonably required. Special Servicer will instruct Servicers to provide original
documents to NCO upon request from NCO. For this purpose, Special Servicer on behalf of the
Trusts hereby appoints NCO as keeper of the applicable Trust's records of all ASLs that are the
subject of NCO administration.




(F0023945.1 }
                                                    5
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 48 of 191




                      (d)   NCO shall supervise the progress of collection litigation and review the
progress of their assigned litigation quarterly. Such review shall include the establishment and
prosecution of appropriate post-judgment enforcement, to the extent lawful.

                      (e)




                      (f)    NCO shall promptly transmit to Special Servicer any pleadings or other
documents it receives relating to counterclaims naming Special Servicer or any Trust in
collection litigation. Upon request, NCO shall assist Special Servicer with respect to
management of counterclaims naming Special Servicer or any Trust as a party, including
management of local counsel in consultation with Special Servicer.

                      (g)    All court costs and related expenses, including hourly billing charges,
incurred in connection with a legal proceeding shall be paid as set forth in Section 2.3(c). For
audit and reconciliation purposes, NCO shall itemize costs for each borrower and the amount and
purpose of each expense. Special Servicer will not advance the pre-payment of such costs, and
will only reimburse costs that have actually been incurred. The attorney must receive Special
Servicer's or NCO's prior written approval before incurring any expense (other than a filing fee,
process server fee, or other court cost) in excess of $500.

            2.5       Special Accounts.

                      (a)    In the event any debtor with respect to any ASL that is the subject of
Services becomes a debtor under the U.S. Bankruptcy Code, NCO shall immediately cease all
Services and submit the file to Special Servicer unless Special Servicer otherwise directs in
writing.

Special Servicer undertakes that it will not send to NCO accounts for collection on any
indebtedness that it has reason to believe are subject to any bankruptcy proceeding and that it
will indemnify and hold harmless NCO from any and all claims and legal actions asserted
against NCO, and all money damages and legal costs incurred by NCO, to the extent that the
same result solely from Special Servicer's failure to observe such requirement.

                      (b)    In the event any debtor with respect to any ASL that is the subject of
Services is deceased, NCO may accept from the Servicers the documentation specified under
"Death Claim" under the Servicing Guidelines and may collect the ASL.

                2.6   Special Servicer Funds Account. NCO will credit all funds received from debtors
into an FDIC-insured trust fund account (the "Account") for Special Servicer in trust for the
benefit of each Trust, which will segregate said funds from NCO's own funds and from the funds
of all other NCO clients. Any interest earned on the Account will be forwarded to Special
Servicer twice annually at a time Special Servicer directs, or upon reasonable notice by Special
Servicer. For purposes of this Agreement and except as set forth in this Agreement, the funds in
the Account will be the sole property of Special Servicer in trust for each Trust, and NCO will
have no right to pay such funds to any person other than Special Servicer except as specifically
authorized in this Agreement. NCO will remit to Special Servicer on a weekly basis on a
specified day of every week (or at different periodic intervals chosen by Special Servicer), by




{F0023945.1 }
                                                       6
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 49 of 191




wire transfer to a Special Servieer-designated account, all funds in the Account representing
payments received by NCO for the previous week (or alternative periodic interval chosen by
Special Servicer), except fees owed to NCO for Default Collection Services (which shall be
payable to NCO as set forth in Section 2.3(c)). NCO will submit a report with such wire,
described more fully in Exhibit E attached hereto. Special Servicer will promptly notify NCO of
any payment that Special Servicer receives directly from a debtor whose account has been
assigned to NCO, and will promptly remit to NCO the fee due to NCO with respect to such
payment.

            2.7        Tax Reporting. NCO shall provide on Special Servicer's behalf all tax reporting
required under the federal Internal Revenue Code on defaulted ASLs serviced hereunder,
including but not limited to reporting required under sections 1098 and 1099 thereof.

            2.8        Early Awareness Services.

                       (a)    NCO shall perform Early Awareness Services in conformity with those
Early Awareness Services set forth herein and in Exhibit G attached hereto. NCO shall use
Dedicated Staff to develop and carry out a "Borrower Repayment Education And Counseling"
program for borrowers about to enter repayment. The specific objective of this program is to
educate borrowers of upcoming payment requirements and advise borrowers, if authorized under
the circumstances, of the existence of defennent, forbearance and modified graduated
repayments ("MGRS") alternatives under applicable Program Guidelines, to reduce the number
and percentage of borrowers becoming subsequently delinquent in the repayment process.

                       (b)    The purpose of each borrower Contact will be to:

                              (i)     Remind borrowers of upcoming payment requirements.

                              (ii)    Get "commitment/promise" from borrowers that they are prepared
and intend to meet their payment requirements (for example, by signing up for ACH repayment).

                              (iii)   Identify borrowers who may have concerns about ability to meet
payment requirements.

                              (iv)    Advise borrowers, only if authorized under the circumstances, of
the existence of deferment, forbearance and modified graduated repayments MGRS alternatives
under existing Program Guidelines.

                       (c)    NCO hereby acknowledges that (i) the Servicing Guidelines articulate the
specific circumstances under which NCO may advise borrowers of each of the deferment,
forbearance and MGRS alternatives; (ii) it is Special Servicer's objective to maximize the
number and percentage of borrowers entering repayment as scheduled, (iii) borrowers will be
advised of the deferment, forbearance and MGRS alternatives only in accordance with the
Servicing Guidelines, and (iii) nothing in this Agreement shall be construed to authorize NCO to
offer, provide or enroll borrowers in deferment, forbearance or MGRS alternatives except as set
forth in the Servicing Guidelines.

                2.10   Staffing. NCO represents and warrants the following with regard to all staff
providing the Services to Special Servicer:

                       (a)    NCO's employees and/or agents are adequately trained to perform the
Services with reasonable diligence, in a professional manner, and in compliance with any and all
applicable laws and regulations and that NCO's Services will be in compliance with Federal,




(F0023945.1 }
                                                        7
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 50 of 191




state, and local laws, rales and regulations as now in effect and as amended from time-to-time to
the extent they are applicable to the subject matter of this Agreement,

                        (b)   NCO shall provide staffing through its employees and other personnel to
Special Servicer (the "Dedicated Staff"). The Dedicated Staff shall only work on Special
Servicer ASLs and will perform the Services as directed by the Special Servicer.

                        (c)   Except as provided Section 2.1 1 ("NCO Personnel") hereof, NCO shall be
responsible for all aspects of providing the Dedicated Staff to perform the Services, including
staffing selection, hiring, firing, supervision, and disciplinary procedures, and NCO shall be
responsible for all wages, salaries, benefits, workers compensation, unemployment compensation
and other amounts due to the Dedicated Staff as well as the withholding of applicable taxes,
FICA, and FUTA, provided, however, that nothing contained herein shall be deemed to limit
Special Servicer overall management and supervision of the Dedicated Staff and other NCO
personnel as more particularly described herein below.

                        (d)   NCO shall provide the Dedicated Staff at levels mutually agreed upon by
Special Servicer and NCO.

                        (e)   NCO is solely responsible for all aspects of training the Dedicated Staff to
perform the Services as required under this Agreement, including training in connection with the
Special Servicer's policies and procedures.

                        (f)   NCO shall be responsible for providing all office and clerical supplies and
equipment (fax machines, headsets, copiers, copy paper, pens, forms, etc.) as well as workstation
computers, telecommunications all other equipment, materials and furniture necessary to perform
the Services.

                        (g)   NCO will provide management personnel to support the Dedicated Staff
required under this Agreement.

                 2.11   NCO Personnel.

                        (a)   NCO's employees are not eligible to participate in any of the employee
benefit or similar programs of Special Servicer. NCO shall inform all of its employees providing
Services pursuant to this Agreement that they will not be considered employees of Special
Servicer for any purpose, and that Special Servicer shall not be liable to any of them as an
employer for any claims or causes of action arising out of or relating to their assignment.

                        (b)   Upon the request of Special Servicer for reasonable cause, NCO shall
immediately remove any of NCO's employees or Subservicers performing Services under this
Agreement at Special Servicer's premises and replace such employee or Subservicer as soon as
practicable. Upon the request of Special Servicer, NCO shall promptly, and after consultation
with Special Servicer, address any concerns or issues raised by Special Servicer regarding any of
NCO's employees or Subservicers performing Services under this Agreement at premises other
than Special Servicer premises, which may include, as appropriate, removing such employee or
Subservicer from the Special Servicer account.

                        (c)   NCO shall comply and shall cause its employees and any Subservicers to
comply with all personnel, facility, safety and security rales and regulations and other
instructions of Special Servicer provided to NCO, its employees or Subservicers, as applicable,
in writing, when performing work at a Special Servicer facility, and shall conduct its work at




(F0023945. 1 }
                                                        8
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 51 of 191




Special Servicer facilities in such a manner as to avoid endangering the safety, or interfering with
the responsibilities of, Special Servicer employees or customers. NCO understands that Special
Servicer operates under various laws and regulations that are unique to the security-sensitive
financial services industry. As such, persons engaged by NCO to provide Services under this
Agreement are held to a higher standard of conduct and scrutiny than in other industries or
business enterprises. NCO agrees that its employees and Subservicers providing Services
hereunder shall possess appropriate character, disposition and honesty.

                (d)    NCO shall not knowingly permit any of its employees or any Subservicer
to have access to the Confidential Information, premises, records or data of Special Servicer or
any Trust when such employee or Subservicer: (i) has been convicted of a crime or has agreed to
or entered into a pretrial diversion or similar program in connection with: (A) a dishonest act or
a breach of trust, as set forth in Section 19 of the Federal Deposit Insurance Act, 12 U.S.C.
1829(a); or (B) a felony; or (ii) uses illegal drugs. Notwithstanding anything in this Agreement
to the contrary, NCO shall conduct background checks on its employees and those of its
Subservicers who will have access (whether physical, remote, or otherwise and whether on or off
Special Servicer premises) to Confidential Information or Special Servicer facilities, equipment,
systems or data. Such background checks must include, at a minimum the following: (i) the
search of such person's social security number to verify the individual's identity and current and
previous addresses; (ii) a criminal background search of all court records in each venue of such
person's current and previous address over the past five (5) years; (iii) a minimum of one (1)
confirmed work reference prior to assignment at NCO; and (iv) the validation of United States
citizenship or certification to work in the United States. Additional requirements may be
specified by Special Servicer from time to time. NCO shall report to Special Servicer the results
of all background checks prior to such employee or Subservicer being granted such access or
performing Services hereunder.

                (e)    Unless this Agreement specifically provides otherwise, all Services must
be performed in the United States (or, with respect to borrowers who are residents of Canada, in
Canada) and all Confidential Information must be stored, maintained, accessed from, and utilized
only in the United States (or, with respect to borrower who are residents of Canada, in Canada).
In the event that NCO employs non-U. S. citizens to provide services hereunder, NCO shall
ensure that all such persons have and maintain appropriate visas to enable them to provide the
Services.

                (f)    Special Servicer shall notify NCO of any act of dishonesty or breach of
trust committed against Special Servicer, which may involve an employee or Subservicer of
NCO of which Special Servicer becomes aware, and NCO shall notify Special Servicer if it
becomes aware of any such offense. Following such notice, at the request of Special Servicer
and to the extent permitted by law, NCO shall cooperate with investigations conducted by or on
behalf of Special Servicer.

                (g)    All employees and Subservicers of NCO performing Services or
supporting NCO activities under this Agreement, regardless of their location, shall be validated
by NCO to not be on any list published and maintained by the Government of the United States
of America of persons or entities with whom any U.S. person or entity is prohibited from
conducting business. Currently, the lists of such persons or entities can be found on the
following web sites:




{F0023945.1 f
                                                 9
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 52 of 191




                                i.      Denied Persons List on the Bureau of Industry and Security at
http://www.bis.doe.gov/dpl/default.shtm.

                                ii.     The Specially Designated Nationals and Blocked Persons List of
the Office of Foreign Assets Control - Department of Treasury at
http ://www . ustreas . gov/offices/enforcement/ofac/sdn/index .html .

                                NCO shall conduct periodic reviews, no less frequently than quarterly, of
the lists mentioned above. NCO shall report to Special Servicer immediately if the name of any
NCO employee or Subservicer performing the Services matches with the name of any person
listed on any list published by the Government of the U.S. of persons or entities with whom any
U.S. person or entity is prohibited from doing business.

                         (h)    Special Servicer shall provide notice to NCO of any changes in Dedicated
Staff levels by the 1 5th of every month for changes to be effective on the 1st of the following
month; provided that Special Servicer shall provide NCO with a minimum of thirty (30) days
advance notice of any change involving more than ten percent (10%) of the total Dedicated Staff.

                2. 1 2   Subservicers. NCO shall not retain any Subservicer to provide Services under this
Agreement without first providing advance written notice to Special Servicer; provided,
however, NCO shall not permit any Subservicer to have access to Confidential Information,
including Borrower Data, without first providing to Special Servicer at least ten (10) days
advance written notice of the identity, qualifications, and general proposed activities of such
proposed Subservicer. Special Servicer may object to the selection of such proposed Subservicer
during said ten (10) day period, in which case NCO shall meet with Special Servicer to discuss
Special Servicer's objections and will not retain such Subservicer without Special Servicer's
written consent. If Special Servicer does not object within the then (10) day period, Special
Servicer shall be deemed to have approved such proposed Subservicer for all purposes disclosed
to Special Servicer in the applicable notice from NCO. Any consent by Special Servicer to the
engagement of a Subservicer under this Section 2. 12 shall not relieve NCO of any of its
obligations under this Agreement. NCO shall be responsible for the performance or
nonperformance of its Subservicers as if such performance or nonperformance were that of
NCO. Notwithstanding the foregoing, the entities listed on Schedule 2.12 attached hereto shall
be deemed approved Subservicers hereunder.

                                      ARTICLE III - FEES FOR SERVICES

                3.1      Fees for Services. In consideration of the Services, Special Servicer shall pay to
NCO the fees set forth in Exhibit H. NCO shall invoice Special Servicer monthly as of the last
date of each month. With the exception of fees due for Default Collection Services which are set
forth in Section 2.3(c) herein, invoices shall be due within thirty (30) days after invoice date.
NCO may submit invoices electronically in a mutually agreed format. Any amount not subject
to a bona fide dispute and unpaid more than thirty (30) days after invoice date shall be subject to
a late fee of one and one-half percent (1.5%) per month until paid in full. Monthly invoices shall
be accompanied by a loan level report in a format mutually acceptable to NCO and Special
Servicer enabling Special Servicer to reconcile the invoice with the services provided.

                3.2      Expenses. NCO will bear all its own expenses in connection with its services
hereunder. No thing or service costing more than one hundred dollars ($1 00.00) will be
purchased in regard to any account without prior written approval of an authorized representative




{F0023945.1 }
                                                          10
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 53 of 191




or agent of Special Servicer, except for required court costs which are paid by Special Servicer
as set forth in Section 2.3(c) herein.

                   ARTICLE IV - REPRESENTATIONS AND WARRANTIES

            4. 1   Representations and Warranties of Special Servicer. Special Servicer hereby
represents and warrants to NCO as follows:

                   (a)    Organization. It is a national banking association organized, validly
existing and in good standing under the laws of the United States and has full power and
authority to conduct its business as it is presently being conducted.

                   (b)    Authorization. It has all necessary corporate authority and has taken all
necessary corporate action to enter into this Agreement, to consummate the transactions
contemplated hereby and to perform its obligations hereunder. This Agreement has been duly
executed and delivered by Special Servicer and is a legal, valid and binding obligation of Special
Servicer, enforceable against it in accordance with its terms, except as the enforcement thereof
may be limited by applicable bankruptcy, insolvency, rearrangement, reorganization or similar
debtor relief legi slation affecting the rights of creditors generally from time to time in effect and
by general principles of equity (regardless of whether such enforcement is sought in a proceeding
at law or in equity) and the discretion of the court before which any proceeding therefor may be
brought.

                   (c)    Absence of Conflicts. Neither the execution and delivery of this
Agreement by Special Servicer nor the performance by Special Servicer of its obligations
hereunder will result in (i) a violation of the articles of association of Special Servicer, (ii) a
breach of, or a default under, any contract, agreement, instrument, lease, commitment, franchise,
license, permit or authorization to which Special Servicer is a party or by which it or its assets
are bound, which breach or default would have a material adverse effect on its business or
financial condition or its ability to consummate the transactions contemplated hereby, or (iii) a
violation by Special Servicer of any Requirements of Law, which violation would have a
material adverse effect on Special Servicer's business or financial condition or its ability to
consummate the transactions contemplated hereby.

                   (d)    Consents and Approvals. Special Servicer has obtained any and all
consents, approvals or authorizations of, and made any and all declarations, filings or
registrations with, any Governmental Authority, or any other Person, required to be obtained or
made by Special Servicer in order to execute, deliver and perform its obligations under this
Agreement or consummate the transactions contemplated hereby, except where the failure to do
so would not have a material adverse effect on its business or financial condition or its ability to
consummate the transactions contemplated hereby. Special Servicer represents that it is fully
authorized and empowered to refer accounts to NCO for Services. Special Servicer represents
that any interest or additional charges added to any account by Special Servicer, or which Special
Servicer directs NCO to add, are authorized by contract or are otherwise authorized by law.

                   (e)    Litigation. There is no action, order, writ, injunction, judgment or decree
outstanding or claim, suit, litigation, proceeding, labor dispute, arbitral action or investigation
pending, or to the actual knowledge of Special Servicer threatened, against or relating to Special
Servicer that would have a material adverse effect on this Agreement or on Special Servicer's
ability to consummate the transactions contemplated hereby.




(F0023945.1 \
                                                    11
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 54 of 191




                  (f)    Accounts. With respect to Default Collection Services, Special Servicer
undertakes that it will not send to NCO accounts for collection on any indebtedness that it has
reason to believe are subject to any bankruptcy proceeding and that it will indemnify and hold
harmless NCO from any and all claims and legal actions asserted against NCO, and all money
damages and legal costs incurred by NCO, to the extent that the same result solely from Special
Servicer's failure to observe such requirement

            4.2   Representati ons and Warranties of NCO. NCO hereby represents and warrants to
Special Servicer as follows:

                  (a)    Organization. It is duly organized, validly existing and in good standing
under the laws of the Commonwealth of Pennsylvania, and has full corporate power and
authority to conduct its business as it is presently being conducted.

                  (b)    Authorization. It has all necessary corporate authority and has taken all
necessary corporate action to enter into this Agreement to consummate the transactions
contemplated hereby and to perform its obligations hereunder. This Agreement has been duly
executed and delivered by NCO and is a legal, valid and binding obligation of NCO, enforceable
against it in accordance with its terms, except as the enforcement thereof may be limited by
applicable bankruptcy, insolvency, rearrangement, reorganization or similar debtor relief
legislation affecting the rights of creditors generally from time to time in effect and by general
principles of equity (regardless of whether such enforcement is sought in a proceeding at law or
in equity) and the discretion of the court before which any proceeding therefor may be brought.

                  (c)    Absence of Conflicts. Neither the execution and delivery of this
Agreement by NCO nor the performance by NCO of its obligations hereunder will result in (i) a
violation of the articles of incorporation or charter documents of NCO, (ii) a breach of, or a
default under any contract, agreement, instrument, lease, commitment, franchise, license, permit
or authorization to which NCO is a party or by which it or its assets are bound, which breach or
default would have a material adverse effect on its business or financial condition or its ability to
consummate the transactions contemplated hereby, or (iii) a violation by NCO of any
Requirements of Law, which violation would have a material adverse effect on NCO's business
or financial condition or its ability to consummate the transactions contemplated hereby.

                  (d)    Consents and Approvals. NCO has obtained any and all consents,
approvals or authorizations of, and made any and all declarations, filings or registrations with,
any Governmental Authority, or any other person, required to be obtained or made by NCO in
order to execute, deliver and perform its obligations under this Agreement or consummate the
transactions contemplated hereby, except where the failure to do so would not have a material
adverse effect on its business or financial condition or its ability to consummate the transactions
contemplated hereby.

                  (e)    Litigation. There is no action, order, writ, injunction, judgment or decree
outstanding or claim, suit, litigation, proceeding, labor dispute, arbitral action or investigation
pending, or to the actual knowledge of NCO threatened, against or relating to NCO that would
likely have a material adverse effect on this Agreement or on NCO's ability to consummate the
transactions contemplated hereby.

                  (f)    Best Efforts. NCO will utilize its best efforts and competence in rendering
services and in performing its duties hereunder and shall not use any method prohibited by




(F0023945.I }
                                                  12
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 55 of 191




federal, state or local laws, regulations or procedures, including but not limited to any applicable
consumer protection or bankruptcy laws, regulations or procedures in collecting the account
balances. . NCO has not, does not and will not represent, warrant, or guarantee the collections
or timing of any collections of any accounts assigned to it under this Agreement. Also, NCO
will not conduct its business in a manner calculated or reasonably expected to result in
unfavorable public opinion or notoriety to Special Servicer, Special Servicer or any Trust or to
result in litigation being threatened or instituted against Special Servicer, Special Servicer or any
Trust. NCO will promptly give oral and written notice to Special Servicer of any federal, state or
local administrative or court proceeding affecting NCO or any of its officers, agents, servants or
employees in the collection of Special Servicer's accounts.

                      (g)    Legal Proceedings. In the event of any lawsuit in which counterclaims are
interposed by a debtor, or where a debtor shall make any other claim against Special Servicer or
any Trusts, the same shall be immediately referred by NCO to Special Servicer and Special
Servicer shall have the right to intercede and defend such action. No criminal proceedings, real
property executions, bailable attachments, commitment orders or other enforcement proceedings,
except for the issuance of a subpoena to examine the debtor and restraining notices, shall be
instituted by NCO without prior written approval of Special Servicer.




                      ARTICLE V - GENERAL COVENANTS OF THE PARTIES

      5.1     Compliance With Requirements of Law. NCO and Special Servicer each shall
comply with all applicable Requirements of Law in performing its respective obligations under
this Agreement.

                      (a)    Collection Practices. NCO warrants and represents that it has special
knowledge and skills necessary to perform collection services properly, and has trained its
employees to use such knowledge and skills in the performance of such services. NCO further
warrants and represents that its performance of its obligations hereunder, including but not
limited to its collection and credit reporting practices, will fully comply with all applicable
Requirements of Law, and any and all rules of conduct required by Special Servicer from time to
time. NCO shall keep itself fully informed regarding existing and pending legislation and
regulatory rule-making or other action relating to collection and credit reporting practices and
procedures.

                      (b)    Licensing. NCO warrants that it will maintain in full force and effect all
licenses required under Applicable Law for the conduct of all activities contemplated by this
Agreement and comply with all Requirements of Law relative to its licenses. NCO will furnish
Special Servicer with copies of such licenses on request.

                      (c)    Records. NCO warrants that it will maintain all records required of it
under any Requirements of Law. It will furnish copies of all such records to Special Servicer
upon request.

                5.2   Insurance, etc. NCO warrants that it will maintain all insurance, bonds, capital
reserves, and the like that may be required of it under any Requirements of Law. NCO will
provide Special Servicer with satisfactory evidence thereof upon request.

                      (a)    Special Servicer will notify NCO of any facts known to it concerning a




{F0023945.1 }
                                                       13
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 56 of 191




particular loan that may limit the collection activities that NCO can undertake with respect to
such loan, such as, without limitation, the fact that the borrower has notified Special Servicer that
he or she has retained counsel.

                 (b)    NCO shall, at all times and at NCO's cost and expense, keep in full force
and effect the following insurance coverages with insurers that have ratings from A.M. Best of
not less than "A" or a comparable rating from another nationally recognized rating agency
reasonably acceptable to Special Servicer:

                        i.      Employee dishonesty coverage at a limit not less than $1,000,000
per occurrence, insuring against theft or misappropriation of money or Confidential Information
of any affiliate or subsidiary of Special Servicer or any Trust for which NCO may be held legally
liable;

                        ii.     Professional liability/errors and omissions liability coverage at a
limit not less than $1,000,000 per occurrence, extending to Special Servicer, any affiliate or
subsidiary of Special Servicer or any Trust as additional insureds, insuring against claims for loss
attributable to wrongful acts of NCO, including wrongful acts of NCO's employees, in the
performance of Services under this Agreement;

                        iii.    Commercial general liability coverage on an occurrence basis,
including bodily injury liability, property damage liability, personal injury liability, and
contractual liability coverages, extending to Special Servicer, any affiliate or subsidiary of
Special Servicer or any Trust as additional insureds, with respect to claims arising from NCO's
operations in connection with this Agreement, at a combined single limit not less than
$ 1 ,000,000 per occurrence and combined annual aggregate liability limit of not less than
$2,000,000;

                        iv.     Business automobile liability coverage for claims of bodily injury
or property damage arising from the operation of vehicles owned, leased, hired or borrowed by
NCO or on NCO's behalf in connection with Services performed under this Agreement, at a
combined single limit not less than $1,000,000 per occurrence;

                        v.      Workers' compensation coverage providing statutory benefits as
required in any and all jurisdictions where Services will be performed under this Agreement;

                        vi.     Employer's liability coverage, extending to Special Servicer, any
affiliate or subsidiary of Special Servicer or any Trust as additional insureds, at limits not less
than $1,000,000 per accident for injury by accident, and $1,000,000 per employee and in the
aggregate for injury by disease;

                        vii.    Umbrella or excess liability coverage, extending to Special
Servicer, any affiliate or subsidiary of Special Servicer or any Trust as additional insureds, at a
limit not less than $4,000,000 per occurrence, which is to apply in excess of the commercial
general liability, business automobile liability and employer's liability coverages identified in
subparts (iii), (iv) and (vi) of this Paragraph 23(a).

                 (c)    Evidence of Insurance. NCO shall provide Special Servicer with
certificates of insurance providing evidence of all these required coverages prior to the
commencement of Services under this Agreement, and thereafter upon the renewal or
replacement of any of the policies. Said certificates shall identify significant policy exclusions
that would have a bearing upon the Services provided under this Agreement.




{F0023945. J }
                                                   14
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 57 of 191




                   ARTICLE VI - BOOKS AND RECORDS: AUDIT RIGHTS

            6.1   Maintenance of Books and Records. NCO will keep proper books and records
reflecting all of its business affairs and transactions so that its financial statements, consolidated
with its affiliates, are in accordance with GAAP. NCO shall maintain its books and records
relating to activities under this Agreement throughout the term hereof and thereafter for such
periods as are required under applicable Requirements of Law or NCO's policy, whichever is
longer.

            6.2   Audit Rights.

                  (a)    Special Servicer shall have the right to review, inspect and audit, at
Special Servicer's expense, once each calendar year (or more than once in a calendar year in the
event that Special Servicer requires the review, inspection or audit in order to respond to a court
order, civil investigation demand or other government or regulatory agency inquiry), the books
and records of NCO related to: (i) NCO's activities hereunder or (ii) conformance with NCO's
obligations hereunder.

                  (b)    No later than thirty (30) days prior to the commencement of any review,
inspection or audit, Special Servicer shall provide to NCO written notice of its intent to perform
a review, inspection or audit, which notice shall include in reasonable detail the scope thereof
and the supporting documentation to be requested. Within fifteen (15) days of receipt of any
such notice, NCO shall notify Special Servicer, in writing of any objections to the scope of the
review, inspection or audit or the supporting documentation requested, it being understood that
any objections of NCO must be based upon a reasonable and documented belief that such
review, inspection, audit or documentation is not reasonably related to NCO's obligations under
this Agreement or would require the disclosure of proprietary information (other than
information that is proprietary solely as a result of this Agreement). Special Servicer and NCO
shall cooperate in good faith to resolve objections with respect to any review, inspection or audit
proposed by Special Servicer and such review, inspection or audit shall not commence until such
objections are resolved. In the event the parties are not able to resolve such objections, the
matter shall be resolved in accordance with the procedures set forth in Section 1 1 .2.

                  (c)    Any review, inspection or audit to be performed by Special Servicer
pursuant to this Section 6.2 shall be conducted only during normal business hours and with
reasonable advance notice, using reasonable care not to cause damage and not to interrupt the
normal business operations of NCO.

                  (d)    NCO will engage, at its sole expense, an unrelated American Institute of
Certified Public Accountants ("AICPA") certified public accounting firm acceptable to Special
Servicer to conduct reviews of NCO's general controls and practices associated with NCO's
facilities and Subservicers facilities engaged in providing Services, as well as the controls
associated with the services and the programs used to provide Services. The scope of the audit
shall include all such matters as NCO's auditor deems necessary or required to meet regulatory
compliance standards, including but not limited to an examination of the record keeping system
and other equipment and software used by NCO. Such reviews shall be performed at such
frequency and times as NCO shall determine, but shall be performed at least once annually.
Within thirty (30) days of its receipt by NCO, NCO shall provide Special Servicer with a copy of
each report and the related working papers submitted by NCO's independent accountants
regarding any of the matters set forth in this paragraph. All such reviews shall comply with




{F0023945.1 }
                                                   15
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 58 of 191




AICPA SAS-70 standards or equivalent thereof, and the reports obtained shall be of the type
generally referred to (depending on the publication) as either type "2" or "B", and shall include
an unqualified opinion on the operating effectiveness of NCO's controls. All such reviews shall
also comply with Security Standards Certification ISO 17799/BS7799 or equivalent thereof. If a
SAS 70 or equivalent audit reveals that the services provided by NCO do not cause NCO's
operations to meet the auditor's recommendation, then NCO shall promptly provide such further
services as are necessary to bring its operations into conformance with the auditor's
recommendations to such level and degree, at no cost to Special Servicer.

                6.3   Regulatory Agency Requirements.

                      (a)    NCO understands and acknowledges that Special Servicer may be subject
to examination by any federal, state or local governmental or quasi-governmental officials with
regulatory authority over Special Servicer and its affiliates. NCO agrees to cooperate fully with
any examination or inquiry by any such officials or other regulatory body or agency. NCO
further acknowledges that Special Servicer, as a regulated financial institution, is required to
engage in ongoing oversight of its relationship with NCO, including, but not limited to,
reviewing NCO's compliance with privacy laws and regulations, insurance coverage, and
performance under this Agreement. NCO agrees to notify Special Servicer promptly in writing in
the event it experiences any material adverse change, including but not limited to, material
financial difficulty, other catastrophic event, material change in strategic goals, or significant
staffing changes relative to its obligations under this Agreement.

                      (b)    Within thirty (30) days of its receipt, to the extent NCO is permitted to do
so, NCO shall provide Special Servi cer with a copy of the results of any audit performed by a
federal, state or local regulator, but only to the extent such audit relates to compliance by NCO
with applicable law and to the Services performed by NCO for Special Servicer hereunder. If
such audit reveals that the Services provided by NCO do not cause NCO's operations to meet the
auditor's recommendation, then NCO shall provide such further Services as are necessary to
bring its operations into conformance with the auditor's recommendations to such level and
degree, at no cost to Special Servicer.

                                  ARTICLE VII - CONFIDENTIALITY

                7.1   Confidentiality. NCO acknowledges and agrees that all information provided to
NCO by Special Servicer is considered confidential or proprietary and is provided to NCO solely
to enable NCO to perform the Services and related functions set forth in Article II of this
Agreement. For purposes of this Agreement, "Confidential Information" of Special Servicer
means all confidential or proprietary information and documentation and data (whether technical,
commercial or other in nature) of such party, whether or not marked as such and/or whether now
in existence or hereafter created including, without limitation all Borrower Data and any other
Trust data. For purposes of this Agreement, "Borrower Data" means any and all data and
information of any kind or nature provided to NCO by or on behalf of Special Servicer or arising
out of or in connection with this Agreement with respect or relating in any way to borrowers
individually or in the aggregate. NCO shall hold the Confidential Information of Special
Servicer in confidence and shall not disclose nor use such Confidential Information other than
for the purposes contemplated by this Agreement without prior written consent of Special
Servicer. Notwithstanding any provision in this Agreement to the contrary, NCO shall limit the
use and circulation of such information, even within its own organization, solely to the extent




(F0023945.1 )
                                                       16
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 59 of 191




necessary to perform its obligations under this Agreement. Confidential Information shall not
include information that: (i) has been disclosed in the public domain prior to the date hereof; (ii)
becomes, through no fault nor action of either party, hereafter disclosed in the public domain;
(iii) is now or comes into the possession of NCO without any obligation of confidentiality.
Special Servicer acknowledges that NCO and/or its affiliates may have legitimately obtained
Borrower Data through prior relationships and that such data is held under restrictions arising out
of such relationships and not under this Agreement. In addition, the substance of the
negotiations of this Agreement and the terms of this Agreement are Confidential Information
subject to the restrictions contained in this Agreement. NCO shall not be considered to have
breached its obligation by disclosing Confidential Information of the Special Servicer in
response to the order of any competent court or governmental agency; provided, however, that
upon receipt of such order, NCO shall promptly provide to the Special Servicer notice of such
request to enable the Special Servicer to seek an appropriate protection order or take other action
to assure the confidential handling of the Confidential Information. All such Confidential
Information shall remain the exclusive property of Special Servicer.

            7.2       Restricted Use. NCO agrees not to utilize any Confidential Information, unless it
is necessary to do so in order to fulfill an obligation under this Agreement. NCO also agrees that
it will not sell, disclose, transfer, or rent any Confidential Information to any third party nor will
it use any Confidential Information on behalf of any third party, without the express written
permission of Special Servicer. NCO shall provide all notices and perform all other activities
required of it to comply with the Gramm-Leach-Bliley Act and regulations promulgated
thereunder and any other applicable federal, state and local privacy laws in connection with the
Confidential Information received in connection with this Agreement.

        7.3    Injunctive Relief. NCO acknowledges that money damages may be both
incalculable and an insufficient remedy for any breach of this provision by NCO and that any such
breach may cause Special Servicer, the Trusts and others irreparable harm. Accordingly, NCO
agrees that in the event of any breach of this Article VII, Special Servicer or any Trust, in
addition to any other remedies at law or in equity that it may have, shall be entitled without
requirement of posting a bond or other security, to equitable relief, including injunctive relief and
specific performance without proof of actual damages.

                2.4   Information Protection and Security.

              (a)     NCO may receive or otherwise have access to Borrower Data in
connection with providing Services to Special Servicer pursuant to the terms of the Agreement.
NCO shall implement and maintain an appropriate security program for Borrower Data designed
to meet the following Objectives (defined below) of the Interagency Guidelines Establishing
Standards for Safeguarding Customer Information pursuant to the authority of Section 501 (b) of
the Gramm-Leach-Bliley Act of 1999. "Objectives" means a program designed to (i) ensure the
security and confidentiality of Borrower Data; (ii) protect against any anticipated threats or
hazards to the security or integrity to Borrower Data, and (iii) protect against unauthorized
access to or use of Borrower Data that could result in substantial harm or inconvenience to any
Special Servicer or any borrower. NCO shall provide Special Servicer on or prior to the Effective
Date and thereafter, upon request, with a copy of its Information Security and Assurance Policy
and any updates or amendments thereto. NCO agrees that upon reasonable notice and at NCO's
convenience, Special Servicer or any agent or representative thereof may come to NCO's place
of business and review the specifics of NCO's security plan with NCO. It is understood and




(F0023945.1 !
                                                      17
         Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 60 of 191




agreed that NCO shall not be required to have a security program in place that implements every
security measure listed in each paragraph of Section III C of Appendix A to 12 CFR § 30
provided that NCO's security program is appropriate to address the level of risk and otherwise
meets the Objectives. Special Servicer, its internal and external auditors and regulatory agencies
("Auditors") shall be permitted, during normal business hours, to audit NCO's security program
upon provision of reasonable prior notice and provision of an agenda for the audit requirements.
NCO shall be subject to said audits as long as NCO continues to maintain, store or have access
to Borrower Data.

                (b)    NCO presently maintains and agrees it will continue to maintain
appropriate physical, electronic, procedural and technical safeguards to protect all Borrower Data
from unauthorized disclosure, misuse, alteration, destruction or other compromise that are
consistent with appropriate industry practices and no less stringent than those used to protect the
Confidential Infonnation of NCO.

                (c)    As part of its information security program, NCO shall take appropriate
measures to properly dispose of Borrower Data. These measures will include, at a minimum;

                       i.      Burning, pul verizing or shredding of papers containing
                               Borrower Data so that the Borrower Data cannot practicably
                               be read or reconstructed;

                       ii.     Ensuring the destruction or erasure of electronic media
                               containing Borrower Data so that the Borrower Data cannot
                               practicably be read or reconstructed; and/or

                       iii.    Ensuring that any third party who performs the activities
                               described in (i) and (ii) on behalf of NCO above does so in
                               a manner consistent with this Section.

                (d)    NCO shall ensure that it does not retain Confidential Information of
Special Servicer for longer than it needs such infonnation to perform its obligations hereunder.
NCO's disposal policy shall require that such information is reviewed and destroyed on a routine
basis consistent with NCO's disposal policy. NCO shall, upon the reasonable request of Special
Servicer, provide to Special Servicer the certificate of destruction as prescribed by Special
Servicer. It is understood that information sent in an intangible or electronic format cannot be
removed, erased or otherwise deleted from archival systems (also known as "computer or system
back-ups") but that such information will continue to be protected under the confidentiality
requirements contained in this Agreement for as long as such infonnation remains accessible
and/or vulnerable to unauthorized access use or disclosure. Notwithstanding anything to the
contrary contained herein, NCO may retain an archival copy of any document for its pennanent
records to the extent required by applicable law or regulation of NCO's document retention
policy. The rights and obligations of the parties under this Agreement will survive any return or
destruction of Confidential Information.

                (e)    NCO shall have in place and follow a routine destruction policy for all
Confidential Information of Special Servicer (whether in electronic, paper or other fonn) related
to NCO's performance under this Agreement. No such materials will be retained longer than
such period as is set forth in NCO's policy period for retention unless mandated under this
Agreement or by applicable law.




{F0023945J }
                                                 18
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 61 of 191




                7.5   Security Breach. In the event NCO knows or reasonably believes that there has
been any unauthorized acquisition of or access to data that compromises the security,
confidentiality, or integrity of Borrower Data maintained by or for NCO (a "Breach"), NCO
shall take the following actions:

                      (a)    Notify Special Servicer of such breach as soon as practicable;

                      (b)    Identify to Special Servicer, at no cost to Special Servicer, what specific
                             Borrower Data, by borrower and/or account number has or may have been
                             breached;

                      (c)    Monitor, or cause to be monitored at NCO's sole expense, any affected
                             accounts for any unusual acti vity for a period of 12 months from the
                             discovery of the breach;

                      <d)    Take such commercially reasonable measures, at the sole cost of NCO, as
                             may be requested by the Special Servicer to contain and control the
                             incident to prevent further unauthorized access;

                      (e)    Remedy the circumstances that permitted such breach to occur; and

                      (f)    Cooperate with Special Servicer as necessary to facilitate Special
                             Servicer's compliance with any applicable Federal or state law regarding
                             unauthorized access of Borrower Data.

                      In addition to and not by way of limitation of any and all damages for which NCO
is or may become obligated under this Agreement to pay to owner (i.e., the applicable Trust),
NCO shall fully reimburse Special Servicer for the actual costs of mailing notices to individuals
whose data has or may have been breached, to the extent such breach is the result of NCO's
breach of this Agreement, NCO's failure to conform to applicable law, or NCO's negligence.

                      The obligations contained in this Section 7.5 shall survive the termination of this
Agreement.

                        ARTICLE VIII - INDEMNIFICATION AND EXCLUSION

                8.1   Indemnity.

                      (a)    NCO shall defend, indemnify and hold harmless Special Servicer and the
applicable Trust, or any affiliate or subsidiary of Special Servicer or any Trust (each an "Special
Servicer Indemnified Party") from and against any and all damages arising out of or resulting
from third party claims relating to (i) the breach of any representation or warranty, covenant or
agreement of NCO contained in this Agreement; (ii) any inaccurate information or inaccurate
materials provided by NCO to Special Servicer in connection with providing the Services. In
addition, NCO shall reimburse Special Servicer for all costs incurred by Special Servicer
resulting from third party investi gation of the acts and practices of NCO, including expenses
related to compliance with any third party subpoena or with any other discovery proceeding, if
such investigation is due to the negligent act of N CO or breach of this Agreement by NCO.

                      (b)    NCO shall defend, indemnify and hold harmless each Special Servicer
Indemnified Party from and against all damages arising out of or resulting from any action by a
third party against such Special Servicer Indemnified Party that is based on any claim that any




{F0023945.1 }
                                                        19
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 62 of 191




intellectual property used in the performance of this Agreement infringes a patent, copyright, or
trademark or violates a trade secret or other proprietary right of any person or entity.

                      (c)    Special Servicer shall defend, indemnify and hold harmless NCO or any
affiliate or subsidiary of NCO (each a "NCO Indemnified Party") from and against all damages
ari sing out of or resulting from any action by a third party against such NCO Indemnified Party
that is based on any claim resulting from (i) the breach of any representation or warranty,
covenant or agreement of Special Servicer contained in this Agreement; (ii) any information or
materials provided by Special Servicer to NCO for use in providing the Services; or (iii) the
nature or use of Special Servicer's products or services. In addition, Special Servicer shall
reimburse NCO for all costs incurred by NCO resulting from third party investigation of the acts
and practices of Special Servicer, its subsidiaries and affiliates, including expenses related to
compliance with any third party subpoena or with any other discovery proceeding.

                      (d)    An indemnified party which intends to claim indemnification under
Section 8.1 shall promptly notify the indemnitor in writing of any action, claim or liability with
respect to which the indemnified party intends to claim such indemnification. The indemnified
party shall permit the indemnitor, at its discretion, to settle any such action, claim or liability and
agrees to the control of such defense or settlement by the indemnitor; provided, however, such
settlement does not adversely affect the indemnified party's rights hereunder or impose any
obligations on the indemnified party in addition to those set forth herein in order for it to exercise
such rights. No such action, claim or liability shall be settled without the prior written consent of
the indemnitor and the indemnitor shall not be responsible for any attorneys' fees or other costs
incurred other than as provided herein. The indemnified party shall cooperate fully with the
indemnitor and its legal representatives in the investigation and defense of any action, claim or
liability covered by this indemnification. The indemnified party shall have the right, but not the
obligation, to be represented by counsel of its selection and expense

                      (e)    This provision shall not be construed to limit the rights, obligations,
liabilities, claims or defenses of either party or any indemnified party which ari se as a matter of
law or pursuant to any other provision of this Agreement.

                8.2   Exclusions from Liability.

                      (a)    Except as provided in this Article VIII, in no event shall NCO or Special
Servicer be liable for consequential, incidental, punitive, special, or indirect damages.

                      (b)    Except as otherwise provided herein, neither party's liability hereunder
shall exceed an amount equal to the service fees payable by Special Servicer to NCO in the
month immediately preceding the claim to which such liability relates, multiplied by twelve (12).

                      (c)    The limitation of liability provisions of subsections 8.2(a) and 8.2(b) do
not apply to liability that is the result of either party's breach of (i) the confidentiality, privacy, or
security obligations or provisions contained in this Agreement or (ii) such party's
indemnification obligations.

                      (d)    The limitation of liability provisions of subsections 8.2(a) and 8.2(b) also
do not apply to any third party claim against an indemnified party arising out of the indemnifying
party's failure to comply with the terms and conditions of this Agreement, if such claim results
in such indemnified party being liable for consequential, incidental, special or indirect damages




{F002394S.1 )
                                                       20
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 63 of 191




to such third party. Such damages will be considered to be direct damages incurred by the
indemnified party.

            The obligations set forth in this Article VIII shall survive termination or expiration of this
Agreement.

                              ARTICLE IX - TERM AND TERMINATION

            9.1       Term of Agreement.

               (a)     The initial term of this Agreement shall commence as of the Effective
Date and shall continue in effect for a period of three (3) years, unless sooner terminated
pursuant to Section 9.2 (the "Initial Term"!.

                      (b)    Upon conclusion of the Initial Term or any succeeding term, this
Agreement shall automatically renew for an additional, successive one (1) year term, unless
either party shall give a written notice of non-renewal to the other party not less than ninety (90)
days prior to the conclusion of such term.

            9.2       Termination for Cause. Either party may terminate this Agreement upon the
occurrence of any of the following events, by delivery of a written notice of termination to the
other party:

                      (a)    NCO shall file, or after the Effective Date, Special Servicer shall file, a
petition to take advantage of any applicable insolvency or reorganization statute; or shall file a
petition or answer seeking or shall consent to the appointment of a conservator or receiver or
liquidator in any insolvency, readjustment of debt, marshaling of assets and liabilities or similar
proceedings of or relating to such party or relating to all or substantially all of its property; or a
decree or order of a court or agency or supervisory authority having jurisdiction in the premises
for the appointment of a conservator or receiver or liquidator in any insolvency, readjustment of
debt, marshaling of assets and liabilities or similar proceedings, or the winding-up or liquidation
of its affairs, shall have been entered against such party, which decree or order entered against
such party shall have remained in force undischarged or unstayed for a period of sixty (60) days;
or such party shall be insolvent, admit in writing its inability to pay its debts generally as they
become due, make an assignment for the benefit of its creditors or voluntarily suspend payment
of its obligations; or

                      (b)    Any other party shall fail to perform any of its obligations or shall breach
any of its representations, warranties or covenants in this Agreement, including without
limitation representations and warranties set forth in Article IV (Representations and
Warranties), covenants set forth in Article V (General Covenants), or Article VII
(Confidentiality), in any material respect and such failure or breach continues unremedied after
the expiration of thirty (30) days (or such shorter period that is reasonable depending on the
materiality of the failure or breach or the potential significance of its impact on the other party)
following written notice to such party specifying the nature of such failure or breach and stating
the intention of the terminating party to terminate this Agreement absent a cure of such failure or
breach within such thirty (30) day (or shorter) period.

                9.3   Termination of Specific Accounts.




(F0023945.1 }
                                                       21
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 64 of 191




                        (a)    Special Servicer may terminate this Agreement with regards to individual
accounts at any time, and NCO shall close and return such accounts to Special Servicer
immediately.

                        (b)    If a borrower should enter into bankruptcy voluntarily or involuntarily at
any time after his or her account is referred to NCO, NCO will immediately notify Special
Servicer and this Agreement will be deemed terminated as to such account unless Special
Servicer otherwise directs in writing

                        (c)    With respect to default Collection Services, this Agreement shall terminate
automatically as to any account at six (6) months from the date the account was referred to NCO,
or from date of last payment, whichever is later, or nine (9) months on Third Placements, unless
at such time the account has been referred to an attorney for litigation and litigation is pending.
NCO will upon termination as to an account forthwith send to Special Servicer, at Special
Servicer's request and at NCO's expense all documentation on the account, including a full
record of all collection activities.

                9-4     Rights and Obligations Upon Notice of Termination.

                        (a)    Requirements Upon Termination. Upon the termination or expiration of
this Agreement, NCO shall cease all Services and subject to the data security provisions in
section 7.4 herein, return to Special Servicer or destroy all Confidential Information within thirty
(30) days from the date of termination or as otherwise mutually agreed upon by the parties in
writing. Notwithstanding the foregoing, NCO shall be permitted to retain certain files pursuant
to Section 6. 1 . If applicable, NCO shall also provide to Special Servicer a final reconciliation of
all amounts collected by Subservicers, collect all original files from Subservicers, and transmit
all such files to Special Servicer. NCO shall report to Special Servicer its record of all account
balances of all ASLs that were the subject of Default Collection Services at the time of
termination.

                        (b)    Survival. The provisions of Sections 5.2, 9.4, Article VII, and Article VIII
shall survive the termination or expiration of this entire Agreement.

                        (c)    Final Invoice. NCO shall send to Special Servicer a final invoice for
Services performed within thirty (30) days of termination of this Agreement.

                ARTICLE X - DISASTER RECOVERY AND BUSINESS CONTINTUITY

                10. 1   NCO shall maintain and shall test at least once annually plans to continue
business in the event of an interruption to its business or unavailability of any site from which
Services are being performed (the "Disaster Recovery/Business Continuity Plans"). NCO agrees
to maintain viable Disaster Recovery/Business Continuity Plans for the Services which includes,
among other things, provision for the remote storage of computer software and data, the
availability of a location for off-site computer services and procedures covering all of NCO's
facilities used in connection with the Services in order to insure continuance of Services in the
event of a disaster affecting any such NCO facility and storage of a complete system image tape
of both object code and source code for software at an off-site storage location designated by
NCO and disclosed to Special Servicer. In the event of a natural or other disaster beyond NCO's
control that interrupts NCO's performance of any such Services for any period, NCO shall
promptly respond to such disaster in accordance with the procedures contained in the Disaster
Recovery/Business Continuity Plans in order to resume performance of such Services.




{F002394S.J }
                                                        22
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 65 of 191




                10.2    NCO shall annually test its Disaster Recovery/Business Continuity Plans and shall
update in a timely manner such Disaster Recovery/Business Continuity Plans. NCO shall
provide Special Servicer with a summary report of the results of such testing annually. If Special
Servicer requests, it shall be permitted to participate in NCO's testing of its Disaster
Recovery/Business Continuity Plans to the extent such test relates to Services provided to
Special Servicer.

                1 0.3   Prior to execution of this Agreement, NCO shall provide a copy of its Disaster
Recovery/Business Continuity Plans to Special Servicer (including in electronic form). Any
material changes to NCO's Disaster Recovery/Business Continuity Plans will be subject to
Special Servicer's prior written consent which shall not be unreasonably withheld and will
conform to reasonable commercial and industry standards for such plans. Special Servicer, or its
designated representative, shall be entitled to review such Disaster Recovery/Business
Continuity Plans annually during the term of this Agreement at NCO's corporate headquarters.

                10.4    Notwithstanding any provision in this Agreement to the contrary, NCO's Disaster
Recovery/Business Continuity Plans required under this Agreement must meet Special Servicer's
Recovery Time Objective ("RTO") and Recovery Point Objective ("RPO") for the business
function being serviced, as defined below, unless events or circumstances beyond NCO's control
prevent NCO from implementing its Disaster Recovery/Business Continuity Plans:

                        Services will be available within a forty-eight (48) hour period following any
                        outage/incident (RTO = 48 hours), with at least 99.99% preservation of data
                        (RPO = 99.99) through the close of business on the day preceding the
                        outage/incident.

      10.5   NCO shall, as soon as practicable, notify Special Servicer of any interruption to
NCO's business or unavailability of any site from which Services are being performed. As soon
as possible (and in no event more than twenty-four (24) hours) following any such interruption
or unavailability, NCO shall provide detailed information to Special Servicer concerning NCO's
implementation of its Disaster Recovery/Business Continuity Plans, the effecti veness of such
implementation, and the impact of the interruption or unavailability on the RTO, the RPO and
the performance standards set forth in Exhibits B, D and H.

                                       ARTICLE XI - MISCELLANEOUS

                11.1    Notice Procedure: Addresses. All notices, demands and other communications
hereunder shall be in writing and shall be deemed to have been duly given and received at the
time delivered by hand, if personally delivered; when receipt is acknowledged, if mailed by
certified mail, postage prepaid, return receipt requested; the next business day after timely
delivery to the courier, if sent by overnight air courier guaranteeing next-day delivery; and when
received, if sent by any other means, as follows:



                        If to initial Special Servicer:




(F0023945.1 }
                                                          23
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 66 of 191




                         First Marblehead Education Resources, Inc.

                         Attn: General Counsel, Corporate Law Department

                         800 Boylston St., 34th Floor
                         Boston, Massachusetts 02199

                         IftoNCO:

                         NCO Financial Systems, Inc.

                         Attn: Joshua Gindin, Esq.

                         Executive Vice President and General Counsel

                         507 Prudential Road

                         Florsham, Pennsylvania 19044



                The persons or addresses to which mailings or deliveries shall be made may be changed
from time to time by notice given pursuant to the provisions of this Section 11.1.

                11.2     Mediation: Arbitration. Except in the case of a third party action, the parties
agree that any controversy or claim arising out of or related to this Agreement, including an
alleged breach hereof, shall first be settled through negotiation, if possible. If negoti ation is not
successful, the parties agree to then try in good faith to settle such dispute by non-binding
mediation under the then current Commercial Mediation Rules of the American Arbitration
Association. In the event that such mediation does not resolve the dispute to the mutual
satisfaction of the parties, then the parties agree to settle such dispute by binding arbitration to be
held in Cincinnati, Ohio, in accordance with the then current Commercial Arbitration Rules of
the American Arbitration Association, and judgment upon the award rendered by the arbitrator(s)
may be entered in any court having jurisdiction thereof.

                11.3     Press Releases. No party shall issue any press release or other announcement
regarding the subject matter of this Agreement without the consent of the other party, which
consents shall not be unreasonably withheld, unless a party refuses to consent and the party
desiring to issue the release or other announcement is advised by its legal counsel that the press
release or other announcement is required in order to comply with Requirements of Law.
Notwithstanding the foregoing, the parties contemplate that a press release regarding the
execution of this Agreement may be executed, and the parties shall cooperate with respect to the
drafting of mutually acceptable language.

                1 1 .4   Relationship of the Parties. The parties agree that in carrying out their
responsibilities pursuant to this Agreement they are in the position of independent contractors.
This Agreement is not intended to create, nor does it create and shall not be construed to create, a
relationship of partners or joint venturers, fiduciaries or any association for profit between and
among the parties or any of their respecti ve affiliates.

                NCO acknowledges that it may not be the exclusive collector for Special Servicer and
that Special Servicer, in the exercise of its sole discretion, may submit the accounts to more than
one collector (but not the same account to different collectors) in a specific geographic location.
Special Servicer, in the exercise of its sole discretion, likewise may by oral or written notice,




(F0023945.J }
                                                          24
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 67 of 191




require NCO to cease its collection efforts and return to Special Servicer any or all of the
accounts.

                11.5     Expenses. Except as is otherwise specifically provided in this Agreement, each
party shall pay its own costs and expenses in connection with this Agreement and the
transactions contemplated hereby, including but not by way of limitation, all regulatory fees,
attorneys' fees, accounting fees and other expenses.

                1 1 .6   Successors and Assigns. All terms and provisions of this Agreement shall be
binding upon and shall inure to the benefit of Special Servicer and NCO, and each of their
respective permitted transferees, successors and assigns. Except as set forth in this Agreement,
no party may assign any of its rights or obligations under this Agreement (whether by operation
of law or otherwise) without the prior written consent of the other party; provided, however, that
no prior written consent of the other party is required in the event that (a) Special Servicer
experiences a merger or consolidation with or into or a reorganization between and among the
wholly-owned subsidiaries of its ultimate parent company, or (b) Special Servicer seeks to assign
this contract to any operating subsidiary. Nothing in this Agreement is intended to create or
grant any right, privilege or other benefit to or for any person or entity, other than the parties
hereto and their permitted transferees, successors or assigns.

                         Notwithstanding the foregoing, the parties hereto acknowledge that U.S. Bank as
the Back-Up Special Servicer under the Special Servicing Agreement is an express third-party
beneficiary of this Agreement and that upon the Effective Date, the Back-Up Special Servicer as
successor Special Servicer under the Special Servicing Agreement shall become the "Special
Servicer" under this Agreement. It is further acknowledged and agreed that fees, expenses and
other amounts payable to NCO under this Agreement, including without limitation, indemnity
payments, shall be payable by the Trusts as provided in the Special Servicing Agreement. U.S.
Bank as Special Servicer shall not be personally liable for payment of any such indemnity,
indebtedness, fees or expenses (except to the extent it is reimbursed for same by each Trust).

                11.7     Multiple Counterparts. This Agreement may be executed in multiple
counterparts, each of which shall be deemed an original for all purposes and all of which shall be
deemed, coll ectively, one agreement, but in making proof hereof it shall not be necessary to
exhibit more than one such counterpart.

                11.8     Drafting. Each party acknowledges that its legal counsel participated in the
drafting of this Agreement. The parties hereby agree that the rule of construction that
ambiguities are to be resolved against the drafting party shall not be employed in the
interpretation of this Agreement to favor one party over any other.

                11-9     Captions. The captions, headings and arrangements used in this Agreement are
for convenience only and do not in any way affect, limit or amplify the terms and provisions
hereof.

                11.10    Entire Agreement: Amendments. The making, execution and delivery of this
Agreement by the parties have been induced by no representations, warranties, statements or
agreements other than those herein expressed. This Agreement embodies the entire
understanding of the parties, and there are no further or other agreements or understandings,
written or oral, in effect among the parties relating to the subject matter hereof. This Agreement
may be amended or modified only by a written instrument signed by each of the parties and,




{F0023945.1 }
                                                         25
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 68 of 191




prior to the Effective Date, with the consent of the Back-Up Special Servicer. None of the
parties shall be deemed to have waived any of its rights, powers or remedies under this
Agreement unless such waiver is approved in writing by an authorized representative of the
waiving party.

        11.11 Waivers. The waiver of any term hereof shall be binding only when committed to
writing and signed by the parties hereof. Failure by either party of this Agreement to insist upon
the strict performance of any term or condition hereunder or to exercise any right, power or
remedy available on a breach thereof, shall not constitute a waiver of any breach of such term,
covenant or condition. No waiver, whether express or implied, shall be construed as a waiver of
the same or any other term, condition or right or any other occasion.

                11.12   Severability. Whenever possible, each provision of this Agreement will be
interpreted in such manner as to be effective and valid under applicable Requirements of Law,
but if any provision of this Agreement is held to be prohibited by or invalid under applicable
Requirements of Law, such provision will be ineffective only to the extent of such prohibition or
invalidity, without invalidating the remainder of such provision or the remaining provisions of
this Agreement.

                11.13   GOVERNING LAW. THIS AGREEMENT SHALL BE GOVERNED BY, AND
CONSTRUED IN ACCORDANCE WITH, THE INTERNAL LAWS OF THE STATE OF
OHIO, WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF LAW
PROVISION OR RULE THAT WOULD CAUSE THE APPLICATION OF LAWS OF ANY
JURISDICTION OTHER THAN TO THOSE OF THE STATE OF OHIO. EACH PARTY
WAIVES ITS RIGHT TO A JURY TRIAL WITH RESPECT TO ANY ACTION OR CLAIM
ARISING OUT OF ANY DISPUTE IN CONNECTION WITH THIS AGREEMENT, ANY
RIGHTS OR OBLIGATIONS HEREUNDER OR THE PERFORMANCE OF ANY SUCH
RIGHTS OR OBLIGATIONS.

                11.14   Force Majeure. In the event that either party shall be prevented from performing
any of its obligations due under the terms of this Agreement by an act of God, acts of war, civil
riot, an act of State, strikes, or occurrence of any other event beyond the control of the parties
hereto, that party shall be excused from any further performance of the obligations and
undertakings set forth under the terms of this agreement with the exception of those obligations
described in Articles III, VII, VIII, X, and Sections 5.2, 1 1.2, and 9.4(b), and provided, further,
that NCO could not reasonably circumvent the failure orderly through the use of commercially
reasonable alternate services, unrevoked plans or other means. Notwithstanding any provision is
this Agreement to the contrary, a force majeure event shall obligate and require NCO to
commence its Disaster Recovery/Business Continuity Plan as set forth in Article X.

        11.15 Cooperation/Consents. The parties agree to cooperate with each other for the
purposes contemplated by this Agreement. NCO shall execute and deliver to Special Servicer at
any time such further documents, instruments and/or consents which Special Servicer may
require in such form as Special Servicer may reasonably request to effectuate the performance of
the Services contemplated by this Agreement.



                                       [Remainder of page intentionally left blank.]




(F0023945.I }
                                                        26
        Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 69 of 191



IN WITNESS WHEREOF, the parties have executed and delivered this Agreement, as of the
day and year first above written, to be effective as of the Effective Date.



                           FIRST MARBLEHEAD EDUCATION RESOURCES, INC.


                                  fl
                           By:

                           Its:



                           NCO FINANCIAL SYSTEMS. INC.



                           By:

                           Its:




  (F0023945.1 }
                                            27
Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 70 of 191



      IN WITNESS WHEREOF, the parties have executed and delivered this Agreement, as of the
     day and year first above written, to be effective as of the Effective Date.



                                    FIRST MARBLEHEAD EDUCATION RESOURCES, INC.



                                    By:

                                    Its:



                                    NCO FINANCIAL SYSTEMS, INC.



                                    By:

                                    Its: ExedSutivirvice President
                                    Date: 3-10-09




      (F0023945 1 J
                                                       27
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 71 of 191



                                         Table of Exhibits



Exhibit A - Servicer File Data -- Default Prevention

Exhibit B - Default Prevention Services

Exhibit C - Default Prevention Reports

Exhibit D - Default Collection Services

Exhibit E - Default Collection Reports

Exhibit F - Settlement Authority

Exhibit G - Early Awareness Services

Exhibit H - Fees to NCO




  {F0023945.1 }
                                                   28
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 72 of 191


                 Exhibit A to Default Prevention and Collection Services Agreement

                                          Servicer Data File


                               Servicer Data to be Delivered to NCO


Data Frequency


The following data shall be delivered monthly, as of the end of each calendar month.

Data Format


The file layouts provide for "fixed-width" fields using the ASCII character set. Delimited data is
also acceptable, though we would need to agree to the delimiter.

If comma-delimited fields are being submitted, then all text fields must be enclosed in double quotes.

Data Transmission


Both files will need to be encrypted (PGP preferred) and delivered via FTP.


The filenames must include unique identifiers for servicer name, snapshot or transaction file category, and
contain a date-time-stamp.


Example filename for raw data file: XXXXSDOO.CSV_mmddyy_hhmmss


(XXXX = Client Abbreviation, SD = Snapshot Detail (Monthly Loan Snapshot), 00 = Tiebreaker,

.csv (filetype), _datestamp)


Example filename for PGP-encrypted data file: XXXXTD00.CSV>PGP                  mmddyv hhmmss

(XXXX = Client Abbreviation, TD = Transaction Detail (Monthly Loan Transaction), 00 = Tiebreaker,

.csv (filetype), pgp (encryption extension), _datestamp)



 Snapshot Detail File Data


        Field Name                               Field Description
 CLUID                   Commonline Unique Identified or other unique loan identifer)
 CUROWN                  Current Owner code
 DEFDTBEG                Date deferment begins
 DEFDTEND                Date deferment ends
 DEFTYPCD                Deferment type code
 DISB1AMT                Amount of first disbursement
 DISB1DT                 Date of the first disbursement for the loan
 ENROLLDTBEG              Begin of enrollment period date




 (F0023945.1 }
                                                     29
   Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 73 of 191



   Field Name                            Field Description

ENROLLDTEND     Last day of enrollment
EXPPAYOFFDT     Expected payoff date
FIRSTPAYDUEDT   When the borrower's first payment is due
FORBDTBEG       Date current forbearance began
FORBDTEND       Date current forbearance ends
FORBTYPCD       Forbearance type code
FULLDISB        Fully disbursed ioan indicator
GRCDTBEG        Grace period begin date
GRCDTEND         Grace period end date
INIREPTERM       Initial loan repayment term
INSTL1AMT        installment amount of loan repayment schedule 1
INSTL2AMT        installment amount of ioan repayment schedule 2
INSTL3AMT        installment amount of loan repayment schedule 3
INSTL4AMT        Installment amount of loan repayment schedule 4
INT1DTAPP        Application date for interest type code 1
INT1DTBEG        Effective begin date for interest type 1
INT1DTEND        Effective end date for interest type code 1
INT1RATE         Interest rate for interest type code 1
INT1TYPCD        Interest type code 1
INT2DTAPP        Application date for interest type code 2
INT2DTBEG        Effective begin date for interest type 2
INT2DTEND        Effective end date for interest type code 2
INT2RATE         Interest rate for interest type code 2
INT2TYPCD        Interest type code 2
INT3DTAPP        Application date for interest type code 3
INT3DTBEG        Effective begin date for interest type 3
INT3DTEND         Effective end date for interest type code 3
 INT3RATE         Interest rate for interest type code 3
 INT3TYPCD        interest type code 3
 INT4DTAPP        Application date for interest type code 4
 INT4DTBEG        Effective begin date for interest type 4
 INT4DTEND        Effective end date for interest type code 4
 INT4RATE         Interest rate for interest type code 4
 INT4TYPCD        Interest type code 4
 INTCAPFREQ       Interest capitalization frequency (in number of months)
 LASTDISBAMT      Amount of last disbursement
 LASTDISBDT       Last Disbursement date
 LOANSEQID        Loan sequence number
 ORIGPRINAMT      Original amount of principal
 PGM              Type of Loan
 TIERSCEN         Program tier
 PGMYR            Program Year
 PNTSIGDT         Date Prom Note Signed
 PNTYR             Prom Note Year
 REPDTBEG          Repayment begin date
 REPDTEND          Repayment end date

 REPTERM1          Loan repayment term 1




                                                 30
         Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 74 of 191



       Field Name                               Field Description
REPTERM2             Loan repayment term 2
REPTERM3             Loan repayment term 3
REPTERM4             Loan repayment term 4
REPTYPCD             Type of repayment schedule disclosed
TERMDTBEG            Loan term begin date
TERMDTEND             Loan term end date
TIERPRICE            Tier price
TOTDISBAMT           Total amount disbursed for loan
TOTOTHRFEEAMT        Total amount of other fees for loan
DEFEROPTION           Current Loan Deferment option (IO/DF/DP/IM)
COMMONSEQ             Sequence for a Commonline application
GUARAMT               Amount guaranteed
INT1SPECCD            Special interest indicator for interest type code 1
INT1SUBSCD            Subsidized interest eligibility code for interest type code t
INT2SPECCD            Special interest indicator for interest type code 2
INT2SUBSCD            Subsidized interest eligibility code for interest type code 2
INT3SPECCD            Special interest indicator for interest type code 3
INT3SUBSCD            Subsidized interest eligibility code for interest type code 3
INT4SPECCD            Special interest indicator for interest type code 4
INT4SUBSCD            Subsidized interest eligibility code for interest type code 4
LOANDTADD             Effective loan add date
LOANDTSLD             Date the Loan was sold
LOANOWNACCNR          The loan owners account number corresponding to the loan
MLN                   Master Loan Note
MLNSEQID              Master Loan Note Sequence Number
MPNAPPTYPCD           Code for master prom note application type
MPNDTEXP              Date master prom note expires
MPNTYPCD              Code for type of master prom note
REGCATCD              Regulatory category code for Interest Rate
REPDISCDT             Date repayment disclosure sent
TOTINSAMT             Total amount of loan insurance premiums
TOTORGFEEAMT          Total amount of loan origination fees
BADDR1                Borrower's street address line 1
BADDR2                Borrower's street address line 2
BADDR3                Borrower's street address line 3
BBIRTH                Borrower's birth date
BCITY                 Borrower's city (post office) address
BCRDSRE               Borrower Credit rating score
BFIRST                Borrower's first name
BFOREIGNCT            Borrower's Foreign country address
BFOREIGNST            Borrower's Foreign state address
BLAST                 Borrower's last name
BMID                  Borrower's middle initial
BSSN                   Borrower Social Security Number
BSTATE                 Borrower's state code
BSUFFIX                Borrower's last name suffix
BZIP                   Borrower's zip code




 {F0Q23945.I }
                                                    31
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 75 of 191



     Field Name                                Field Description

CADDR1              Cosigner's street address line 1
CADDR2              Cosigner's street address line 2
CADDR3              Cosigner's street address line 3
CBIRTH              Cosigner's birth date
CCITY               Cosigner's city (post office) address
CCRDSRE             Cosigner Credit rating score
CFIRST              Cosigner's first name
CFOREIGNCT          Cosigner's Foreign country address
CFOREIGNST          Cosigner's Foreign state address
CLAST               Cosigner's last name
CMID                Cosigner's middle name
COBORRIND           Coborrower indicator
COMAKEIND           Comaker indicator
COSIGNIND           Cosigner indicator
CSSN                Cosigner Social Security Number
CSTATE              Cosigner's state code
CSUFFIX             Cosigner's last name suffix
CZIP                Cosigner's zip code
ENDORSIND            Endorser indicator
BACCID               Borrower Account ID
BADDIND              Borrower's address indicator
BADDRDTCHG           Date of last change to borrower's address information
CADDRDTCHG           Date of last change to cosigner's address information
CADDRIND             Cosigner's address indicator
SACCID               Student Account ID
ACADGRDLVL           Academic Grade Level
S FIRST              Student's first name
SLAST                Student's last name
SMID                 Student's middle name
SSSN                 Student's social security number
 SSUFFIX             Student's last name suffix
 GUARCD              Guarantor code
 GUARREFID           Guarantor reference identification number (ALE ID number)
 LENDERID            Lender Department of Education code
 OWNERBOND           Owner bond issue identifier
 OWNERCD             Owner code
 OWNSHONM             Institution short name
 GUARSCLCD            Guarantor reporting code for school
 CURSCLID             Identifier of the school currently enrolled in
 CURSCLNM             Name of the current school
 CURSCLPROPIND        Current school proprietary school indicator
 CURSCLST             Current school state mail code
 CURSCLTYPCD          Current school type code
 ORIGSCLID            Original school identifier
 ORIGSCLNM            Name of the originating school
 ORIGSCLPROPIND       Original school proprietary school indicator
 ORIGSCLST            Original school state mail code




  {F0023945.1 j
                                                    32
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 76 of 191



     Field Name                                 Field Description

ORIGSCLTYPCD          Original school type code
CAPDTAPLD             Date the last capitalization was applied
CURINSTAMT            Current installment amount
CURINTAMT             Current end of month borrower interest amount
CUROTHRAMT            Current end of month "other charges" amount
CURPRINAMT            Current end of month principal amount
CYCLESTATCD           Loan life cycle status code
CYCLESUBCD            Loan life cycle sub status code
DELQDTBEG             Date condition occurred - delinquency for installment
DELQDTEND             End of delinquency for installment date
DELQINTDTBEG          Date condition occurred - delinquency for interest
DELQINTDTEND          End of delinguency for interest date
INICLMDTPD            Date initial claim paid
INICLMDTREJ           Claim rejection/return actual posted date
INICLMDTRESUB         Date initial claim resubmitted
INICLMDTSUB           Date initial claim submitted
INICLMREASCD           Reason code for the claim/preclaim
LOANSUBSTATCD          Loan Sub-status used for reporting
NXTINSTDTDUE           Date the next installment bill is due
PRECLMDTSUB            Date preclaim submitted
TOTCAPINTAMT           Total amount of interest capped
ZEROBALCD              An attribute to report zero balance reason code
ZEROBALDTAPLD          A attribute for date zero balance applied
ZEROBALDTEFF           A attribute for date zero balance effective
ZEROBALSUBCD           An attribute to report zero balance sub-reason code
AVGDAYBALAMT           Average daily balance amount
 LASTPMTDT             Date of the last borrower payment
 PREVINTAMT            Amount of previous month borrower interest
 PREVPRINAMT           Amount of previous month principal
 SUPCLMDTPD            Date supplemental claim paid
 SUPCLMDTRESUB         Date supplemental claim submitted
 CREATEDATE            Creation date for this record




 Transaction Detail File

                            Did Field
 Field Name                  Name                              Field Description

 TRANID                    TRANID         Unique Transaction ID
 RPTMTHBEG                 RPTMTHBG       First day of reporting period
 RPTMTHEND                 RPTMTHED       Last day of reporting period

 FINATYRPCD                FINATYRP       Financial activity transaction report line code

 CLUID                     LOANID         Unique Loan Identifier

 BSSN                      BSSN           Borrower Social Security Number

 LOANSEQID                 SEG            Loan sequence number

 OWNERCD                   OWNER          Owner code

 OWNERBOND                 BONDISS         Owner bond issue identifier




  {F0023Q45.I }
                                                       33
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 77 of 191



                        Old Field
Field Name               Name                              Field Description

PGM                    PROGRAM        Current loan program being displayed
GUARREFID              GUARREF        Guarantor reference ID number

FATDTAPL               FATAPL         Date financial activity transaction applied
FATDTEFF               FATEFF         Date financial activity transaction effect
CSHADVCD               CSHADV         Financial Activity transaction cash/adv code
FATPRECLMFEEAMT        FTPCLFEE       Amount of preciaim fee financial activity transaction
                                      Amount non-subsidized borrower interest financial
FATNSIAMT              FTNSI          activity transaction
FATLTEFEEAMT           FTLTEFEE       Amount of late fee financial activity transaction
FATCURPRIAMT           FTCURPRI       Amount of current principal financial activity transaction
FATTYPCD               FATTYP         Financial activity transaction type code
FATSUBTYPCD            FATSUBTYP      Financial activity transaction subtype code
                                       Indicates this is the reapplied financial activity of a prior,
FATRAPIND              FATRAP          now inactive financial activity transaction




For purposes of early awareness services, the Servicer shall also send a monthly file of borrowers
who will enter repayment within the upcoming 60 days.




  {F0O2.VM5.1 }
                                                    34
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 78 of 191
                                                                 Execution Version




                        Exhibit B to Default Prevention and Collection Services Agreement

                                           Default Prevention Services




Work Description

NCO shall provide Dedicated Staff to make outbound calls related to accounts 30 days or greater
past due referred by Special Servicer and receive inbound calls resulting from NCO's efforts.
NCO will also draft and mail letters and conduct other activities reasonably calculated to perform
the Services.

Hours of Operation/Staffing

     1.        NCO agrees to maintain the following hours of operation for this engagement:

                                Monday - Thursday: 8:00 AM - 10:00 PM EST

                                Friday: 8:00 AM - 5:00 PM EST

                                Saturday / Sunday: Four hour shift between 9:00 AM - 9:00 PM EST

     2.        Holidays - NCO and Special Servicer mutually recognize the following holidays:

                   a.    New Years Day

                   b.    Easter Sunday

                   c.    Labor Day

                   d. 4th of July
                   e.    Memorial Day

                   f.    Thanksgiving Day

                   g.    Christmas Day

 Telephone Attempts/Account Intensity

       1.       NCO will Attempt to Contact the customer through a combination of automated and
                manual calls to resolve the delinquency on the assigned account, in compliance with state
                and federal law.

       2. NCO will Attempt to Contact each account by making day, evening and weekend
          Attempts at both home and business numbers provided for both the primary debtor and
                cosigner if applicable.

       3. NCO agrees to schedule associates assigned to Special Servicer's portfolio such that a
                minimum of 65% of all Attempts are made during prime time hours, which for this
                engagement will be defined as:

                            8:00AM -1 1 :00AM M-F local to the debtor

                            5:00PM - 9:00PM M-Th local to the debtor

                            Saturday and Sunday

          4.    NCO will Attempt to Contact both the borrower and cosigner (if applicable) on each
                account provided to NCO for collections a minimum of five (5) times on a monthly basis.




  (F0023945.1 }
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 79 of 191



    5.      550 accounts per seat target

Key Performance Indicators

     1.    NCO and Special Servicer mutually agree that the following KPT metrics will be used as
           a means of measuring Agent/Departmental productivity:

                   a.   Portfolio value

                   b.   Average # borrowers per FTE

                   c.   Total Peak Hours to Total Hours worked (%)

                   d.   Total Right Party Contacts to Total Borrowers (%)

                   e.   Total Promises to Pay to Total Right Party Contacts (%)

                   f.   Total Promises to Pay to Total Borrowers (%)

                   g.   Total Cured ($)

                   h.   Total Borrowers Cured (#)

Performance Scorecard and Reviews

There will be a periodic scorecard produced to review NCO's performance. In addition, there
will be at a minimum a quarterly review that will take place at either the place of business of
NCO, place of business of Special Servicer or via telephone conference as agreed by the parties.
The quarterly review will be focused on the performance of NCO in the previous quarter and
discuss how performance can be improved and important updates as it relates to Special
Servicer's business and portfolios.




  {F0023945. 1 J
                                                          2
        Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 80 of 191
                                                               Execution Version




                 Exhibit C to Default Prevention and Collection Services Agreement

                                    Default Prevention Reports




Monthly Flow Report showing trend analysis and roll rate showing accounts in deferment, grace,
and repayment by 30-day increments from current through 120 days past due.




 (F0023945.J }
              Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 81 of 191
                                                                                                Execution Version




                             Exhibit D to Default Prevention and Collection Services Agreement

                                                  Default. Collection Services



DEFINITIONS

Post-Default Accounts:

                 First Placement Accounts: Accounts that have not been subject to previous collection
                 efforts on Special Servicer's behalf by any other entity other than Special Servicer's staff.

                  Second Placement Accounts: Accounts that, prior to transfer to NCQ, have been worked
                 by one other collection agency.

                  Third Placement Accounts: Accounts that, prior to transfer to NCO, have been worked
                  by two other collection agencies.

Litigation Accounts: Accounts that have been authorized by Special Servicer for Litigation as
provided in Section 1 of the Agreement.

POST DEFAULT MINIMUM WORK STANDARDS

•       Within Twenty-Four (24) hours of placement, NCO shall scrub file against bankruptcy
notification data base, either on-line or batch process, before collection effort is pursued. The
account should be immediately closed and returned with no collection effort if a bankruptcy "hit"
is returned, UNLESS the bankruptcy discharge was issued prior to loan origination or the
bankruptcy was dismissed.

•                  Credit Bureau reports or credit headers shall be pulled on all accounts within two (2)
business days of placement.

 •      A validation notice as outlined in the Fair Debt Collection Practices Act (FDCPA) shall
be sent within twenty-four (24) hours of placement.

 •     Within five (5) business days the first phone Attempts shall be made by NCO to both the
 borrower and co-borrower.

 •      In the event Contact is made within the first five (5) business days of placement, a
 promise to pay or a commitment should be made to pay the balance in full, settle the balance in
    full within the guidelines provided by Special Servicer or payment sufficient for the account to
    be considered for eligibility in a repurchase program as determined by Special Servicer (the
    "Repurchase Program")

    •     Within the first thirty (30) days of placement, if NCO determines it has a valid phone
    number, four (4) Attempts per week shall be made during strategic hours of the work day. A
    message should not be left if another Contact will be completed on the same day.

     •              Within the first thirty (30) days of placement, if NCO determines it does not have a valid
    phone number, the account shall be statused as a skip account and skip tracing efforts are to
    commence no later than forty-eight (48) hours after determining the number is invalid.

                    Continued Attempts after the first thirty (30) days shall continue at the rate of one (1)
     time per week.

                        Skip Tracing Activities after thirty (30) days or until Contact or closure:




         {F002S945J J
             Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 82 of 191



                                                                                               times
Minimally, all available skip tracing tools shall be utilized and efforts Attempted three (3)
                                                                                              include
per month or until borrower is located or the account! s) is closed. Skip tracing tools may
but are not limited to:

*Nearby and same last name

* Credit Bureau

* Property Verification

"University and/or College directory/registration

* Internet on-line services

*Voter Registration data bases

*Directory Assistance
                                                                                             to
All possible telephone numbers found should be Attempted within 24 hours, if legal to do so,
determine validity.

 *       Borrowers who do not qualify or who cannot reasonably afford amortized payments
 under the Repurchase Program guidelines should be placed in a temporary reasonable and
 affordable partial payment arrangement. The payment arrangement should be reviewed every
 four (4) months to detennine if the borrower can afford a higher payment, can pay the loan
 balance or can settle the loan under the Special Servicer settlement guidelines.

 *      in addition to account closure in accordance with the terms of the attached Agreement,
 accounts shall also be closed if there is a thirty (30) day work gap. Work is defined as an
 Attempt to Contact, a skip Attempt or some form of activity in an attempt to resolve the account.

 LITIGATION MINIMUM WORK STANDARDS

 •            Within Twenty-Four (24) hours of placement or authorization to litigate, NCO shall scrub
     the file against bankruptcy notification data base, either on-line or batch process, before
     collection effort is pursued. The account should be immediately closed and returned with no
     collection effort if a bankruptcy "hit" is returned, UNLESS the bankruptcy discharge was issued
     prior to loan origination or the bankruptcy was dismissed.

     •        Credit Bureau reports or credit headers shall be pulled by NCO on all accounts within
     fi ve (5) business days of placement or authorization.

     •       A validation notice as outlined in the Fair Debt Collection Practices Act (FDCPA) shall
                                                                                                  g
     be sent by NCO within two (2) business days of placement or authorization. Upon outsourcin
     to local counsel, Attorney may also send an additional validation notice if appropriate.

     •              Within five (5) business days the first phone Attempts shall be made by NCO to both the
     borrower and co-borrower.

     "               In the event Contact is made, a promise to pay or a commitment should be made to pay
                                                                                                        or
     the balance in full, settle the balance in full within the guidelines provided by Special Servicer
     payment sufficient for the account to be considered for eligibility    in the Repurchas e Program.

      •              From the date of placement or authorization until the account is either outsourced to local
      counsel or has sati sfactory payment arrangements made as described above, if NCO determines
      it has a valid phone number, NCO shall make phone Attempts at the rate of four (4) times per




         {F0023945.1 }
                                                               2
                Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 83 of 191



                                                                                                time)
week at different times of the day, including at least two evening (e.g., after 5 p.m. debtor's
or weekend Attempts. Attempts will be made on both the borrower and co-borrower.

•      Within the first thirty (30) days of placement or authorization, if NCO determines it does
                                                                                                are
not have a valid phone number, the account shall be statused as a skip and skip tracing efforts
to commence no later than forty-eight (48) hours after determining the number   is invalid.

•                    Skip Tracing Activities after thirty (30) days or until Contact or closure:

Minimally, all available skip tracing tools shall be utilized and efforts Attempted three (3) times
per month or until borrower is located or the account(s) is closed. Skip tracing tools may include
but are not limited to:

*Nearby and same last name

    * Credit Bureau

    ^Property Verification

    *University and/or College directory/registration

    * Internet on-line servi ces

    * Voter Registration data bases

    ^Directory Assistance

    * Local professional licensing authority

    •      Borrowers who do not qualify or who cannot reasonably afford amortized payments
    under the Repurchase Program guidelines should be placed in a temporary reasonable and
                                                                                            every
    affordable partial payment arrangement. The payment arrangement should be reviewed
    four (4) months to determine if the borrower can afford a higher payment, can pay the loan
    balance or can settle the loan under the Special Servicer settlement guidelines.

    e                  Any Broken Commitment:

                       Litigation should be pursued immediately if there is a broken commitment.

     •                  Broken Payment Commitment:

                        Litigation should be pursued immediately if there is a broken commitment.

                        Returned (NSF) Item:

                        All efforts should be made to resolve the issue and reinstate payments. If unable to
                        resolve within reasonable period of time, litigation should be pursued.

        •               Once the account(s) is outsourced to local counsel, Attorney (and NCO if appropriate)
     will continue diligent collection efforts in concert with the legal proceedings.

        8      Attorney and NCO must track the progress of the suit and assure all service is made in
        accordance with applicable laws, all deadlines are met and seek default judgments whenever
         appropriate.

         •     Attorney must make NCO immediately aware, and NCO will make Special Servicer
                                                                                                    to
         immediately aware, of any and all counterclaims or defenses filed by borrowers in response
         the Complaint.




             {F0023945.1 )
                                                                  3
                   Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 84 of 191



                                                                                r aware of his/her
•       If available, Attorney (and NCO if appropriate) shall make the borrowe
                                                                    that the borrower cannot or
options under the Repurchase Program. Only after it is determined
                                                                  ration in the Repurchase
will not make the payments needed to become eligible for conside
                                                                     has been filed and the
Program, should payment arrangements be established after the suit
                                                                protect Special Servicer's
Attorney shall pursue a stipulated judgment when appropriate to
interests in the event the arrangement is not paid as agreed.
                                                                                         a trial or other hearing,
•                      If a witness is needed to provide t estimony or other evidence at
                                                                          t Form" provided by
whether live or telephonic, the Attorney shall submit a "Witness Reques
                                                                      s Request Form" to Special
Special Servicer to NCO and NCO shall in turn submit said "Witnes
                                                                        .
Servicer no later than fifteen (15) days prior to the scheduled hearing
                                                                               ent Form"
•       Attorney shall submit any judgment received, and complete the "Judgm
                                                                     NCO   will in turn provide
provided by Special Servicer within five (5) days of receipt to NCO.
                                                                       five (5) days of receipt.
both the judgment and the "Judgment Form" to Special Servicer within
                                                                      by  Attorney.
All fields on the "Judgment Form" must be completed in their entirety
                                                                                          appropriate
    •       Attorney (and NCO if appropriate) must pursue collection efforts through
                                                                               nt is entered. At least
    legal means available (e.g., wage garnishments, liens, etc.) once judgme
                                                              be  made  by  Attorne  y (or NCO if
    one (I) Attempt to secure post-judgment collection shall
                                                                              to, phone contact,
    appropriate) per month. These efforts may include, but are not limited
                                                              s, propert y searche s and employment
    attempts to locate attachable assets such as bank account
    searches.
                                                                                        it returned at any
    *        Special Servicer may, at its sole discretion, close any account and have
                                                                           nt which shall include
    time. For each account closed, NCO shall submit a closing stateme
                                                                                  , amount of funds
    borrower name, social security number, Special Servicer account number
                                                                            and any judgment
    expended, any funds remaining, closing balance, payments received
                                                                   ed  to Special  Servicer within thirty
    information entered. Any funds remaining shall be forward
                                                                                ents are separate and
     (30) business days of closure. The litigation closing statement requirem
     distinct from the systemic "closed report" filed each month by NCO.
                                                                                     up-front fee to NCO
        •       Special Servicer will not pay a non-contingent suit fee or any other
                                                                                   agreement to pay such
        or Attorney unless Special Servicer has provided its prior express written
        fees.
                                                                                     r at no greater than
        •       NCO agrees to provide regular case status reports to Special Service
        quarterly intervals as directed by Special Servicer.
                                                                                        pleadings
        •       NCO agrees to immediately provide copies of all correspondence and
                                                                                 defined as any civil
        generated in connection with a contested matter (contested matter being
                                                                          or motion) .
         action where the defendant has filed an answer or other pleading
                                                                                              unless prohibited
            •              Attorney agrees to file a Motion for Summary Judgment in all cases
                                                                                   otherwise mutually agree
            from doing so by local rules of court or Special Servicer and Attorney
            that Attorney should not file such a Motion.

            REMITTANCE PROCESS
                                                                                      le to all types of
            The following work standards related to remittance processes are applicab
            placements.




                {F0023945.1 }                                        4
              Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 85 of 191



•       Remittances shall be processed on a weekly basis, whether by electronic wire or by check
and have a remittance statement submitted. All remittance statements are to contain: borrower
name, Special Servicer account number(s), placement type (e.g., first, second, third or litigation),
                                                                                                (i.e.,
commission rate, payment amount, commission amount, payment date, application of funds
costs, principal, interest, etc.), and balance after payment applied.

•                   Any payment that does not result in good funds is to be posted immediately and included
in the most current weekly remittance report as with any other payment information.
                                                                                           of
•      NCO shall submit net remittances of all monies collected. NCO shall maintain copies
each invoice paid on each account.

•                    NCO shall maintain copies of all payment documents for a minimum of three years.

SETTLEMENT PROCESS
                                                                                           work
Subject to any contrary account-specific instructions from Special Servicer, the following
standards related to settlement processes are applicable to all types of placement s.

    •




    •



    •




        •



        •




        •

        •




            (F0023945. t }                                     5
        Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 86 of 191
                                                                                Execution Version




                  Exhibit E to Default Prevention and Collection Services Agreement

                                     Default Collection Reports




NCO shall produce status and reconciliation reports to Special Servicer as follows.

            a.NCO will report the status of all accounts on a monthly basis, itemized by
borrower Social Security number and additional identifying data, including but not limited to
placement type (as defined in Exhibit D).

            b. NCO will report to Special Servicer, on a monthly basis, in a format acceptable to
Special Servicer, the recovery percentage for all loans by each placement segment. A
"placement segment" is defined as the number of loans placed with NCO in a given month, day,
and year. Accounts shall be identified in this report by placement type.

            c. Within twenty-four (24) hours of each placement of accounts by Special Servicer
to NCO, NCO will submit to Special Servicer, for reconciliation purposes, a written report
outlining each account and the dollar value thereof, as well as the total number of accounts and
the aggregate dollar amount for each placement of accounts made by Special Servicer to NCO.
NCO shall, on the same day of each placement, acknowledge both the total number of accounts
placed and the aggregate balance thereof in writing. Accounts shall be identified in this report
by placement type.

             NCO will report to Special Servicer for reconciliation purposes the aggregate
             d.
number and aggregate current balance of all accounts, whenever placed, which are active with
NCO. Accounts shall be identified in this report by placement type. This report will be
submitted annually within thirty (30) days following the end of Special Servicer's fiscal year.

             e.  NCO will report to Special Servicer, on a weekly basis (or an alternative periodic
 interval chosen by Special Servicer), the payments received by NCO for reconciliation by
 Special Servicer of the remittance outlined in Section 2.6. Such report shall include, but not be
 limited to, borrower name, account number! s), placement type, corresponding commission rate,
 payment amount and commission amount.

 The foregoing reports are not exclusive of any other reasonable requests for information that
 Special Servicer may have from time to time.




  {F0023945.1 }
     Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 87 of 191
                                                                               Execution Version




                  Exhibit F to Default Prevention and Collection Services Agreement

                                        Settlement Authority




None at time of execution




  {F002.VM5.I J
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 88 of 191
                                                                                     Execution Version




                     Exhibit G to Default Prevention and Collection Sendees Agreement


                                         Early Awareness Services



           1.  NCO shall develop and carry out a "Borrower Repayment Education And
Counseling" program for borrowers about to enter repayment. NCO shall use its "propensity to
pay" model that for prioritizing and segmenting accounts and will perform early awareness
service for accounts within the bottom 50% of propensity to pay scores. The specific objective of
this program i s to educate borrowers of upcoming payment requirements and advise borrowers,
if authorized under the circumstances, of the existence of defennent, forbearance and modified
graduated repayments ("MGRS") alternatives under applicable Program Guidelines, to reduce
the number and percentage of borrowers becoming subsequently delinquent in the repayment
process.



           2. At the beginning of the program, NCO shall receive from Special Servicer an
estimated monthly volume of 5,000 to 7,000 borrower accounts (approximately 40% of
borrowers entering repayment) that are 30-45 days prior to entering repayment. Variances of
plus/minus 10 percent of the estimated monthly volume will be considered as within the target
range of accounts to be placed. If mutually agreed by Speci al Servicer and NCO, Special
Servicer may elect to send additional monthly placement volume to be worked by NCO.

            3.        It is estimated that 70% of the borrower accounts will have cosigners.

            4.        The "work period" shall be 30 days from date of placement.


            5.        NCO and Special Servicer will work cooperatively with the Trusts' primary
servicer, American Education Services ("AES"), to establish whether NCO will contact
borrowers "as NCO," "on behalf of the owner of your loan" or "on behalf of AES," or such other
designation as the parties may agree the distinction being a function of the nature of the
relationship established, which is not under the control of either Special Servicer or NCO. NCO
 will not hold itself out "as" AES.


            6.        On accounts with cosigners, NCO will Attempt to contact both the primary
 borrower and cosigner.


             7.NCO shall initially conduct this program in its NCO facility, which offers low
 domestic U.S. labor costs, and thus advantages this project.

               NCO may at its sole discretion decide to expand or move this program to another
                8.
 NCO facility. Such a move shall not have an impact on the fees paid to NCO by or the service
 hereunder provided to or on behalf of Special Servicer pursuant to this Agreement.

                 Upon receiving and loading each monthly placement from Special Servicer, NCO
                9.
 shall use the following contact methodology ("waterfall approach") in an effort to maximize the
 contact rate of the Trusts' borrowers:




  {F0023945J }
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 89 of 191




               a.     Send an email to all borrowers and cosigners for whom NCO has received
an email address on the placement file. The content of the email, to be jointly developed by
Special Servicer and NCO, will be approximately as follows:

                          i.              Congratulate borrowers (or cosigners on behalf of the borrowers)
on graduating and presumed entrance / re-entrance into working world.

                         ii.              Alert borrowers that they will be contacted shortly to discuss the
upcoming repayment status.

                         iii.             Encourage borrower in the meanwhile to call in to NCO's inbound
800 number set up specifically for this program to speak with a loan counselor standing by with
important information.


                   b.           Immediately begin calling campaigns:

                           i.  NCO loan counselors will Attempt to contact all borrowers on the
Special Servicer data file for whom NCO has received "good" contact information. NCO loan
counselors will skip-trace all "bad" numbers. Where good number(s) are subsequently obtained,
NCO will update Special Servicer (and/or AES) records.

                          ii.              NCO shall make several Attempts to contact each borrower using
the telephone numbers provided by Special Servicer over the first ten business days at different
times of day (if directed by Special Servicer). Periodically, depending on the number of
borrowers remaining to be contacted, NCO may conduct outbound calling efforts on Saturdays,
as appropriate.


                          iii. If a borrower is contacted and a counseling session is conducted
 there may be no need to send a letter (see "Letter Campaigns"), although a follow-up email with
 appropriate Special Servicer collateral material may be desirable.


                          iv.              If a borrower is not contacted, then NCO may send a letter (see
 "Letter Campaigns") with similar information to the email.


                           v.NCO loan counselors will continue attempting to contact the
 borrower throughout the work period (using best contact methodology—i.e. varying times, days
 of week—including, as noted above, Saturdays—etc.)

                    c.               Letter campaigns


                                i.          In an effort to measure the effectiveness of various letter
 campaigns, at Special Servicer's direction NCO will split the monthly account placements into
 two groups and apply a different letter strategy to each. At any time Special Servicer can direct
 NCO to change the percentage of accounts going to either group or to stop the multiple strategy
 approach entirely and apply only one strategy to all accounts.




  (F0023945. i J
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 90 of 191



                                  1.     Group 1 : NCO will mail letters to all borrowers in Group 1
immediately upon receipt of the account placement.


                                  2.Group 2: NCO will mail letters to all borrowers in Group 2
who have not yet been contacted after an initial attempt period of 1 0 business days.


All mailings will have an address correction request included and, where change of address is
noted, Special Servicer files will be updated.


           10.    NCO Hours of Operation


                        a.     NCO will set hours of operation to give the best opportunity to
optimize contact rate of the Trusts' borrowers and to be consistent with and fully compliant with
all requirements of law and regulation.


            11. Prior to initiating any contact with borrowers, NCO will work in conjunction with
Special Servicer to develop appropriate scripting for phone contacts, with such scripting
reflecting the brand look and feel that Special Servicer wishes to convey. This scripting will be
articulated in the Statement of Work Amendment, separate from this Agreement and will
incorporate among other aspects, the circumstances under which NCO shall be authorized to
advise borrowers of the existence of deferment, forbearance and MGRS alternatives under
applicable Program Guidelines.


NCO anticipates that the call will be conducted in approximately the following manner:

                  a.     Validate that we are speaking with the right party.

                  b.     Introduce ourselves as a loan counselor calling from NCO (or on behalf
 of) AES in reference to their private student loans held by the Trusts. Special Servicer will
 provide the loan holder infonnation to NCO so NCO can use this infonnation in the scripting.

                  c. Explain the purpose of the call is to remind borrower of upcoming
 repayment requirements and to gauge borrower's preparedness and intent to meet upcoming
 requirements.


                   d.        Receive payment commitment from borrowers.

                   e.        Attempt to set borrower up on automatic debit program.

                        i.    If allowed by AES, NCO will use web-based technology to enable
 the borrower complete and electronically sign an automatic debit fonn.

                              If a web-enabled process is not allowed by AES, NCO will either
 email the borrower the appropriate form or direct the borrower to AES's web site
 www.asessuccess.org where the form is available online. The borrower will then be required to
 print, sign and return the form either to NCO to be forwarded on to AES or to AES directly.




  (F0023945.1 \
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 91 of 191



                    f.Ask several brief probing questions that will capture important borrower
information to be used when constructing the post-pilot full-scale implementation program.

           12.      The following steps will be included in the Borrower Repayment Education And
Counseling Program:


NCO will document "results codes" to track key data. In addition to tracking contacts,
commitments and other operational metrics, NCO will be able to quantify (and subsequently
analyze) responses to key qualitative questions.


Sample of potential questions:


                    Is borrower prepared to meet repayment requirements?
                     Is borrower already employed?
                     What is starting income?
                     Does borrower have concerns over upcoming repayment requirements?
                     What are concerns? (no job, not enough income, percent of disposable income
                     going to debt service, etc.)
                     Does borrower have other private loans? (dollar ranges, lenders) Probe for future
                     private loan consolidation opportunities. (In the aggregate, NCO will be able to
                     perform analysis for Special Servicer showing borrowers according to balances
                     held by a listing of other lenders—this is important information for assessing
                     potential risk of prepayment through third-party consolidation of Trust loans).
                     Status of FFELP loans and repayment plans


               NCO shall develop and submit to Special Servicer, frequency to be determined in
             13.
 consultation with Special Servicer, management reports with key program performance
 indicators.


             14. NCO and Special Servicer will conduct meetings every, frequency to be
 determined in consultation with Special Servicer, to review the management reports and have a
 qualitative discussion about the program.


                NCO will supply its proprietary contact system and all necessary supporting
              15.
 inbound and outbound telephony, data networking, email, and secure web-based applications
 required to support the program, activities, and reporting described herein. All NCO technology
 used in the program shall be provided at no additional cost. All technology and related systems
 and applications may be audited by Special Servicer at any time during regular business hours.




  {F0023945.! 1
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 PageExecution
                                                               92 of 191Version




                  Exhibit H to Default Prevention and Collection Services Agreement

                                                Fees




Early Awareness:


For loans that are referred to the Early Awareness vendor for pre-eall and letters and ACH
enrollment 60 days prior to 1 st payment due date:

$20 per borrower Contact and $0.51 (fifty-one cents) per letter sent, which may be adjusted
for increases implemented by the United States Postal Service, cent for cent


Default Prevention:


For loans that roll at 3 1 days from servicer to NCO Default Prevention Collectors and to be
managed up until 180 days past due or lender mandated charge off date, including loans in
Claims Review:


$4600 per seat ($4600 per seat fee shall be increased by 3% each year on the anniversary of
the Effective Date without further action by the parties) and $0.51 (fifty-one cents) per
letter sent, which may be adjusted for increases implemented by the United States Postal
Service, cent for cent.


 The per seat default prevention fee above shall be subject to an annual incentive payment,
 calculated as follows:


 For each 30-day delinquency period (i.e., 31-60, 61-90, etc.), the percentage of loans that
 were in one delinquency period and progressed from that period to the next delinquency
 period (the "flow rate") shall be calculated for each of the three prior 12-month intervals.
 The baseline flow rate for each delinquency period for each 12-month interval shall be:
 (0.70 x the flow rate for the immediately preceding 12 months) + (0.15 x the flow rate for
 each of the prior two 12-month intervals).


 For each delinquency period in the 12 months under consideration for incentive payment:
 (a) if the flow rate is more than 2.0% less than the baseline flow rate (e.g., less than 18% on
 a baseline flow rate of 20%), then an incentive of 12% shall be paid for each seat dedicated
 to default prevention in that delinquency period;
 (b) if the flow rate is equal to or less than the baseline flow rate, but more than 2.0% less
 than the baseline flow rate (e.g., equal to or more than 18% and less than 20% on a
 baseline flow rate of 20%), then an incentive of 6% shall be paid for each seat dedicated to
  default prevention in that delinquency period; and
  (c) if the flow rate is greater than the baseline flow rate, no incentive shall be paid.




  (F0023945.1 }
     Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 93 of 191



                                                  flow rates shall be rounded to the nearest
For purposes of the above incentive calculations,
                                                     a percentage and rounded up for 5-9
whole number (i.e., rounded down for 0-4 tenths of
tenths of a percentage).

                                                   ries):
Post Default Collections (including probate recove

                                                                  ions prior to litigation
NGO to utilize Default Collectors for all of post default collect

                                                       other agencies following the
25% (30% for recalled defaulted accounts recalled from
Effective Date)


Litigation:

                                                              ts referred to litigation:
NCO to manage Default Collectors' attorney network for accoun


 35%




   {F0023945.S )
Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 94 of 191
                 Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 95 of 191


                                                         CTION SERVICES
         FIRST AMENDMENT TO DEFAULT PREVENTION AND COLLE
                                                       AGREEMENT

                                                                                  nt (hereinafter
     This First Amendment to Default Prevention and Collection Services Agreeme
                                                                      n Resources, Inc. ("FMER"), a
"Amendment") is entered into by and between First Marblehead Educatio
Delaware corporation with a principal place of business at 800 Boylston St., 34th Floor, Boston, MA
                                                                             NCO Financial Systems, Inc.,
02199 (together with its successors and assigns, the "Special Servicer") and
                                                                           ania having a place of business
a corporation organized under the laws of the Commonwealth of Pennsylv
                                                                               assigns, "NCO"), and
at 507 Prudential Road, Horsham, PA 19044 (together with its successors and
                                                                             entered into by and between
amends that certain Default Prevention and Collection Services Agreement
                                                                                     ent is executed as of
FMER and NCO and dated as of March 1, 2009 (the "Agreement"). This Amendm
May 1,2009.
                                                                                        and other good
       NOW THERE FORE, in consideration of the mutual promises contained herein
                                                                            acknowl edged by the parties,
and valuable consideration, the receipt and sufficiency of which are hereby
it is hereby agreed as follows:

                                                                                          the recitals to the
1.             Restatement of Recitals. Special Servicer and NCO hereby amend and restate
                                                                                  g:
Agreement by deleting them in their entirety and replacing them with the followin
                                                                                        ration services to
        "WHEREAS. FMER as the initial Special Servicer currently provides administ
                                                                                    e student loans
certain Delaware statutory trusts (the "Non-Ambac Trusts") consisting of alternativ
                                                                      n managem ent  services pursuant to
("ASLs"), including the provision of default prevention and collectio
                                                                            as Special Servicer, U.S.
that certain Special Servicing Agreement entered into by and among FMER
                                                                            Special Servicer") and the
Bank National Association ("U.S. Bank"), (in such capacity, the "Back-Up
                                                                              bac Special Servicing
Non-Ambac Trusts party thereto and dated as of March 1, 2009 (the "Non-Am
 Agreement"); and
                                                                                            Special Servicer to
         WHEREAS, FMER entered into an additional agreement to serve as the initial
                                                                                 consistin g of alternative
 provide administration services to certain additional Delaware statutory trusts
                                                                               Trusts, referred to in this
 student loans ("ASLs") (the "Ambac Trusts", together with the Non-Ambac
                                                                       ("Ambac   ") is a credit facility
 Agreement as the "Trusts") in which Ambac Assurance Corporation
                                                                                   ent services pursuant to
 provider, including the provision of default prevention and collection managem
                                                                               as Special Servicer, U.S.
 that certain Special Servicing Agreement entered into by and among FMER
                                                                                       Servicer"), Ambac,
 Bank National Association ("U.S. Bank") (in such capacity, the "Back-Up Special
                                                                                  r agreement thereto
 and the Ambac Trusts party thereto and dated as of May 1, 2009, and any successo
                                                                             (the "Ambac Trusts Special
 entered into by and among FMER, U.S. Bank, Ambac, and the Ambac Trusts
                                                                              nt, the "Special
 Servicing Agreement") (together with the Non-Ambac Special Servicing Agreeme
 Servicing Agreements"); and
                                                                                        "Services") to
                 WHEREAS, NCO provides default prevention and collections services (the
 financial institutions; and
                                                                                       outsourcing of certain
         WHEREAS, the initial Special Servicer and NCO desire to arrange for the
                                                                            event that the Back-Up Special
 default prevention and collections activities to NCO for the Trusts in the
                                                                                     g Agreements pursuant
 Servicer becomes the Special Servicer under either or both of the Special Servicin
 to Section 8 of either or both of the Special Servicing Agreements; and

                                                                                       n activities as
         WHEREAS, NCO is willing to provide certain default prevention and collectio
                                                                             Special Servicer."
  herein provided in the event that the Back-Up Special Servicer becomes the

                                                                                                       and restated
  2.                 Restatement of Services Generally. Section 2.1 of the Agreement is hereby amended
  to read as follows:
     {F0024989.1 }
                  Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 96 of 191



            "Special Servicer hereby retains NCO to perform the Services set forth herein in the event that,
            and only in the event that, Special Servicer (including for the avoidance of doubt, U.S. Bank in its
            capacity as successor Special Servicer) notifies NCO in writing that the Back-Up Special Servicer
            has assumed the duties of the Special Servicer pursuant to Section 8 of either or both of the
            Special Servicing Agreements. The parties acknowledge and agree that the foregoing reference to
            the Special Servicing Agreements is intended only as a reference to the conditions under which
            performance of the Services under this Agreement will begin; it is does not and shall not credte
            duties or obligations for NCO under either of the Special Servicing Agreements. The parties
            further agree that upon U.S. Bank assuming the duties of Special Servicer under the Servicing
            Agreement, all references to "Special Servicer" in this Agreement shall, unless otherwise provided
            or the context otherwise requires, be deemed to refer to U.S. Bank acting in such capacity. The
            date of the beginning of the performance of services by NCO referenced in the foregoing sentence
            shall be the "Effective Date" for purposes of this Agreement (it being acknowledged that NCO
            shall commence performance of the Services set forth herein immediately upon being notified of
            the assumption by the Back-Up Special Servicer of the duties of the Special Servicer under either
            or both of the Special Servicing Agreements or such later date (if any) as shall be specified in such
            written notice). In order for NCO to carry out its duties under this Agreement with respect to the
            Services, as of the Effective Date, the initial Special Servicer shall cause the Servicers to provide
            to NCO (a) consumer file data in the manner and form described in Exhibit A (as amended from
             time to time by Special Servicer), and (b) view-only access to borrower ASL accounts on the
             Servicers' systems. NCO shall use such data for the purposes of performing the Services, risk
             modeling, providing reports as set forth in this Agreement, forecasting and billing."


3.      Successors and Assigns. Special Servicer and NCO hereby amend the references to the "Special
Servicing Agreement" in Section 1 1.6 of the Agreement to instead be references to the "Special Servicing
Agreements".


4.   Full Force and Effect. This Amendment amends the Agreement only as expressly set forth in this
Amendment. As amended herein, the Agreement remains in full force and effect according to its terms.

5.    Counterparts. This Amendment may be executed in multiple counterparts, each of which shall be
deemed an original, but all of which together shall constitute one and the same document.

IN WITNESS WHEREOF, the parties have executed and delivered this Agreement, as of the day and
year first above written, to be effective as of May 1, 2009.



                            FIRST MARBLEHEAI) EDUCATION RESOURCES, INC.



                            By:

                            Its:   / Te~£45vtt.e**~


                            NCO FINANCIAL SYSTEMS, INC.



                            By:

                            Its:             T^Ac* Vcotf
 (F0024989. 1 }
            Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 97 of 191



                                                SECOND AMENDMENT TO
                      DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT



                This   Second Amendment to Default Prevention and Collection Services Agreement (this
"Amendment") is entered into by and between First Marblehead Education Resources, Inc. ("FMER"), a
Delaware corporation with a principal place of business at 800 Boylston St., 34th Floor, Boston, MA
02199 (together with its successors and assigns, the "Special Servicer") and NCO Financial Systems, Inc.,
a corporation organized under the laws of the Commonwealth of Pennsylvania having a place of business
at 507 Prudential Road, Horsham, PA 19044 (together with its successors and assigns, "NCO"), and
amends that certain Default Prevention and Collection Services Agreement entered into by and between
FMER and NCO and dated as of March 1, 2009, as amended by that certain First Amendment to Default
Prevention and Collection Services Agreement entered into by and between FMER and NCO and dated as
of May 1, 2009 (as amended, restated, supplemented or otherwise modified through the date hereof, the
"Agreement"). This Amendment is executed as of June 15, 2012.


                NOW, THEREFORE, in consideration of the premises set forth above, and other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto
hereby agree as follows:


                1.      Defined Terms. All capitalized terms in this Amendment shall have the same meanings
given to them in the Agreement, unless otherwise expressly stated herein.


                2.      Amendments of the Agreement.          The Agreement is hereby amended in the following
respects:


                2.1     The Agreement is amended by deleting each and every reference therein to "Early
Awareness Services."

                2.2      Section 1 . 1 of the Agreement is amended by deleting the definition of "Early Awareness
Services." Section 1 .1 of the Agreement is further amended by inserting the following definitions:

                         U6C
                               Claims Package" means a credit agreement or promissory note."

                2.3     The third sentence of Section 2.1 of the Agreement is amended by deleting the phrase
"Servicing Agreement" and inserting "Special Servicing Agreements" in lieu thereof.

                2.4      Section 2.3 of the Agreement is amended by deleting the third sentence in its entirety and
the following shall be inserted in lieu thereof:

                        "Special Servicer shall cause the Servicers to provide to NCO all documents and
                        information specified in the Servicing Agreements and/or Servicing Guidelines."

                2.5      Section 2.3(a)(i) of the Agreement is hereby deleted in its entirety and the following shall
be inserted in lieu thereof:

                        "[Reserved]"


                2.6     The first sentence of Section 2.3(a)(i)(iii) of the Agreement is amended by deleting the
phrase "with a Claims Package" so that the first sentence of Section 2.3(a)(iii) of the Agreement reads, in
its entirety, as follows:




{F0038953.7 }                                                  1
                Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 98 of 191



                       "From time to time Special Servicer may instruct NCO with respect to collection costs,
                       default interest rates and other adjustments to be made to account balances submitted
                       pursuant to Special Servicer's direction by Servicers to NCO ("Default Charges")."

                2.7    Section 2.4 of the Agreement is amended by deleting the third sentence in the second
paragraph in its entirety.


                2.8    Section 2.4(e) of the Agreement is hereby deleted in its entirety and the following shall
be inserted in lieu thereof:

                       "Settlement authority given to NCO is described in Exhibit D attached hereto. Special
                       Servicer agrees to designate a business contact with authority to review and approve
                       collection settlement proposals with NCO."

                2.9    Section 2.8 of the Agreement is hereby deleted in its entirety and the following shall be
inserted in lieu thereof:

                       "[Reserved]"

                2.10   Article II of the Agreement is amended by inserting a new Section 2.9 in between Section
2.8 and Section 2.10 as follows:

                       "2.9    [Reserved]"

         2.1 1   Section 4.1(a) of the Agreement is amended by deleting the phrase "a national banking
association organized, validly existing and in good standing under the laws of the United States" and
inserting "a corporation duly organized, validly existing and in good standing under the laws of the State
of Delaware" in lieu thereof.

                2.12   Section 5.2(b)(vii) is amended by deleting the phrase "Paragraph 23(a)" and inserting
"Section 5.2(b)" in lieu thereof.

                2.13   Section 9.1 of the Agreement is hereby deleted in its entirety and the following shall be
inserted in lieu thereof:

                       "(a)    The initial term of this Agreement shall commence as of the Effective Date and
                       shall continue in effect for a period of one (1) year, unless sooner terminated pursuant to
                       Section 9.2 (the "Initial Term").


                       (b)     Upon conclusion of the Initial Term or any succeeding term, this Agreement
                       shall automatically renew for an additional, successive one (1) year term, unless (i) either
                       party shall give written notice of non-renewal to the other party not less than ninety (90)
                       days prior to the conclusion of such term or (ii) sooner terminated pursuant to Section
                       9.2.


                       (c)   Upon conclusion of the Initial Term, Special Servicer may terminate this
                       Agreement at any time by providing thirty (30) days prior written notice to NCO.

        2.14    Section 1 1.6 of the Agreement is amended by deleting the first paragraph in its entirety
and the following shall be inserted in lieu thereof:

                       "All terms and provisions of this Agreement shall be binding upon and shall inure to the
                       benefit of Special Servicer and NCO, and each of their respective permitted transferees,
                       successors and assigns. NCO may not assign any of its rights or obligations under this




{F0038953.7 }                                               2
                Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 99 of 191



                       Agreement (whether by operation of law or otherwise) without the prior written consent
                       of Special Servicer. Special Servicer may assign any of its rights or obligations under
                       this Agreement (whether by operation of law or otherwise) without the prior written
                       consent of NCO. Nothing in this Agreement is intended to create or grant any right,
                       privilege or other benefit to or for any person or entity, other than the parties hereto and
                       their permitted transferees, successors or assigns."

        2.15    The Table of Exhibits to the Agreement is amended by deleting such table in its entirety
and the following shall be inserted in lieu thereof:

                       "Exhibit A -Servicer File Data - Default Prevention
                       Exhibit B - Default Prevention Services
                       Exhibit C - Default Prevention Reports
                       Exhibit D - Default Collection Services
                       Exhibit E - Default Collection Reports
                       Exhibit F - Bankruptcy Services
                       Exhibit G - [Reserved]
                       Exhibit H- Fees to NCO
                       Exhibit I - Trusts"

                2.16   Exhibit A to the Agreement is amended by deleting the last sentence on Exhibit A in its
entirety.

        2.17    Exhibit B to the Agreement is hereby deleted and replaced in its entirety with the form of
Exhibit B attached to this Amendment.

                2.18   Exhibit C to the Agreement is amended by deleting "120" and inserting "180" in lieu
thereof.

        2.19    Exhibit D to the Agreement is hereby deleted and replaced in its entirety with the form of
Exhibit D attached to this Amendment.

        2.20    Exhibit F to the Agreement is hereby deleted and replaced in its entirety with the form of
Exhibit F attached to this Amendment.

        2.21      Exhibit G to the Agreement is hereby deleted in its entirety and the following shall be
inserted in lieu thereof:

                       "[Reserved]"

        2.22    Exhibit FI to the Agreement is hereby deleted and replaced in its entirety with the form of
Exhibit H attached to this Amendment.

                2.23   The Agreement is hereby amended by inserting a new Exhibit I in the form of Exhibit I
attached to this Amendment.

               Effect of Amendment. This Amendment shall be effective as of the date first set forth
                3.
above. Except as expressly amended in this Amendment, all terms and provisions contained in the
Agreement shall continue in full force and effect, without modification.

        4.      Multiple Counterparts. This Amendment may be executed in multiple counterparts, each
of which shall be deemed an original for all purposes and all of which shall be deemed, collectively, one
agreement, but in making proof hereof it shall not be necessary to exhibit more than one such counterpart.




(F0038953.7 }                                               3
            Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 100 of 191



Delivery of an executed counterpart of this Amendment by facsimile or pdf electronic transmission shall
be deemed as effective as delivery of an originally executed counterpart.

     5.    GOVERNING LAW.   THIS AMENDMENT SHALL BE GOVERNED BY, AND
CONSTRUED IN ACCORDANCE WITH, THE INTERNAL LAWS OE THE STATE OF OHIO,
WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF LAW PROVISION OR RULE
THAT WOULD CAUSE THE APPLICATION OF LAWS OF ANY JURISDICTION OTHER THAN
TO THOSE OF THE STATE OF OHIO.
                             EACH PARTY WAIVES ITS RIGHT TO A JURY TRIAL
WITH            RESPECT   TO   ANY   ACTION
                             OR CLAIM ARISING OUT OF ANY DISPUTE IN
CONNECTION WITH THIS AGREEMENT, ANY RIGHTS OR OBLIGATIONS HEREUNDER OR
THE PERFORMANCE OF ANY SUCH RIGHTS OR OBLIGATIONS.

                                 [Remainder of page intentionally left blank]




{F0038953.7 )                                         4
            Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 101 of 191



        IN WITNESS WHEREOF, the parties hereto have caused this First Amendment to the Default
Prevention and Collection Services Agreement to be executed as of the date first written above.




                                           FIRST MARBLEHEAD EDUCATION RESOURCES,
                                           INC.



                                           By:         /%


                                           Name: -Sefii upmer
                                           Title: PrelSent


                                           NCO FINANCIAL SYSTEMS, INC.



                                           By:
                                           Name: John R. Schwab
                                           Title: Executive Vice President




{1-0038953.7 }
        Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 102 of 191




        IN WITNESS WHEREOF, the parties hereto have caused this First Amendment to the Default
Prevention and Collection Services Agreement to be executed as of the date first written above.




                                           FIRST MARBLEHEAD EDUCATION RESOURCES,
                                           INC.



                                           By:
                                           Name: Seth Gelber
                                           Title: President




                                           NCO FIN.      HAL SYSTEMS, INC.



                                           By:,
                                           Nam/: /John R. Schwab
                                           Title: Executive Vice President




!F0038953.7 }
            Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 103 of 191



                              Exhibit B to Default Prevention and Collection Services Agreement
                                                 Default Prevention Services

Work Description


NCO shall provide Dedicated Staff to make outbound calls related to accounts 31-180 days past due
referred by Special Servicer and receive inbound calls resulting from NCO's efforts. NCO will also draft
and. mail letters and conduct other activities reasonably calculated to perform the Services. Refer also to
Exhibit D for standards shared between Default Prevention ("Pre-Default Accounts") and Post-Default
Accounts (as defined in Exhibit D).

Hours of Operation/Staffing

       1.       NCO agrees to maintain the following hours of operation for this engagement:

                           Monday - Thursday: 8:00 AM - 10:00 PM EST
                           Friday: 8:00 AM - 5:00 PM EST
                           Saturday / Sunday: Four hour shift between 9:00 AM - 9:00 PM EST

      2.        Holidays - NCO and Special Servicer mutually recognize the following holidays:

                    •      New Years Day
                    •      Easter Sunday
                    •      Memorial Day
                    •      4th of July
                    ®      Labor Day
                    »      Thanksgiving Day
                    •      Christmas Day

      3.        NCO agrees to maintain the following staffing ratios as they relate to management and support
                personnel for the FMER engagement.


                    ®      1 Client Manager to 60 FTE
                    •      1 Supervisor to 1 5 FTE
                    ®      1 Trainer to 60 FTE
                    •      1 Quality Monitor to 50 FTE
                    •      1 Administrative support to 50 FTE

      4.        Initially the Account to Collector Ratio (ACR) will be established from 250:1 - 500:1. This ratio
                may be modified from time to time based on business needs and mutually agreement between the
                parties.

Telephone Attempts/Account Intensity

       1.       NCO will attempt to contact the borrower through a combination of automated and manual calls
                to resolve the delinquency on the assigned account, in compliance with state and federal law.

      2.        NCO will attempt to contact each account by making day, evening and weekend attempts at
                primary contact numbers provided for both the primary debtor and cosigner if applicable, unless
                NCO knows or should know that such contact would at any unusual place or time that is
                inconvenient for the Borrower.




{F0038953.7 }
            Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 104 of 191



       3.       NCO agrees to schedule associates assigned to this program such that adequate attempts are made
                during "prime time hours," which for this engagement will be defined as:

                          •   8:00AM - 11:00AM M-F local to the debtor as based upon primary contract
                              numbers provided by borrower unless NCO has a reasonable belief that borrower is
                              located in a different time zone.
                          •   5:00PM - 9:00PM M-Th local to the debtor as based upon primary contract
                              numbers provided by borrower unless NCO has a reasonable belief that borrower is
                              located in a different time zone.
                          •   Saturday and Sunday, unless it is known that Sunday is an inconvenient time for
                              borrower.
                          •   Holidays are presumed inconvenient.

       4.       NCO will attempt to contact each account provided to NCO for collections a minimum of five
                times on a monthly basis, including prime time hours.

       5.       NCO will refrain from unreasonable use of an autodialer, which shall include calling a borrower's
                known wireless phone unless it is an emergency or borrower has consented to such contact.


       6.       NCO will undertake efforts to prevent unauthorized third party disclosure, specifically in the
                event borrower is contacted at a place of employment via phone, email or fax, and if NCO utilizes
                text messages with borrower as a means of communication.

Call Recording

NCO will provide call recording for quality assurance purposes. NCO agrees to record a sample size of at
least 50 Right Party Contact calls per month and deliver said samples in a format and at time intervals
agreeable to Special Servicer.

Key Performance Indicators

NCO agrees that the following KPI metrics will be used as a means of measuring productivity:

       •        Intensity - Number of attempts/number of accounts
       •        Connect Rate- Connects/number of accounts
       •        Contact Rate to Connect rate - RPC ' s /Connects
       •        Contact Rate to Inventory   RPC's/number of accounts
       •        Percent Promise to Pay (Promise Conversion - Promises/RPC's)
      •         Urgency Conversion - Urgency Payments/RPC ' s
      ®         Total Prime Time Hours to Total Hours worked (%)
      •         Total Right Party Contacts to Total Borrowers (%)
      ®         Total Promises to Pay to Total Right Party contacts (%)
      •         Total Promises to Pay to Total Borrowers (%)
      •         Total Cured ($)
      •         Total Borrowers Cured (#)

Performance Scorecard and Reviews

There will be a monthly scorecard produced to review NCO's performance. In addition, there will be at a
minimum a quarterly review that will take place in person at either NCO's premises or other location. The
quarterly review will be focused on the performance of NCO in the previous quarter and discuss how
performance can be improved and important updates as it relates to business and portfolios.




fF0038953.7 }
            Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 105 of 191



                           Exhibit D to Default Prevention and Collection Services Agreement
                                               Default Collection Services

Definitions


Post-Default Accounts:


                First Placement Accounts: Accounts that have not been subject to previous collection efforts on
                Special Servicer's behalf by any other entity other than Special Servicer's staff.


                Second Placement Accounts: Accounts that, prior to transfer to NCO, have been worked by one
                other collection agency.


                Third Placement Accounts: Accounts that, prior to transfer to NCO, have been worked by two
                other collection agencies.


Litigation Accounts: Accounts that have been authorized by Special Servicer for Litigation as provided
in Section 1 of the Agreement; also considered to be Post-Default Accounts.


Pre-Default Accounts: those Default Prevention Accounts identified in Exhibit B.


Work Description

                NCO shall provide dedicated staff to make recovery efforts related to Post-Default Accounts
                placed as described in further detail above. NCO will skip-trace, draft and mail letters, make
                outbound phone calls and field inbound calls, and conduct other activities reasonably calculated
                to lead to recovery of the accounts placed, in compliance with state and federal law.

                NCO may also oversee a network of attorneys for Litigation Accounts as discussed herein. NCO
                will manage its attorney network by assuring the attorneys satisfy pre-determined quality
                assurance criteria, and in carrying out recovery efforts, including but not limited to: forwarding
                media to attorneys for suit, ensuring attorneys mail final demand letters, properly filing suit and
                managing filing costs and fees, affidavit management, managing litigation status, properly
                receiving and remitting funds, judgment execution or placement, bankruptcy litigation placement,
                record creation and keeping, and conducting other activities reasonably calculated to lead to
                litigation and recovery of the accounts placed for litigation.

Hours of Operation/Staffing

       1.       NCO agrees to maintain the following hours of operation for this engagement:

                        Monday -- Thursday: 8:00 AM - 10:00 PM EST
                        Friday: 8:00 AM - 5:00 PM EST
                        Saturday / Sunday: Four hour shift between 9:00 AM - 9:00 PM EST

      2.        Holidays - NCO and Special Servicer mutually recognize the following holidays:

                   •    New Years Day
                   •    Easter Sunday
                    •   Memorial Day
                   •    4!h of July
                   •    Labor Day




{F0038953.7 }
            Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 106 of 191



                    •   Thanksgiving Day
                    •   Christmas Day

       3.       NCO agrees to maintain the following staffing ratios as they relate to management and support
                personnel for the FMER engagement.

                    •   1 Client Manager to 60 FTE
                    •   1 Supervisor to 1 5 FTE
                    •   1 Trainer to 60 FTE
                    •   1 Quality Monitor to 50 FTE
                    •   1 Administrative support to 50 FTE

Post-Default Minimum Work Standards


       •        Within twenty-four (24) hours of placement, NCO shall scrub the placement file against
                bankruptcy notification data base, either on-line or batch process, before collection effort is
                pursued. The account should be immediately closed and returned with no collection effort if a
                bankruptcy "hit" is returned, UNLESS the bankruptcy discharge was issued prior to loan
                origination or the bankruptcy was dismissed.
       •        Credit Bureau reports or credit headers shall be pulled on all accounts within two (2) business
                days of placement.
       •        A validation notice as outlined in the Fair Debt Collection Practices Act ("FDCPA") shall be sent
                within twenty-four (24) hours of placement.
       ®        Within five (5) business days the first phone Attempts shall be made by NCO to both the
                borrower and co-borrower.
                    o   In the event Contact is made within the first five (5) business days of placement, a
                        promise to pay or a commitment should be made to pay the balance in full, settle the
                        balance in full within the guidelines provided by Special Servicer.
     • •        Within the first thirty (30) days of placement:
                    o   If NCO determines it has a valid phone number, four (4) Attempts per week shall be
                        made during strategic hours of the work day. A message should not be left if another
                        Contact will be completed on the same day.
                    o   If NCO determines it does not have a valid phone number, the account shall be statused
                        as a skip account and skip tracing efforts are to commence no later than forty-eight (48)
                        hours after determining the number is invalid,
                    o   Continued Attempts after the first thirty (30) days shall continue at the rate of one (1)
                        time per week.
      •         Skip Tracing Activities after thirty (30) days or until Contact or closure:
                    o Minimally, all available skip tracing tools shall be utilized and efforts Attempted three (3)
                        times per month or until borrower is located or the account(s) is closed. Skip tracing
                        tools may include but are not limited to:
                                Nearby and same last name
                            H   Credit Bureau
                            B   Property Verification
                            B   University and/or College Directory/Registration
                            B   Internet Services
                            H   Voter Registration Databases
                            H   Directory Assistance
                            H   Local Professional Licensing Authority
                    o   All possible telephone numbers found should be Attempted within 24 hours, if legal to do
                        so, to determine validity.



{F0038953-7 }
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 107 of 191



       •        Other than for Litigation Accounts described below, if the accounts are subserviced from NCO,
                accounts shall also be closed with the subservicer if there is a thirty (30) day period of time
                elapsed in which the subservicer fails to perform work on the account. "Work" is defined as an
                Attempt to Contact, a skip Attempt or some form of activity in an attempt to resolve the account.


Litigation Account Minimum Work Standards


       •        Within twenty-four (24) hours of placement or authorization to litigate, NCO shall scrub the file
                against bankruptcy notification data base, either on-line or batch process, before collection effort
                is pursued. The account should be immediately closed and returned with no collection effort if a
                bankruptcy "hit" is returned, UNLESS the bankruptcy discharge was issued prior to loan
                origination or the bankruptcy was dismissed.
       •        Credit Bureau reports or credit headers shall be pulled by NCO on all accounts within five (5)
                business days of placement or authorization.
       •        A validation notice as outlined in the FDCPA shall be sent by NCO within two (2) business days
                of placement or authorization. Upon outsourcing to local counsel, Attorney (as defined below)
                may also send an additional validation notice if appropriate.
       •        Within five (5) business days the first phone Attempts shall be made by NCO to both the
                borrower and co-borrower.
      ®         In the event Contact is made, a promise to pay or a commitment should be made to pay the
                balance in full, or settle the balance in full within the settlement guidelines provided by Special
                Servicer under Settlement Process below.
      ®         From the date of placement or authorization until the account is either outsourced to local counsel
                or has satisfactory payment arrangements made as described above, if NCO determines it has a
                valid phone number, NCO shall make phone Attempts at the rate of four (4) times per week at
                different times of the day, including at least two evening (e.g., after 5 p.m. debtor's time) or
                weekend Attempts. Attempts will be made on both the borrower and co-borrower.
      ®         Within the first thirty (30) days of placement or authorization, if NCO determines it does not have
                a valid phone number, the account shall be statused as a skip and skip tracing efforts are to
                commence no later than forty-eight (48) hours after determining the number is invalid.
      •         Skip Tracing Activities after thirty (30) days or until Contact or closure:
                    o Minimally, all available skip tracing tools shall be utilized and efforts Attempted three (3)
                       times per month or until borrower is located or the account(s) is closed. Skip tracing
                        tools may include but are not limited to:
                                Nearby and same last name
                                Credit Bureau
                            B   Property Verification
                            8   University and/or College Directory/Registration
                            H   Internet Services
                            8   Voter Registration Databases
                             8   Directory Assistance
                             8   Local Professional Licensing Authority
                    o   All possible telephone numbers found should be attempted within 24 hours, if legal to do
                        so, to determine validity.
      •         Specific Direction for Litigation Accounts. In instances of repayment on Litigation Accounts, the
                following scenarios may occur, in which case NCO shall act as follows:
                    o   Any Broken Commitment: Pursue litigation immediately
                    o   Broken Payment Commitment: Pursue litigation immediately




(F0038953.7 }
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 108 of 191



                   o   Returned (NSF) Payment Item: All efforts should be made to resolve the issue and
                       reinstate payments.     If unable to resolve within reasonable period of time, litigation
                       should be pursued.
      •         Subservicing to Litigation Network.
                   o   "Attorney" as used herein shall mean each attorney or law firm, individually and
                       collectively, utilized by NCO in the course of its Litigation Account subservicing.
                               NCO shall provide Special Servicer with a complete list of its Attorneys utilized
                               within the several jurisdictions for which it has oversight, minimally, the fifty
                               (50) United States and the respective counties and districts therein.
                               NCO shall ensure Attorney satisfies pre-determined quality assurance criteria,
                               including but not limited to, review of:
                                    •   Applicable Licensing Statuses
                                    ®   Separate Client Trust Account
                                    ®   Bonding
                                    •   Audited Accounting
                                    ®   Criminal Background Checks of Firm Employees
                                    •   State Licensing Board and Other Regulatory Complaints
                                    ®   Financial Stability and Solvency
                                    •   Reputation in the Community
                                    •   OFAC Scrub
                           8   This criteria shall be reviewed periodically, not less once per year, to ensure
                               continuing quality.
                           8   Attorneys shall agree to be bound by the applicable commission and hourly
                               defense fee rates pre-determined by NCO and Special Servicer and shall agree to
                               timely remit any collection,
                   o   Once the account(s) is outsourced to local counsel, Attorney (and NCO if appropriate)
                       will continue diligent collection efforts in concert with the legal proceedings,
                   o   Attorney and NCO must track the progress of the suit and assure all service is made in
                       accordance with applicable laws, all deadlines are met and seek default judgments
                       whenever appropriate.
                   o   Attorney must make NCO immediately aware, and NCO will make Special Servicer
                       immediately aware, of any and all answers or defenses filed by borrowers in response to a
                       Complaint.
                   o   If available, Attorney (and NCO if appropriate) shall make the borrower aware of his/her
                       options under the settlement guidelines provided by Special Servicer under Settlement
                       Process below.
                   o   NCO shall maintain a process for forwarding Litigation Account media to Attorney,
                   o   NCO shall review all complaints and affidavits utilized by Attorney. NCO shall maintain
                       a process for pre-populating and executing Litigation Account affidavits as necessary to
                       assist litigation by Attorney,
                   o   If a witness is needed to provide testimony or other evidence at a trial or other hearing,
                       whether live or telephonic, the Attorney shall submit information in a pre-approved form
                       provided by Special Servicer to NCO and NCO shall in turn submit said form to Special
                       Servicer no later than fifteen (15) days prior to the scheduled hearing. NCO shall not
                       unreasonably incur expense in producing a witness for an appearance, expenses shall be
                       minimized to the extent practicable,
                   o   Attorney shall submit any judgment received, and complete a pre-approved form
                       provided by Special Servicer within five (5) days of receipt to NCO.       NCO will in turn
                       provide both the judgment and the form to Special Servicer within five (5) days of




(F0038953.7 }
            Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 109 of 191



                         receipt.    All fields on the form must be completed in their entirety by Attorney, and
                         should include:
                                    Principal amount ofjudgment
                                    Pre-judgment interest amount awarded in judgment
                                    Post- judgment interest amount awarded in judgment
                                    Applicable interest rate
                             H      Fees and costs
                                    To which amounts the applicable interest rate applies, whether principal, pre
                                    and/or post judgment interest, and/or fees and costs
       •         Attorney (and NCO if appropriate) must pursue collection efforts through appropriate legal means
                 available (e.g., wage garnishments, liens, etc.) once judgment is entered. At least one (1 ) Attempt
                 to secure post-judgment collection shall be made by Attorney (or NCO if appropriate) per month.
                 These efforts may include, but are not limited to, phone contact, attempts to locate attachable
                 assets such as bank accounts, property searches and employment searches.
       •         Special Servicer may, at its sole discretion, close any account and have it returned at any time.
                 For each account closed, NCO shall submit a closing statement which shall include borrower
                 name, social security number, Special Servicer account number, amount of funds expended, any
                 funds remaining, closing balance, payments received and any judgment information entered. Any
                 funds remaining shall be forwarded to Special Servicer within thirty (30) business days of
                 closure. The litigation closing statement requirements are separate and distinct from the systemic
                 "closed report" filed each month by NCO.
       •         Special Servicer will not pay a non-contingent suit fee or any other up-front fee to NCO or
                 Attorney unless Special Servicer has provided its prior express written agreement to pay such
                 fees.
       ®         NCO agrees to provide regular case status reports to Special Servicer at no greater than quarterly
                 intervals as directed by Special Servicer.
       •         NCO agrees to immediately provide copies of all correspondence and pleadings generated in
                 connection with a contested matter (contested matter being defined as any civil action where the
                 defendant has filed an answer or other pleading or motion).
       ®         NCO agrees to escalate to Special Servicer any notices of counterclaim, cross-claim or other
                 claim exposing the Trusts or Special Servicer to risk of loss, or reputational harm.
       ©         NCO shall seek authority from Special Servicer for all expenses in excess of one hundred dollars
                 ($100.00) to be incurred by the Attorney.
       •         Attorney agrees to file a Motion for Summary Judgment in all cases unless prohibited from doing
                 so by local rules of court or Special Servicer and Attorney otherwise mutually agree that Attorney
                 should not file such a Motion for Summary Judgment.


Pre- and Post-Default Account Shared Standards

                 Regulatory Agency Response Systems

                 For all Pre- and Post-Default Accounts, NCO shall maintain a process for accepting, reviewing
                 and responding to complaints, inquires, notices, demands, subpoenas and alike from State and
                 Federal administrative and regulatory agencies, such as Attorney General inquires, Consumer
                 Federal Protection Bureau inquiries, Better Business Bureau Complaints, and alike. Notice of
                 such inquires shall be provided to Special Servicer and such responses shall be forwarded to
                 Special Servicer upon completion. Special Servicer shall be notified immediately of any penalty
                 or sanction threatened or assessed by such agencies.




(1-0038953.7 )
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 110 of 191



                Fraud Process

                For all Pre- and Post-Default Accounts, NCO shall maintain a process for accepting, reviewing
                and administratively adjudicating claims of fraud by borrowers, which process shall utilize
                minimally a pre-approved form to be completed by claimants.

                Credit Reporting Disputes

                For all Pre- and Post-Default Accounts, NCO shall maintain a process for accepting, reviewing
                and timely responding to formal E-Oscar disputes generated through the major credit reporting
                agencies to which NCO reports.

                Death. Disability Discharge and Hardship Claims

                For all Pre- and Post-Default Accounts, NCO shall maintain, a process for accepting, reviewing
                and timely responding to requests loan forgiveness arising from death, disability discharge or
                hardship. This may include subservicing of estate and probate claims services.

                Military Scrubs and Servicemembers Civil Relief Act Compliance

                For all Pre- and Post-Default Accounts, NCO shall maintain a process for accepting, reviewing
                and timely responding to active duty notices for United States service personnel.

Remittance Process

The following work standards related to remittance processes are applicable to all types of placements.


      •         Remittances shall be processed on a weekly basis, whether by electronic wire or by check and
                have a remittance statement submitted. All remittance statements are to contain: borrower name,
                Special Servicer account number(s), placement type (e.g., first, second, third or litigation),
                commission rate, payment amount, commission amount, payment date, application of funds (i.e.,
                costs, principal, interest, etc.), and balance after payment applied.

       •        Any payment that does not result in good funds is to be posted immediately and included in the
                most current weekly remittance report as with any other payment information.

      ®         NCO shall submit net remittances of all monies collected.    NCO shall maintain copies of each
                invoice paid on each account.

      ©         NCO shall maintain copies of all payment documents for a minimum of three years.

Key Performance Indicators ("KPT''')

NCO agrees that the following KPI metrics will be used as a means of measuring productivity, in the
form of reports containing:

      •         Suit rates
      •         Judgment rates
      •         Liquidation rates
      •         Collection costs




(F0038953.7 )
               Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 111 of 191



Settlement Process




       •




       •




       •


           .

       •




       ®




       •




       •




       •




      ®




      •




      •




{F0038953.7 |
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 112 of 191



Exceptional Authority




Judgment Account Authority




JF00389S3.7 )
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 113 of 191



                       Exhibit F to Default Prevention and Collection Services Agreement
                                              Bankruptcy Services

Certain bankruptcy matters may be forwarded to NCO for handling. These matters may include, but are
not limited to, adversary proceedings. These matters will be handled as follows:

                a.   On all matters that are resolved without the need of proceeding with legal action, other
                     than the entry of consent judgment of notice of non-dischargeability of debt, will be
                     handled on a flat fee basis of $150.00 plus a contingency fee of 14% of all payments
                     received connected to a given account.

                b.   On all matters where legal action is taken, other than those matters referenced in
                     paragraph (a) will be handled at an hourly rate of $265.00 for partners, $225.00 for
                     Associates and $105.00 for Legal Assistants. These rates will apply to attorneys to whom
                     matters are referred for defense. No contingency fees shall be taken on these accounts.

                c.   Should it be determined that a file should be referred for collection litigation after a
                     finding or agreement of full or partial non-dischargeability in the bankruptcy court, then
                     the contingency rate for such action will be the same as outlined in Exhibit H to the
                     Agreement.

To the extent reasonably practicable with respect to Bankruptcy litigation Services, NCO shall be subject
to the Litigation Account Minimum Work Standards as set forth in Exhibit D as if incorporated herein.




{F003S953.7 }
            Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 114 of 191



                          Exhibit H to Default Prevention and Collection Services Agreement
                                                            Fees




For loans that roll at 31+ days from servicer to NCO Default Prevention Collectors and to be managed up
until 180 days past due or lender mandated charge off date, including loans in Claims Review:

Pricing

$5,000.00 per month for each pre-approved NCO FTE. An "FTE" is the equivalent of 147 production
hours in a month.

Initial Staffing Ratios


       •        The number of FTEs dedicated by NCO for this engagement shall be as mutually agreed.

       •        Any increase or decrease to staffing levels will be communicated in writing at least fifteen days
                (15) prior to the month in which the change shall be effective.

Performance Incentive

NCO will be further compensated based on reaching and/or exceeding agreed upon "Cure Rate" goals
outlined below. The incentive compensation will be a % of the base rate billed in the same month for
each stage.

Below numbers are a weighted average for a given month:




                                                                                                Evaluation



                 All*

  Tier 1=3%                                   52.00%                   56.00%                     16.00%

  Tier 2 = 7%                                 54.00%                   58.00%                     18.00%

  Tier 3 = 13%                                56.00%                   61.00%                    20.00%

                                          $12,000 for top          $12,000 for top
                                              agency*                 agency*             $6,000 for top agency*
 Bonus structure                          (details below)          (details below)            (details below)




       Cash Cure Percentages


       NCO is expected to maintain the below percentage of cures attributable to cash resolution (as opposed
       to MGRS, Forbearance, and the Reduced Payment Program). Falling below this ratio will cause NCO
      to be ineligible for the "top agency bonus" for the period as well as ineligible for volume increases,
      both described more fully below.



{FG038953.7 }
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 115 of 191



                         Early                             Primary                           Secondary

               30 Bay Evaluation (31-60          60 Bay Evaluation (61-120              60 Day Replacement
                         DPD)                               DPD)                     Evaluation (121-180 DPD)

                          72%                                70%                                 60%




       •       NCO will compete for a "top agency bonus" each month. A weighted average will be compared
               on the initial 30 day evaluation (31-60 DPD), the 60 day evaluation (61-120 DPD) and the
               Replacement 60 day evaluation (121-180 DPD).      The agency with the best cure rate for each of
               these evaluations will earn a $12,000, $12,000 and $6,000 "top agency bonus," respectively.

      @        NCO cure rates will be measured to two decimal points, and in the event of a tie will revert to the
               agency with the highest Cash Cure Percentage.

      ®        NCO must achieve a minimum of a Tier 1 performance level to be eligible for the "top agency
               bonus."

      •        NCO must not fall below the targeted Cash Cure Percentage to be eligible for the "top agency
               bonus."

      ®        If the top agency falls below the Cash Cure Percentage goal, the next best agency will inherit the
               "top agency bonus" provided they have not fallen below their Cash Cure Percentage target and
               have achieved at least Tier 1 performance.

Volume Increase Opportunity

Monthly, 31+ DPD volume may be reallocated as follows:

      ®        NCO will be ranked based on 31+ day evaluations within a given month, and may be given
               an increase of volume placed at 31+ DPD for the following month based on that rank.
               Conversely, poorer performing agencies may realize a decrease in volume for the following
               month based on their rank.

      »        NCO may not fall below Cash Cure Percentage targets listed above to qualify for any volume
               increases.

      ®        NCO will be notified of monthly results and how they will impact the FTE counts outlined
               above.




NCO to utilize Default Collectors for all of post default collections prior to litigation.

a.             Payments on First Placements


                NCO shall receive a fee equal to eighteen percent (18%) of all amounts collected directly from
                the Borrowers) on each account.




{F003S953.7}
            Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 116 of 191



b.               Payments on Second Placements

                  NCO shall receive a fee equal to twenty-five percent (25%) of all amounts collected directly
                  from the Borrower(s) on each account.

c.               Payments on Third Placements

                  NCO shall receive a fee equal to twenty-eight (28%) of all amounts collected directly from the
                  Borrower(s) on each account.

d.               Accounts in Litigation

                  Amounts collected on accounts referred by NCO to an attorney for formal legal proceedings
                  will be deposited into the account, and NCO will be entitled to a fee on any such amount equal
                  to thirty percent (30%) of all amounts collected by the attorney from the borrower, of which
                  twenty-five percent (25%) shall be remitted to the attorney.




{FQ038953 .7 }
            Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 117 of 191



                     Exhibit 1 to Default Prevention and Collection Services Agreement
                                                  Trusts



The National Collegiate Master Student Loan Trust
The National Collegiate Student Loan Trust 2003-1
The National Collegiate Student Loan Trust 2004-1
The National Collegiate Student Loan Trust 2004-2
The National Collegiate Student Loan Trust 2005-1
The National Collegiate Student Loan Trust 2005-2
The National Collegiate Student Loan Trust 2005-3
The National Collegiate Student Loan Trust 2006-1
The National Collegiate Student Loan Trust 2006-2
The National Collegiate Student Loan Trust 2006-3
The National Collegiate Student Loan Trust 2006-4
The National Collegiate Student Loan Trust 2007-1
The National Collegiate Student Loan Trust 2007-2
The National Collegiate Student Loan Trust 2007-3
The National Collegiate Student Loan Trust 2007-4




(F00E8953.7 )
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 118 of 191
                                                                         EXECUTION VERSION




                                     THIRD AMENDMENT TO
             DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT


             This Third Amendment to Default Prevention and Collection Services Agreement (this
"Amendment") is entered into as of June 21, 2012, by and between U.S. Bank National
Association, as successor Special Servicer, a national banking association with a principal place
of business at 60 Livingston Avenue, Mailcode: EP-MN-WS3D, St. Paul MN 55107 (together
with its successors and assigns, the "Successor Special Servicer") and NCO Financial Systems,
Inc., a corporation organized under the laws of the Commonwealth of Pennsylvania having a
place of business at 507 Prudential Road, Horsham, PA 19044 (together with its successors and
assigns, "NCO"), and amends that certain Default Prevention and Collection Services Agreement
entered into by and between First Marblehead Education Resources, Inc. ("FMER"), the initial
Special Servicer, and NCO and dated as of March 1, 2009 (the "Original Agreement"), as
amended by that certain First Amendment to Default Prevention and Collection Services
Agreement entered into by and between FMER and NCO and dated as of May 1, 2009 (the "First
Amendment") and by that certain Second Amendment to Default Prevention and Collection
Services Agreement entered into by and between FMER and NCO and dated as of June 15, 2012
(the "Second Amendment" and, together with the Original Agreement and the First Amendment,
the "NCO Agreement"; and the NCO Agreement, as supplemented and amended by this
Amendment and as same may be further amended from time to time pursuant to Section 11.10,
the "Agreement").


             WHEREAS, pursuant to that certain (i) Special Servicing Agreement dated as of
March 1, 2009 (the "March SSA") by and among FMER as special servicer, U.S. Bank
National Association as back-up special servicer (in such capacity the "Back-Up Special
Servicer") and each of the Trusts listed on Schedule A to the March SSA and (ii) Special
Servicing Agreement dated as of May 1, 2009 (together with the March SSA, the "Special
Servicing Agreements") by and among FMER as special servicer, U.S. Bank as back-up
special servicer, Ambac Assurance Corporation ("Ambac") and each of the Trusts listed on
Schedule A to the May SSA, the Trusts appointed FMER as the initial Special Servicer and
U.S. Bank as the Back-Up Special Servicer for the purposes of providing default prevention,
collection and other special services duties to the Trusts identified in the Special Servicing
Agreements (collectively, the "Trusts" and individually, a "Trust") in accordance with the
terms of the Special Servicing Agreements.


       WHEREAS, pursuant to the Special Servicing Agreements, FMER as initial Special
Servicer arranged for the outsourcing to NCO of certain default prevention and collection
activities of the Special Servicer under the Special Servicing Agreements in the event that U.S.
Bank became the successor Special Servicer under the Special Servicing Agreements;


       WHEREAS, as of June 21 , 2012, the Successor Special Servicer assumed the duties of
the Special Servicer under the Special Servicing Agreements and FMER notified NCO of such
assumption;


       WHEREAS, pursuant to the NCO Agreement, upon being notified of the assumption by
U.S. Bank as Back-up Special Servicer of the duties of the Special Servicer under the Special


14101092.7
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 119 of 191



Servicing Agreements, NCO shall begin performance of the Services specified in the NCO
Agreement;


             WHEREAS, June 21, 2012, is the "Effective Date" for purposes of the Agreement;


        WHEREAS, the Successor Special Servicer and NCO wish to amend the Agreement to
update, expand and confirm the services, including, without limitation, collection and
enforcement services, to be provided by NCO thereunder.


      WHEREAS, pursuant to that certain Special SubServicing Agreement dated        ,2012,
between the Successor Special Servicer and Turnstile Capital Management, L.L.C. a wholly
owned subsidiary of Goal Structured Solutions, Inc. as the Special SubServicer (the "Special
SubServicing Agreement") the Successor Special Servicer has appointed Turnstile as its sub-
servicer (in such capacity, the "Special SubServicer") for purposes of performing the Special
Services required to be performed under the Special Servicing Agreements (other than the
Special Services to be performed by NCO under the Agreement);


       WHEREAS, as part of the Special Services to be performed by it, the Special
SubServicer will be responsible for global portfolio strategy and oversight of NCO's
performance under the Agreement as more fully set forth in the Agreement;


       NOW THEREFORE, in consideration of the premises set forth above, and other good
and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
parties hereto hereby agree as follows:


             1.     Defined Terms. All capitalized terms in this Amendment shall have the same
meaning given to them in the Agreement, unless otherwise expressly stated herein.


             2.     Amendments of the Agreement. The Agreement is hereby amended in the
following respects:


       2.1      The first line of the first paragraph of the Agreement is amended by replacing the
parenthetical, "(hereinafter "Agreement")" with "(such agreement, as same may be amended
from time to time in accordance with Section 1 1 .10, the "Agreement")".


             2.2    Section 1 . 1 of the Agreement is amended by deleting and replacing the defined
terms "Services" and "Subservicers" with the following as applicable:


                           ""Services" means Default Collection Services, Default Prevention
                    Services, Fraud Claims Review, Bankruptcy and Probate Services, and Collection
                    Agency Management Services and the Other Services.


                            "Subservicers" means those subservicers (including for the avoidance of
                    doubt, an OCA) retained by NCO in conformity with the requirements of Section
                    2.12 of this Agreement to perform any of the Services (other than Collection
                    Agency Management Services and Other Services)."


14101092,7                                       2
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 120 of 191



             2.3   The Agreement is further amended by inserting (in alphabetical order, as
appropriate) the following defined terms to Section 1.1 thereof:

                          an
                               Bankruptcy and Probate Services" means those services generally
                   described in Section 2.5 and in Exhibit F attached hereto.


                          "Collection Agency Management Services" means the management,
                   oversight and monitoring of Subservicers retained by NCO pursuant to Section
                   2. 1 2 of the Agreement.


                          "Fraud Claim Review" means those services described generally in
                   Exhibit F hereto.


                          "OCA" means a collection agency retained by NCO to perform any of the
                   Services (other than Collection Agency Management Services), which, for the
                   avoidance of doubt, may be NCO as a servicer.


                          "Operating Guidelines" shall have the meaning ascribed to such term in
                   Section 2.1.


                          "Other Services" means the accounting, reporting and record management
                   services and portfolio strategy services to be performed by NCO as generally
                   described in Sections 2. IB and 2.1C.


                          "Special Servicer Account" means the Special Servicer designated account
                   or accounts to which NCO will remit weekly (or at different intervals) funds in
                   the Account (defined in Section 2.6) representing payments received by NCO
                   (except fees owed to NCO for Default Collection Services.)"


             2.4   Section 2.1 of the Agreement is amended by:


             (a)   adding the following sentence to the end of the first paragraph in Section 2.1 :


                          "NCO directly and/or through its Subservicers shall perform the Services
                          in accordance with this Agreement, including, without limitation, the
                          Exhibits attached hereto and incorporated herein by this reference, and in
                          conformity with the terms and conditions set forth in the NCSLT
                          Operating Guidelines attached hereto as Exhibit G (as same may be
                          updated from time to time pursuant to provisions of Section 11.10, the
                          "Operating Guidelines")."


             (b)   adding the following new Sections immediately following the end of Section 2.1 :


                           "2.1 A Collection Agency Management and Oversight Services, (a) For
                   each ASL subject to this Agreement, NCO shall perform or cause its SubServicers
                   to perform, the Services required for such ASL, in each case, in accordance with


14101092.7                                        3
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 121 of 191



              the terms of this Agreement and the Exhibits attached hereto (including, without
              limitation, the Operating Guidelines). NCO shall supervise, monitor and oversee
              the obligations of, and performance by, Subservicers retained by it to service and
              administer the particular ASLs subject to this Agreement with the goal of
              maximizing the collection of amounts payable on the ASLs. NCO shall oversee
              and consult with its Subservicers from time-to-time as necessary or desirable to
              ensure compliance with the terms of this Agreement (including, without
              limitation, the Exhibits attached hereto). Without limiting the generality of the
              foregoing, NCO shall take such actions as it deems reasonably necessary or
              appropriate, but in conformity with the Operating Guidelines and this Agreement
              to:



              (i)     With respect to Delinquent Loans, transfer all collection activities from
                      the applicable Servicer for a Trust to a Subservicer selected by NCO
                      (which may for the avoidance of doubt, include NCO as subservicer) for
                      the enforcement and collection of such ASLs; provided that NCO shall
                      not be required to transfer such collection activities if GSS Data Services
                      ("GSS") is the Administrator for the Trusts and GSS notifies NCO that it
                      has determined that collections would not be maximized on such
                      Delinquent Loans if the collection activities were transferred to
                      Subservicers;


              (ii)    With respect to Defaulted Loans, in its sole discretion, transfer all
                      collection activities to NCO directly or to an OCA, provided that NCO
                      shall not be required to transfer such collection activities if GSS is the
                      Administrator and GSS determines that it is likely that collections would
                      not be maximized on such Defaulted Loans if the collection activities were
                      transferred to NCO or the OCA, as applicable;


              (iii)   Replace any Subservicer who is deemed to be deficient or negligent in
                      performing the applicable duties outlined in this Agreement or the related
                      subservicing agreement with NCO;


              (iv)    Remit or cause each Subservicer to remit net collections received on
                      Defaulted Loans to the Special Servicer Account;


              (v)     With respect to Defaulted Loans that are over 1 80 days delinquent, cause
                      the Subservicer to (a) roll or reassign accounts from 180 days delinquent
                      into a default recovery queue for collection efforts and (b) remit weekly
                      (or at such other agreed intervals) to the Special Servicer Account for the
                      receipt of collections from a Subservicer for the benefit of the respective
                      Trusts as their interest may appear, cash collected on all Defaulted Loans
                      serviced by such Subservicer for the Trusts; and


              (ix)    Review claim packages prepared by a Servicer for a Trust with respect to
                      Defaulted Loans to confirm, on the basis of such review, that (a) Servicer


14101092.7                                   4
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 122 of 191



                      has complied with applicable servicing guidelines and (b) the loan
                      originator has complied with applicable program guidelines and return the
                      claim packages to the Servicers for further collection efforts and/or cure
                      by the Servicers as provided in the applicable servicing guidelines if it
                      detects Servicer error.


                     (b)      NCO shall provide the Collection Agency Management Services in
              substantially the same manner and of the same quality and standards as it
              generally performs comparable services for itself and others in accordance with
              all customary and usual servicing practices and procedures with a view to
              maximize the value of the ASLs subject to this Agreement and without regard to
              NCO's right to receive compensation for its services hereunder.


                      2. IB   Record Management. Accounting and Reporting Services. NCO
              shall perform the following record management and reporting services:


              (i)     Establish and maintain a system of record for purposes of monitoring and
                      tracking by Trust any ASL subject to the Agreement and in connection
                      therewith, receive data, reports and other information from the applicable
                      Trust's Servicers and from the Subservicers, including, without limitation,
                      as to payments and other amounts collected with respect to Delinquent
                      Loans and Defaulted Loans and update the system of record to reflect such
                      information and data;


              (ii)    Provide monthly reports to the Special SubServicer and the Administrator
                      for each Trust in form and substance reasonably satisfactory to the Special
                      SubServicer and the Administrator (which as of the date hereof shall be in
                      the form of Exhibit A hereto);


              (iii)   Perform (a) periodic audits of Subservicers for compliance and
                      performance reviews in accordance with the Operating Guidelines, (b)
                      provide oversight of the activities of a Subservicer with regard to account
                      management, litigation assistance, bankruptcy, probate and/or settlement
                      strategies, (c) report results of audits and oversight to the Special
                      SubServicer and (d) reconcile and/or resolve any discrepancies or issues;
                      and


              (iv)    Establish and maintain an account or accounts, which may be the Account,
                      in trust for the benefit of the Indenture Trustee and the Trusts for the
                      deposit by a Subservicer of net collections on all Defaulted Loans serviced
                      by such Subservicer for the respective Trusts and in connection therewith
                      preparing or causing to be prepared such control agreement or agreements
                      as may be necessary or desirable to maintain and preserve the lien and
                      security interest therein of the Indenture Trustee under the respective
                      Indentures.




14101092.7                                      5
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 123 of 191



                             2.1C  Global Portfolio Strategy Services, NCO agrees to meet from time
                   to time with Special SubServicer and/or Special Servicer, as applicable, to review
                   strategy with respect to the Student Loan Portfolios subject to this Agreement and
                   performance of the Services and related functions, including, without limitation,
                   the performance and market share of the Subservicers (including without
                   limitation the OCAs), across all segments consistent with the Operating
                   Guidelines. NCO shall perform the Services consistent with the terms of the
                   Agreement and the Operating Guidelines. NCO will have no authority to, and
                   agrees that it will not, make any changes to the procedures and operations set
                   forth in this Agreement and/or the Operating Guidelines without the written
                   consent of the Special Servicer and/or the Special SubServicer pursuant to Section
                   11.10."


                             2. ID   Outsourcing. For avoidance of doubt, the Services to be provided
                   by NCO in accordance with Section 2.1 A, 2. IB, 2.1C and, except as may
                   otherwise be agreed by the Special SubServicer, 2. ID shall be performed directly
                   by NCO.


             2.5   The first paragraph of Section 2.3 and Section 2.3(a) of the Agreement are hereby
amended and restated as follows:


                             "2.3 Default Collection Services. NCO shall perform Default
                   Collection Services in conformity with those Default Collection Services set forth
                   herein and in Exhibit D attached hereto and in conformity with the Operating
                   Guidelines. NCO shall use Dedicated Staff to perform Default Collection
                   Services. Special Servicer shall cause the Servicers to provide to NCO all
                   documents and information specified in the Servicing Agreements and/or
                   Servicing Guidelines.


                    (a)      Generally.


                          (i)   NCO shall review the Claims Package for conformity to the Servicing
                                Guidelines and Program Guidelines. NCO shall return the Claims
                                Package to the Servicers for further collection efforts and/or cure by
                                the Servicers as provided in the Servicing Guidelines and Special
                                Servicer's servicing agreement if it detects Servicer error as prescribed
                                 in the Servicing Guidelines.


                          (ii) NCO shall reconcile all cash collections with its reported results of
                                 operations and transmit all cash receipts (net of the fees set forth on
                                 Exhibit H) weekly (or at such other agreed intervals) to Special
                                 Servicer. NCO shall provide the Default Collection Reports set forth
                                 in Exhibit E. NCO shall assign defaulted ASLs as needed to optimize
                                 collection."


             2.6   Section 2.3(b) (iii)of the Agreement is hereby amended and restated as follows:


14101092.7                                          6
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 124 of 191




                             "(hi)   Special Servicer reserves the right to restrict or otherwise limit at
                   any time, from time to time, the manner or means to be used by NCO in collecting
                   any account, which restrictions may be communicated to NCO by Special
                   Servicer orally or in writing, at Special Servicer's sole discretion. However, for
                   so long as NCO's collection practices conform to the terms of this Agreement, the
                   Operating Guidelines and applicable law, Special Servicer shall not exercise such
                   right."



             2.7   Section 2.4 of the Agreement is hereby amended by adding the following new
clauses (h) and (i) at the end of the second paragraph thereof:

                             "(h)    Notwithstanding anything herein to the contrary, effective as of the
                   date of the Third Amendment, NCO shall administer, manage and oversee
                   collection litigation consistent with the terms of this Agreement, including
                   without limitation, Exhibit D hereto and the Operating Guidelines and, except as
                   contemplated in the Operating Guidelines, no further approval, consent or
                   direction of the Special Servicer shall be required with respect to management of
                   litigation relating to ASLs.


                             (i)     The Special Servicer shall execute and deliver to NCO one or more
                   powers of attorney appointing NCO as the attorney-in-fact and a custodian of
                   records for the Special Servicer for the purpose of executing on behalf of the
                   Special Servicer such affidavits, documents and instruments as may be required to
                   be delivered in connection with the performance of the Services. Notwithstanding
                   anything contained herein to the contrary, neither NCO nor any Subservicer shall,
                   without the Special Servicer's written consent: (i) hire or procure counsel to
                   represent the applicable Trust or Special Servicer without indicating its
                   representative capacity or (ii) prepare, execute or deliver any fdings, forms,
                   affidavits, pleading or other documents on behalf of aTrust or the Special Servicer
                   without indicating its representative capacity. "


             2.8   Section 2.5 of the Agreement is hereby amended and restated in its entirety as
follows:

                             "2.5    Special Accounts.


                             (a)     Notwithstanding anything to the contrary in the NCO Agreement,
                   NCO shall be responsible for servicing any ASL for which the related borrower or
                   guarantor is subject to bankruptcy proceedings as generally described in Exhibit
                   F, including without limitation, the filing of Proofs of Claim and monitoring of
                   same by NCO's Bankruptcy Division. NCO shall also be responsible for fraud
                   processes as generally described in Exhibit F.


                             (b)     In the event any debtor with respect to an ASL that is the subject of
                   Services is deceased, NCO will accept from the Servicers the documentation


14101092,7                                          7
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 125 of 191



                    specified under "Death Claim" under the Servicing Guidelines and will collect the
                    ASL. NCO will otherwise perform in accordance with the terms generally
                    identified under the heading 'Probate Servicing' under Exhibit F."


             2.9    The fourth sentence of Section 2.6 of the Agreement is hereby amended and
restated to read as follows: "NCO will remit on a daily basis (or at different periodic intervals
chosen by Special Servicer), by wire transfer to the respective Trusts' collection accounts (as
identified by the Special Servicer to NCO), all funds in the Account representing payments
received by NCO for the prior day (or alternative periodic basis chosen by the Special Servicer),
except fees owed to NCO for Default Collection Services (which shall be payable to NCO as set
forth in Section 2.3(c)."


             2.10   Section 2.12 of the Agreement is amended and restated as follows:

                           '2. 12     Subservicers.   NCO may retain Subservicers to provide Services
                    (other than the Other Services) under this Agreement. All Subservicers shall be
                    licensed collection agents and other legally authorized persons who meet the
                    eligibility criteria of an OCA as set forth in Section 6 - OCA Eligibility and
                    Network Design of the Operating Guidelines. NCO shall ensure that each
                    Subservicer maintains adequate records and procedures with respect to the
                    services provided by it and otherwise complies with the applicable terms of this
                    Agreement. NCO shall not permit any Subservicer to have access to Confidential
                    Information, including Borrower Data, without first ensuring that such
                    Subservicer has adequate policies and procedures in place, consistent with this
                    Agreement, to safeguard Confidential Information, including borrower data. The
                    retention of a Subservicer shall not relieve NCO of any of its obligations under
                    this Agreement. NCO shall be responsible for the performance or
                    nonperformance of its Subservicers as if such performance or nonperformance
                    were that of NCO. '

             2.11   Section 4.1 of the Agreement is hereby amended as follows:

                           (a)        Section 4.1(a) of the Agreement is amended by deleting the phrase
                    "a corporation duly organized, validly existing and in good standing under the
                    laws of the State of Delaware" and replacing such phrase with "a national banking
                    association organized, validly existing and in good standing under the laws of the
                    United States".


                           (b)        Section 4. 1 (f) of the Agreement is hereby deleted.


             2.12   Section 4.2(g) of the Agreement is hereby amended by adding the following to the
end thereof:

                           "(g)       Legal Proceedings. In the event of any lawsuit in which
                    counterclaims are interposed by a debtor, or where a debtor or other third party
                    shall make any other claim against Special Servicer or any Trusts, the same shall
                    be immediately referred by NCO to Special SubServicer and Special Servicer and


14101092.7                                            8
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 126 of 191



                      Special Servicer shall have the right to intercede and defend such action. No
                      criminal proceedings, real property executions, bailable attachments, commitment
                      orders or other enforcement proceedings, except for the issuance of a subpoena to
                      examine the debtor and restraining notices, shall be instituted by NCO without
                      prior written approval of Special Subservicer."


             2.13     Section 8.1 (a) of the Agreement is hereby amended by adding after the term
"Special Servicer" wherever it appears in such clause (a) the following phrase: "and its
subservicers (including for avoidance of doubt, the Special SubServicer)".




             2.14     Section 9.4 of the Agreement is hereby amended by adding the following new
subsection (d) at the end thereof:

                      "(d)     Servicing Transition. For a period of not less than 120 days following the
             notice of nonrenewal or notice of termination under Section 9. 1 or Section 9.2, as
             applicable, NCO agrees to cooperate and use its commercially reasonable efforts to
             facilitate the orderly transfer of its responsibilities and rights under this Agreement to a
             successor, including without limitation, by providing the Special Servicer, its designee or
             such successor reasonable access, during normal business hours and upon reasonable
             prior notice, to all files, systems and employees of NCO then used in the provision of the
             Services, provided NCO may request any such party to comply with customary
             procedures designed to protect the confidentiality and security of any borrower
             information. Without limiting the generality of the foregoing, NCO agrees to notify its
             Subservicers, its collection agents and other appropriate parties of the transfer of the
             servicing functions and provide (or cause its Subservicers and agents to provide) to the
             successor all documents and records in electronic or other form reasonably requested by
             the Special Servicer or its designee to enable the successor to assume the servicing
             functions performed by NCO under this Agreement (including, without limitation,
             information relating to Delinquent Loans and Defaulted Loans) and shall transfer (and
             cause any collection agent to transfer) to the Indenture Trustee for deposit into the
             Collection Account for the benefit of each Trust net collections received by it with
             respect to the Defaulted Loans. NCO shall be entitled to reimbursement for its
             expenses incurred in performing its obligations hereunder subject to the terms and
             conditions of the SSAs, including, without limitation, the reimbursement limits set
             forth therein."


             2. 1 5   Section 11.1 of the Agreement is hereby amended and replaced in its entirety as
follows:


                              '11.1 Notice Procedure: Addresses. All notices, demands and other
                      communications hereunder shall be in writing and shall be deemed to have been
                      duly given and received at the time delivered by hand, if personally delivered;

14101092.7                                           9
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 127 of 191



                    when receipt is acknowledged, if mailed by certified mail, postage prepaid, return
                    receipt requested; the next business day after timely delivery to the courier, if sent
                    by overnight air courier guaranteeing next-day delivery; and when received, if
                    sent by any other means, as follows:


                           If to Special Servicer:


                           U.S. Bank National Association
                           Attn: Brian Tri
                           60 Livingston Avenue
                           Mailcode: EP-MN-WS3D
                           St. Paul MN 55107
                           with a copy to the Special SubServicer:


                           If to the Special SubServicer:


                           Turnstile Capital Management, LLC
                           401 West A Street, Suite 1300
                            San Diego, California 92101
                           Attn: Alan Amico


                           If to NCO:


                           NCO Financial Systems, Inc.
                           Attn: Thomas Arnst.
                           Executive Vice President and Chief Administrative Officer
                            507 Prudential Road
                           Horsham, Pennsylvania 19044


                    The persons or addresses to which mailings or deliveries shall be made may be
                    changed from time to time by notice given pursuant to the provisions of this
                    Section 11.1.'


             2.16   Section 1 1 . 1 0 of the Agreement is hereby amended and replaced as follows:


                           "11.10 Entire Agreement; Amendments.         The making, execution and
                    delivery of this Agreement by the parties have been induced by no
                    representations, warranties, statements or agreements other than those herein
                    expressed. This Agreement (and the exhibits hereto) and the letter agreement
                    dated as of September 7, 2012, among NCO, the Special Servicer and the Special
                    Subservicer regarding the Fee Agreement with Respect to Special Services
                    embodies the entire understanding of the parties, and there are no further or other
                    agreements or understandings, written or oral, in effect among the parties relating
                    to the subject matter hereof. This Agreement and the exhibits hereto (including,
                    for the avoidance of doubt, the Operating Guidelines) may be amended or
                    modified only by a written instrument signed by NCO, the Special Servicer and


14101092.7                                           10
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 128 of 191



                      the Special Subservicer; provided however that the Operating Guidelines may be
                      amended with notice to but without the written consent of the Special Servicer if
                      the purpose of such amendment or modification is to correct any mistake,
                      eliminate any inconsistency, cure any ambiguity or deal with any matter not
                      covered (i.e., to give effect to the intent of the parties). None of the parties shall
                      be deemed to have waived any of its rights, powers or remedies under this
                      Agreement unless such waiver is approved in writing by an authorized
                      representative of the waiving party.


                The Table of Exhibits to the Agreement is amended by deleting such table in its
             2, 1 6
entirety and the following shall be inserted in lieu thereof:


                              "Exhibit A - Summary Reports
                              Exhibit B - Default Prevention Services
                              Exhibit C - Default Prevention Reports
                              Exhibit D - Default Collection Services
                              Exhibit E - Default Collection Reports
                              Exhibit F - Non-Traditional Collection Services
                              Exhibit G - Operating Guidelines
                              Exhibit H - Fees to NCO
                              Exhibit I -Trusts"


             2. 1 7   Exhibit A to the Agreement is deleted and replaced in its entirety with the form of
Exhibit A attached to this Amendment.


             2. 1 8   Exhibit F to the Agreement is hereby deleted and replaced in its entirety with the
form of Exhibit F attached to this Amendment.


             2. 19    Exhibit G to the Agreement is hereby deleted and replaced in its entirety with the
form of Exhibit G attached to this Amendment.


             2.20     Exhibit H to the Agreement is hereby deleted and replaced in its entirety with the
form of Exhibit H attached to this Amendment.



             3.  Special SubServicer. NCO acknowledges that it has been notified that the
Successor Special Servicer has appointed the Special SubServicer as its subervicer pursuant to
the terms of the Special SubServicing Agreement, with full power and authority to act in its
stead, for all purposes of the Agreement (including, for the avoidance of doubt, this
Amendment.)


             4.       Cooperation.


        (a) NCO acknowledges that FMER as the initial Special Servicer has agreed to cooperate
with the Successor Special Servicer, its agents and subservicers to facilitate the orderly transfer
of duties to the Successor Special Servicer, its subservicers and agents, including, for such
purposes, NCO. As part of such agreement, FMER has agreed that the cooperation period

14)01092.7                                            11
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 129 of 191



contemplated under the Special Servicing Agreements will continue until November 30, 2012.
The parties hereto acknowledges that it is a mutual goal to have a smooth transition and to enable
the Successor Special Servicer through NCO and the Special Subservicer to perform all of the
Special Services required under the Special Servicing Agreements without any assistance from
FMER or the Successor Special Servicer as soon as possible. To this end, NCO agrees to
continue to use reasonable efforts to cooperate with FMER, the Special SubServicer and the
Successor Special Servicer to effect such transfer as expeditiously as possible. NCO
acknowledges that a plan for such transition has been developed, including, without limitation,
the Operating Guidelines.


             (b) NCO acknowledges that the Successor Special Servicer intends to assign and
subservice it's special servicing duties as successor Special Servicer under the Special Servicing
Agreements (collectively, the "SSA Duties") to the Special Subservicer and NCO pursuant to the
terms of the Agreement and the Special Subservicing Agreement, respectively. As such, NCO,
the Successor Special Servicer and the Special Subservicer shall each cooperate in good faith
with one another to implement the assumption of such SSA Duties as are to be performed by
each of NCO and the Special Subservicer, respectively, pursuant to the terms of the NCO
Agreement and the Special Subservcing Agreement, as applicable. For avoidance of doubt, the
Successor Special Servicer hereby acknowledges and agrees that the Special Servicer's
obligations under Section 8.1 of the Agreement are not being assigned to NCO or TCM, it being
understood that such obligations remain with the Successor Special Servicer in its capacity as
successor Special Servicer under the Agreement, subject to (for the avoidance of doubt) the
provisions of Section 1 1 .6 of the Agreement.


             5.     Effect of Amendment. This Amendment shall be effective as of the date first set
forth above. Except as expressly amended by this Amendment, all terms and provisions
contained in the Agreement shall continue in full force and effect, without modification. All
references in the Agreement to the Agreement shall be deemed to mean the Agreement as
modified hereby. This Amendment shall not constitute a novation of the Agreement, but shall
constitute an amendment thereof. The parties hereto agree to be bound by the terms and
conditions of the Agreement, as amended by this Amendment, as though such terms and
conditions were set forth therein. This Amendment may not be amended or otherwise modified
except as provided in the Agreement. The failure or unenforceability of any provision hereof
shall not affect the other provisions of this Amendment or the Agreement.


             6.     Multiple Counterparts. This Amendment may be executed in multiple
counterparts, each of which shall be deemed an original for all purposes and all of which shall be
deemed, collectively, one agreement, but in making proof hereof it shall not be necessary to
exhibit more than one such counterpart. Delivery of an executed counterpart of this Amendment
by facsimile or pdf electronic transmission shall be deemed as effective as delivery of an
originally executed counterpart.




14101092.7                                       12
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 130 of 191



             7.   GOVERNING LAW, THIS AMENDMENT SHALL BE GOVERNED BY,
AND CONSTRUED IN ACCORDANCE WITH, THE INTERNAL LAWS OF THE STATE OF
OHIO, WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF LAW PROVISION
OR RULE THAT WOULD CAUSE THE APPLICATION OF LAWS OF ANY JURISDICTION
OTHER THAN' TO THOSE OF THE STATE OF OHIO. EACH PARTY WAIVES ITS RIGHT
TO A JURY TRIAL WITH RESPECT TO ANY ACTION OR CLAIM ARISING OUT OF
ANY DISPUTE IN CONNECTION WITH THIS AGREEMENT, ANY RIGHTS OR
OBLIGATIONS HEREUNDER OR THE PERFORMANCE OF ANY SUCH RIGHTS OR
OBLIGATIONS.
                          [Remainder of page intentionally left blank]




14101092.7                                  13
Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 131 of 191




       IN WITNESS WHEREOF, the parties hereto have caused this Third Amendment to the
Default Prevention and Collection Services Agreement to be executed as of the date first written
above.

                                             U.S. BANK NATIONAL ASSOCIATION,
                                             as Successor Special Servicer under the
                                             Special Seiyiejpg Agr eements


                                             By:
                                             Name:         Eva D. Kaplan     /
                                             Title:             VI 'Oc^
                                             NCO FINANCIAL SYSTEMS, INC.


                                             By:
                                             Name:
                                             Title:




 14101092.7                                   14
    Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 132 of 191
S




           IN WITNESS WHEREOF, the parties hereto have caused this Third Amendment to the
    Default Prevention and Collection Services Agreement to be executed as of the date first written
    above.

                                                U.S. BANK NATIONAL ASSOCIATION
                                                as Successor Special Servicer under the
                                                 Special Servicing Agreements


                                                By:
                                                Name:
                                                 Title:


                                                NCO FINANCIAL SYSTEMS, INC.

                                                 By:
                                                 Name: Alan B.       Superfine
                                                 Title:   Vice President




    14101092.7                                   14
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 133 of 191



                                    EXHIBIT A
                                 [SEE ATTACHED!




14101092.7
             Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 134 of 191
                                                              Exhibit A - Summary Reports




                                                   Defaulted Principal and Interest Roll Forward


                                            Principal                Interest            Total P and I        Fees         Total Balances


Beginning Balance                            1,000,000.00                50,000.00           1,050,000.00                     1,050,000.00

New Activity Transaction:
New Defaults Added to System                   100,000.00                 5,000.00            105,000.00                        105,000.00

Default Reversals                               (5,000.00)               (1,000.00)             (6,000.00)                       (6,000.00)
Transfers In                                    12,000.00                 1,000.00             13,000.00                         13,000.00

Transfers Out                                  (12,000.00)               (1,000.00)            (13,000.00)                      (13,000.00)


Cash Transactions:
Borrower Payments                              (25,000.00)               (2,000.00)            (27,000.00)      9,000.00        (18,000.00)
Settlements                                     (3,000.00)                                      (3,000.00)                       (3,000.00)


Non-Cash Transactions:
Capitalized interest                             5,000.00                (5,000.00)
Judgements                                       2,000.00                (2,500.00)                (500.00)                        (500.00)
Settlements                                     (5,000.00)               (1,000.00)             (6,000,00)                        (6,000.00)
Loans Removed / Closed                         (10,000,00)               (1,000.00)            (11,000.00)                      (11,000.00)
Adjustments / Other                                500.00                  (500.00)
Accrued Interest                                                          2,000.00              2,000.00                          2,000.00



Calculated Ending Balance                    1,059,500.00                44,000.00           1,103,500.00       9,000.00      1,112,500.00

System Ending Balance                        1,067,500.00                51,000.00           1,118,500.00       9,000.00      1,127,500.00

Variance                                         8,000.00                 7,000.00             15,000.00                         15,000.00

Supporting documentation and remediation needed for all variance items




                                                        New Loans Added to System Reconciliation


New Loans Added to System                       99,000.00

Loans Defaulted at Servicer                    107,000.00

Variance                                        (8,000.00)
Supporting documentation and remediation needed for all variance items




                                                              Cash Receipts Reconciliation


Borrower Payments - Principal                  (25,000.00)
Borrower Payments - Interest                    (2,000.00)
Settlements - Principal                         (3,000.00)
Settlements - Interest
Commissions                                      5,000.00
Recovered Costs                                  2,500.00
Litigation                                       1,000.00
Other Fees                                         500.00

Total Cash Receipts                            (21,000.00)

Actual Cash Receipts                           (18,000.00)

Variance                                        (3,000.00)
Supporting documentation and remediation needed for all variance items
             Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 135 of 191
                                                       Exhibit A - Data Elements

Transaction Detail File
Transaction ID               Unique transaction identifier
LoanID                       Unique loan identifier

SSN                          Borrower SSN

Loan Sequence
Entity                       Short name of the trust
Lender Code                  Changed from owner code
Transaction Date

Effective Date               Effective date of transaction, could occur in prior periods
Transaction code             Transaction code which ties to activity in the above reports
Transaction Description      ties to the above descriptions
Principal Amount
interest amount

Fee amount
Report period


Snapshot Data
LoanID

SSN
Loan Sequence
Entity                       Short name of the trust
Lender Code                  Changed from owner code

Current principal
Current interest
Current fees
Charge off amount
Charge off interest
Interest Rate                Base + Margin

Margin Rate                  Spread
Base Rate                    Benchmark Rate
Default date
Current status               skip, litigation, regular collections, dispute, etc.
Current OCA
Cum. Gross Collections
Placement date
Report period
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 136 of 191



                                           EXHIBIT F:
                           NON-TRADITIONAL COLLECTION SERVICES


Bankruptcy Servicing:


In the event any debtor with respect to any ASL that is the subject of Services becomes a debtor
under the U.S. Bankruptcy Code, NCO shall assign the account to its internal Bankruptcy
Processing Unit. NCO will provide the following services;


               I.   Timely file proofs of claim ("Proofs of Claim") (as required or permitted by the
                    Bankruptcy Code) on behalf of NCT in Chapter 11, 12, 13 and Chapter 7 asset
                    cases, on accounts placed.


              II.   Proof of Claims will be monitored and appended when necessary to ensure the
                    proper payment and receipt of notices from the Bankruptcy Court


             III.   Shall process all Proceeds which are received from Trustees in all bankruptcy
                    cases in which it has filed Proofs of Claim in compliance with the Agreement.


These services will be provided on accounts that qualify as outlined below
         I.    Account balance is greater than or equal to $175.00


              II.   Debt should not be past the Statute of Limitations


             III.   Bankruptcy Case is within the Bar Date at the time of placement


Probate Servicing:


In the event any debtor with respect to any ASL that is the subject of Services becomes deceased,
collection efforts will continue from the non-deceased co-maker. If there is no surviving co
maker, NCO shall assign the account to its internal Deceased and Probate collections Unit.
Provided the account balance is at least $175.00, the following services will be provided, as
deemed necessary based on NCO's industry experience.


               I.   Conduct a search for an open and viable estate


              II.   If a viable estate is identified a claim will be filed on behalf of NCT in
                    compliance with NCO's established business model.


             III.   Monitor the claim to ensure the proper payments are made


             IV.    If no estate is found, NCO will attempt to identify the Personal Representative as
                    defined by law to determine if a repayment option is available




14101092.7
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 137 of 191



Fraud Claims Review:
In the event any debtor with respect to any ASL that is the subject of Services alleges that they
are the victim of Fraud or Identity Theft, the claim will be handled as follows;


  I.         Either NCO or its Subservicer will forward a copy of a fraud affidavit to the consumer.


 II.         Once the Fraud affidavit is completed and returned by the borrower, it will be
             investigated by an internal team at NCO.


III.         NCO will either validate the claim as true and close the account appropriately or respond
             to the consumer with evidence as to why the claim was denied




14101092,7
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 138 of 191



                                           EXHIBIT G


                                  OPERATING GUIDELINES
                        NCSLT Operating Guidelines, version 8/31/12


Definitions:


Base Period: The historical cohort(s) used to determine baseline performance.

Cash Cure Rate: The percentage obtained from the fraction having total Cash Cures as the
numerator and total Cures as the denominator.


Cash Cure: Any Cure which has occurred through a payment received from the borrower.

Cure: An account has been cured if (i) an ASL that is at least thirty (30) days past due but less
than one hundred and eighty (180) days past due becomes less than thirty (30) days past due and
(ii) an ASL that is at least one hundred and eighty (180) days past due with respect to whom the
appropriate Servicer has not yet submitted a Claims Package becomes less than thirty (30) days
past due.


Early Pre- Default: Loans that are 3 1-60 days past due


Goal: Turnstile Capital Management, LLC, a wholly owned subsidiary of Goal Structured
Solutions, Inc.


Initial Period: The period of time which begins on the Transition Date and ends 90 days later.

Indexed Cure Rate: The percentage obtained from the fraction having Cures during the Base
Period as the numerator and Total Delinquent Accounts during the Base Period as the
denominator.


Indexed Cash Cure Rate: The percentage obtained from the fraction having Cash Cures during
the Base Period as the numerator and Total Delinquent Accounts during the Base Period as the
denominator.


Indexed Liquidation Rate: The percentage obtained from the fraction having gross recoveries
during the Base Period as the numerator and total placements during the Base Period as the
denominator.


Liquidation Rate: The percentage obtained from the fraction having gross recoveries for the Base
period as the numerator and total placements for the Base Period as the denominator.

Litigation Accounts: Loans that have been identified for litigation according to the Litigation
Criteria




14101092.7
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 139 of 191



Litigation Criteria: As of the Transition Date, accounts with a current balance of greater than
$1,000, a borrower who does not reside in Puerto Rico or any country outside of the United
States, is collectable under the statute of limitations, and been placed in the Primary, Secondary,
and Tertiary post-default Segment will be submitted for collections. Litigation Criteria can be
changed at NCO's discretion provided, however, that any material changes will be discussed in a
Quarterly Business Review prior to being implemented.


Market Share: The percentage obtained from the fraction with outstanding principal and interest
at a given agency in a given segment as the numerator and total principal and interest within that
segment as the denominator.


NCO Agreement: The Default Services and Collection Services Agreement dated March 1, 2009
and amended on June 15, 2012 and September 7, 2012 between NCO Financial Systems (NCO),
First Marblehead Education Resources and U.S. Bank.

Performance Progression Plan (PPP) - A document that is created by NCO and agreed to by an
OCA which identifies areas of sub-par performance by an OCA, steps which will be taken to
improve performance and address NCO's concerns, and defines how and when performance
improvements will be measured.


Pre-default: Any account which is less than 1 80 days delinquent.

Primary Pre-Default: Loans that are 61-120 days past due.

Primary Post-Default: Loans that have been placed at 1 OCA including the current OCA.

OCA: A third party collection agency retained by NCO to perform any of the Services (other
than Collection Agency Management Services), and NCO.

Secondary Pre-Default: Loans that are 121-180 days past due.

Secondary Post-Default: Loans that have been placed at 2 OCAs including the current OCA

Scorecard Requirements: An internal scorecard developed by NCO which measures call quality
based upon length and disposition of calls, FDCPA compliance, and other factors.

Settlement Loans: Loans that are being fully retired at less than face value per a pre-determined
agreement with the borrower.

Settlement Percentage: The percentage obtained from the fraction with gross dollars collected on
Settlement Loans as the numerator and the total principal and interest on same Settlement Loans
as the denominator.

Segment: A functional area. Pre-default consists of Early, Primary, and Secondary. Post-default
consists of Primary, Secondary, Tertiary, Warehouse, Litigation and others to be created.



14101092.7
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 140 of 191



Services: The defined services in the NCO Agreement.


Six Month Batch Rollup: The sum of the last six monthly vintages which have moved into a post-
default status.

Special Subservicing Agreement: The agreement dated September 7, 2012 between U.S. Bank
National Association (U.S. Bank) and Goal.


Tertiary: Loans that have been worked by a total of 3 OCAs including the current OCA


Total Delinquent Accounts: The total principal and interest of all accounts which have been
placed at an OCA for pre-default collection activity.

Transition Date: October 15th 2012 or such other date on which NCO assumes all operational
duties previously performed by First Marblehead Education Resources.

Warehouse: Loans that have been through Primary Post-Default, Secondary Post-Default and
Tertiary Post-Default and do not meet the Litigation Criteria


Section I : Market share limitations:



             a.   Pre-default: each OCA will have no more than 70% Market Share in a given
                  Segment.    Once total staffing levels for pre-default services are <8 FTE in any
                  Segment, the market share limitation shall no longer apply.
             b.   Post-default: each OCA will have no more than 70% Market Share in a given
                  Segment.    Market share limitations will not apply to loans in the Warehouse Segment
                  or loans in a litigation status.
             c.   Segment Generally: As an account moves to different post-default Segments, the
                  OCA responsible for collecting on the account must change. For example, an account
                  placed at an OCA responsible for primary collections could not be placed at the same
                  OCA for secondary collections. This limitation shall not apply to loans which move
                  into the Warehouse Segment or into a litigation status.


Section 2: OCA Performance Measurement:



             a-    Pre-default: Each OCA's performance in each Segment will be measured against
                   both the Indexed Cure Rate and Indexed Cash Cure Rate. Should any OCA's cure
                   rate be less than 80% of the Indexed Cure Rate or Indexed Cash Cure Rate for 3
                   consecutive months, the OCA will be placed on a Performance Progression Plan. If
                   the cure rate does not return to at least 80% of the Indexed Cure Rate within the
                   timeframe established in the Performance Progression Plan, the OCA will be eligible
                   for a market share reduction as described in Section 3 d.




14101092.7
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 141 of 191



             b.    Post-default: Each OCA's performance in each Segment will be measured against
                  the Indexed Liquidation Rate. Should any OCA's Liquidation Rate be less than 80%
                   of the Indexed Liquidation Rate for 3 consecutive months, the OCA will be place on
                   a Performance Progression Plan. If the Liquidation Rate does not return to at least
                   80% of the Indexed Liquidation Rate within the timeframe established in the
                   Performance Progression Plan, the OCA will be eligible for a market share reduction
                   as described in Section 3d.
             c.   New OCAs: As new OCAs are introduced into a segment there will be insufficient
                  performance data to calculate the metrics used to measure OCA performance. For
                  this reason, OCAs with less than 3 months of pre-default performance history or 6
                   months of post-default performance history will be excluded from the Indexed Cure
                   Rate. Performance of new OCAs will be included in the Quarterly Business Review.


Section 3: Market share allocation and adjustments:

             a.   Initial Period
                    l.    All market share allocations, adjustments, and measurements defined herein
                          will not apply to the Initial Period
                   li.    During the Initial Period, Market Share allocated to NCO will not exceed the
                          following limitations:
                                   • Pre-Default - 35%
                                   • Post-Default Primary Placement -25% of the current month
                                    placements and 12.5% in aggregate
                                   • Post-Default Secondary Placement -40% of the current month
                                    placements and 30% in aggregate
                                   • Post-Default Tertiary Placements -50% of the current month
                                    placements and 40% in aggregate
                                   • Aggregate Post-Default Market Share - 45%


             b-   Minimum Performance Standards - Pre-Default: In order to be eligible for Market
                  Share increases, an OCA working pre-default accounts must maintain the following
                  requirements:
                          •   Cash Cure Rate - Early must be at least 72%
                          •   Cash Cure Rate - Primary must be at least 70%
                          •   Cash Cure Rate - Secondary must be at least 60%
                          •   Call quality - Calls must both be made in a timely manner and satisfy the
                              Scorecard Requirements.


             Failure to meet all minimum thresholds for 3 consecutive months would make the OCA
             eligible for a market share reduction. Additionally each OCA must perform to the
             standards established in their contract. Evaluation of OCAs will incorporate operational




14101092.7
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 142 of 191



             feedback from NCO including the timeliness and accuracy of reporting, placement and
             recall of accounts, and litigation monitoring.

             c.   Minimum Performance Standards - Post Defaults: In order to be eligible for market
                  share increases, an OCA working post-default accounts must maintain the following
                  requirements:
                         •   Settlement Percentage, Primary - The average rate must be at least 80%
                             with no individual settlements below 65%

                         •   Settlement Percentage, Secondary - The average rate must be at least
                             65% with no individual settlements below 50%
                         •   Settlement Percentage, Tertiary - The average rate must be at least 55%
                             with no individual settlements below 40%
                         •   Settlement Percentage - Warehouse must be at least 55% with no
                             individual settlements below 45%
                         •   Call quality- Calls must both be provided in a timely manner and satisfy
                             the Scorecard Requirements. 3 consecutive months would make the OCA
                             eligible for a market share reduction.


             Failure to meet all minimum thresholds for 3 consecutive months would make the OCA
             eligible for a market share reduction. Additionally each OCA must perform to the
             standards established in their contract. Evaluation of OCAs will incorporate operational
             feedback from NCO including the timeliness and accuracy of reporting, placement and
             recall of accounts, and litigation monitoring.

             d.   Market share adjustments:
                         Up to 10% of market share in any segment can be allocated at NCO's
                         discretion to new OCAs and for testing purposes at any time.
                   ii.   Any OCA which fails to meet the minimum performance standards defined
                         herein will be eligible for a reduction in Market Share of up to 15%.
                   in.   Any OCA which exceeds the performance standards defined herein shall be
                         eligible for an increase in Market Share of up to 1 5%.
                   IV.   Upon the creation of a new Segment, the initial allocation to any OCA will
                         not be subject to the limitations in established in Section d ii and iii, provided
                         that the total market share allocated to any OCA does not exceed [70%]. No
                         new Segment shall be created without the consent of all parties to this
                         agreement.

                   v.    Market share adjustments will generally occur in conjunction with a QBR,
                         however NCO has the right to make market share adjustments at any time if
                         circumstances warrant.




14101092.7
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 143 of 191



     Section 4 - Quarterly Business Review:


     Goal will be responsible for scheduling the Quarterly Business Review (QBR) as provided
     for in the Special Subservicing Agreement. Each QBR will discuss the following items:


                  •     NCO adherence to the Operating Guidelines
                  •     Staffing levels by segment and corresponding ACRs
                  •     SSA reimbursement limits, projections, and staffing changes
                  •     Prior quarter OCA performance and operational changes
                            o   Hire / fire of OCAs
                            o   Market Share adjustments
                            o   Inventory changes

                  •     Portfolio reporting - actual vs. forecast
                            o   Delinquency rate
                            o   Forbearance rate
                            o   Default rate
                  •     Quality and Compliance Report
                  •     Pending legislation (both debtors and others)
                  •     Review of NCO pre and post-default performance (as performing in the OCA
                        capacity)
                  •     Strategy review
                  •     Such other matters designated by Goal or NCO


     Section 5 - OCA Management:


             a.       NCO will perform a QBR with any OCA who receives >$125k in quarterly
                      compensation and provide the associated documentation to Goal. For agencies
                      receiving more than $250k in quarterly revenue, NCO will conduct a site visit at
                      least once per year in conjunction with a regularly scheduled OCA Audit.
             b.       Goal will be responsible for monitoring and auditing the performance of NCO in its
                      capacity as an OCA in conjunction with the QBR and as specified in the Special
                      Subservicing Agreement.


     Section 6 - OCA Eligibility and Network Design:

     NCO will be responsible for the selection of new OCAs for potential inclusion into the
     NCSLT network design. NCO will perform all necessary due diligence, including a site
     visit.




14101092.7
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 144 of 191



     Any new OCA must meet the following criteria prior to being added to the OCA network:


             •   Performed work in either student loan or consumer bank card asset classes within
                 last year

             •   Actively licensed in all statesjwhere they will be performing collections activities.
             •   Have a recent SAS 70, Type II or equivalent that can be provided; PCI
                 Certification
             •   Is in good financial standing and is able to provide two years of audited financials
             •   Pass a basic background check of their company and principals
             •   FDCPA training program, as well as a dedicated Quality Assurance team that
                 monitors


     Any addition of an OCA is subject to the notice and consent requirements established in
     Section 2.12 of the NCO agreement, it being understood that no consent will be unreasonably
     withheld so long as the above criteria have been met.


     Section 7 - Updates and Revisions to the Operating Guidelines

     Any proposed changes or revisions to the Operating Guidelines will be discussed during a
     Quarterly Business Review. Changes to the Operating Guidelines will be effective with the
     written consent of NCO, Goal, and U.S. Bank.




14101092.7
         Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 145 of 191



                                                EXHIBIT H
         TO DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT
                                                    FEES


Default Prevention:
For loans that roll at 31+ days from servicer to NCO Default Prevention Collectors and to be
managed up until 180 days past due or lender mandated charge off date, including loans in
Claims Review:
Pricing
$5,000.00 per month for each pre-approved NCO FTE. An "FTE" is the equivalent of 147
production hours in a month.
Initial Staffing Ratios
     •       The number of FTEs dedicated by NCO for this engagement shall be as mutually agreed,
     •       Any increase or decrease to staffing levels will be communicated in writing at least
             fifteen days (15) prior to the month in which the change shall be effective.
Performance Incentive
NCO will be further compensated based on reaching and/or exceeding agreed upon "Cure Rate"
goals outlined below. The incentive compensation will be a % of the base rate billed in the same
month for each stage.
Below numbers are a weighted average for a given month:
                                                                                            Secondary
   Bonus based on billed                  Early                 Primary            60 Day Replacement
   amount for number of            30 Day Evaluation       60 Day Evaluation            Evaluation
      reps in each stage              (31-60 DPP)            (61-120 DPP)             (121-180 DPP)
               All*
 Tier 1 = 3%                             52.00%                  56.00%                      16.00%
 Tier 2 = 7%                             54.00%                  58.00%                      18.00%
 Tier 3 = 13%                            56.00%                  61.00%                      20.00%
                                     $12,000 for top         $12,000 for top
                                         agency*                agency*           $6,000 for top agency*
 Bonus structure                      (details below)        (details below)           (details below)




14101092.7
         Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 146 of 191



     Cash Cure Percentages
    NCO is expected to maintain the below percentage of cures attributable to cash resolution (as
    opposed to MGRS, Forbearance, and the Reduced Payment Program). Falling below this
     ratio will cause NCO to be ineligible for the "top agency bonus" for the period as well as
     ineligible for volume increases, both described more fully below.
                      Early                         Primary                        Secondary
         30 Day Evaluation (31-60           60 Day Evaluation (61-120         60 Day Replacement
                      DPP)                            DPS}                  Evaluation (121-180 DPP)
                      72%                              70%                            60%


     •       NCO will compete for a "top agency bonus" each month.         A weighted average will be
             compared on the initial 30 day evaluation (31-60 DPD), the 60 day evaluation (61-120
             DPD) and the Replacement 60 day evaluation (121-180 DPD). The agency with the best
             cure rate for each of these evaluations will earn a $12,000, $12,000 and $6,000 "top
             agency bonus," respectively.
     •       NCO cure rates will be measured to two decimal points, and in the event of a tie will
             revert to the agency with the highest Cash Cure Percentage.
     •       NCO must achieve a minimum of a Tier 1 performance level to be eligible for the "top
             agency bonus."
     •       NCO must not fall below the targeted Cash Cure Percentage to be eligible for the "top
             agency bonus."
     •       If the top agency falls below the Cash Cure Percentage goal, the next best agency will
             inherit the "top agency bonus" provided they have not fallen below their Cash Cure
             Percentage target and have achieved at least Tier 1 performance.
Volume Increase Opportunity
Monthly, 31+ DPD volume may be reallocated as follows:
     •       NCO will be ranked based on 31+ day evaluations within a given month, and may be
             given an increase of volume placed at 31+ DPD for the following month based on
             that rank. Conversely, poorer performing agencies may realize a decrease in volume
             for the following month based on their rank.
     •       NCO may not fall below Cash Cure Percentage targets listed above to qualify for any
             volume increases.
     •       NCO will be notified of monthly results and how they will impact the FTE counts
             outlined above.




14101092.7
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 147 of 191



Post Default Collections (including probate recoveries):
NCO to utilize Default Collectors for all of post default collections prior to litigation.
a.           Payments on First Placements
              NCO shall receive a fee equal to twenty percent (20%) of all amounts collected directly
              from the Borrower(s) on each account.
b.           Payments on Second Placements
              NCO shall receive a fee equal to twenty-nine percent (29%) of all amounts collected
              directly from the Borrower(s) on each account.
c.           Payments on Third Placements
              NCO shall receive a fee equal to thirty-three (33%) of all amounts collected directly
              from the Borrower(s) on each account.
d.           Accounts in Litigation
              Amounts collected on accounts referred by NCO to an attorney for formal legal
              proceedings will be deposited into the account, and NCO will be entitled to a fee on any
              such amount equal to thirty percent (30%) of all amounts collected by the attorney from
              the borrower.
e.           Warehouse Placements.
              NCO shall receive a fee equal to forty percent (40%) of all amounts collected direclty
              from Borrowers on each account.




14101092.7
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 148 of 191




                                      FOURTH AMENDMENT TO
           DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT


            This Fourth Amendment to Default Prevention and Collection Services Agreement (this
    "Amendment"! is entered into as of July 1, 2014, by and between U.S. Bank National
    Association, as successor Special Servicer, a national banking association with a principal place
    of business at 60 Livingston Avenue, Mailcode: EP-MN-WS3D, St. Paul MN 55107 (together
    with its successors and assigns, the "Successor Special Servicer"! and NCO Financial Systems,
    Inc., a corporation organized under the laws of the Commonwealth of Pennsylvania having a
    place of business at 507 Prudential Road, Horsham, PA 19044 (together with its successors and
    assigns, 'NCO"), and amends that certain Default Prevention and Collection Services Agreement
    entered into by and between First Marblehead Education Resources, Inc. ("FMER"), the initial
    Special Servicer, and NCO and dated as of March 1, 2009 (the "Original Agreement"!, as
    amended by that certain First Amendment to Default Prevention and Collection Services
    Agreement entered into by and between FMER and NCO and dated as of May 1, 2009 (the "First
    Amendment"! and by that certain Second Amendment to Default Prevention and Collection
    Services Agreement entered into by and between FMER and NCO and dated as of June 1 5, 2012
    (the "Second Amendment" and, together with the Original Agreement and the First Amendment,
    the "NCO Agreement": and the NCO Agreement, as supplemented and amended by this
    Amendment and as same may be further amended from time to time pursuant to Section 1 1,10,
    the "Agreement"!.



           WHEREAS, pursuant to that certain (i) Special Servicing Agreement dated as of
    March 1, 2009 (the "March SSA"! by and among FMER as special servicer, U.S. Bank
    National Association as back-up special servicer (in such capacity the "Back-Up Special
    Servicer") and each of the Trusts listed on Schedule A to the March SSA and (ii) Special
    Servicing Agreement dated as of May 1, 2009 (together with the March SSA, the "Special
    Servicing Agreements"! by and among FMER as special servicer, U.S. Bank as back-up
    special servicer, Ambac Assurance Corporation ("Ambac"! and each of the Trusts listed on          •
    Schedule A to   the May SSA,   the Trusts appointed  FMER    as the  initial Special Servicer and
    U.S. Bank as the Back-Up Special Servicer for the purposes of providing default prevention,
    collection and other special services duties to the Trusts identified in the Special Servicing
    Agreements (collectively, the "Trusts" and individually, a "Trust"! in accordance with the
    terms of the Special Servicing Agreements.


             WHEREAS, pursuant to the Special Servicing Agreements, FMER as initial Special
    Servicer arranged for the outsourcing to NCO of certain default prevention and collection
    activities of the Special Servicer under the Special Servicing Agreements in the event that U.S.
    Bank became the successor Special Servicer under the Special Servicing Agreements;


            WHEREAS, as of June 21, 2012, the Successor Special Servicer assumed the duties of
    the Special Servicer under the Special Servicing Agreements and FMER notified NCO of such
=
    assumption;
i
i
           WHEREAS, pursuant to the NCO Agreement, upon being notified of the assumption by
    U.S. Bank as Back-up Special Servicer of the duties of the Special Servicer under the Special




i
j


1                                                                                        w
              Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 149 of 191




        Servicing Agreements, NCO shall begin performance of the Services specified in the NCO
        Agreement;

                  WHEREAS, June 21, 2012, is the "Effective Date" for purposes of the Agreement;


                  WHEREAS, the Successor Special Servicer and NCO wish to amend the Agreement to
        update, expand and confirm the services, including, without limitation, collection and
        enforcement services, to be provided by NCO thereunder.


                  WHEREAS, pursuant to that certain Special SubServicing Agreement dated                 ,2012,

        between the Successor Special Servicer and Turnstile Capital Management, LX.C. a wholly
        owned subsidiary of Goal Structured Solutions, Inc. as the Special SubServicer (the "Special
        SubServicing Agreement") the Successor Special Servicer has appointed Turnstile as its sub-
        servicer (in such capacity, the "Special SubServicer") for purposes of performing the Special
        Services required to be performed under the Special Servicing Agreements (other than the

        Special Services to be performed by NCO under the Agreement);

               WHEREAS, as part of the Special Services to be performed by it, the Special
        SubServicer will be responsible for global portfolio strategy and oversight of NCO's
        performance under the Agreement as more fully set forth in the Agreement;


               NOW THEREFORE, in consideration of the premises set forth above, and other good
        and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
        parties hereto hereby agree as follows:


                       JL       Defined Terms. All capitalized terms in this Amendment shall have the same
        meaning given to them in the Agreement, unless otherwise expressly stated herein.
;
                       2.        Amendments of the Agreement. The Agreement is hereby amended in the
        following respects:


!                  2.1        The Exhibits to the Agreement are amended as follows:
i

                   (a) Exhibit G to the Agreement is deleted and replaced in its entirety with the form of
!                      Exhibit G attached to this Amendment, identified as version 7/1/14.


                   (b) Exhibit H to the Agreement is deleted and replaced in its entirety with the form of
                            Exhibit H attached to this Amendment, identified as version 7/1/14.


                       3,      Effect of Amendment. This Amendment shall be effective as of the date first set

i       forth above, Except as expressly amended by this Amendment, all terms and provisions
        contained in the Agreement shall continue in full force and effect, without modification. All
        references in the Agreement to the Agreement shall be deemed to mean the Agreement as
        modified hereby. This Amendment shall not constitute a novation of the Agreement, but shall
!
        constitute an amendment thereof The parties hereto agree to be bound by the terms and

!       conditions of the Agreement, as amended by this Amendment, as though such terms and

          14101092.7                                            2




n

    3
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 150 of 191




     conditions were set forth therein. This Amendment may not be amended or otherwise modified
     except as provided in the Agreement. The failure or unenforceability of any provision hereof
     shall not affect the other provisions of this Amendment or the Agreement.


             4,    Multiple Counterparts. This Amendment may be executed in multiple
     counterparts, each of which shall be deemed an original for all purposes and all of which shall be
     deemed, collectively, one agreement, but in making proof hereof it shall not be necessary to
     exhibit more than one such counterpart. Delivery of an executed counterpart of this Amendment
     by facsimile or pdf electronic transmission shall be deemed as effective as delivery of an
     originally executed counterpart.

              5 GOVERNING LAW, THIS AMENDMENT SHALL BE GOVERNED BY,
     AND CONSTRUED IN ACCORDANCE WITH, THE INTERNAL LAWS OF THE STATE OF
5

     OHIO, WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF LAW PROVISION
     OR RULE THAT WOULD CAUSE THE APPLICATION OF LAWS OF ANY JURISDICTION
     OTHER THAN TO THOSE OF THE STATE OF OHIO. EACH PARTY WAIVES ITS RIGHT
     TO A JURY TRIAL WITH RESPECT TO ANY ACTION OR CLAIM ARISING OUT OF
     ANY DISPUTE IN CONNECTION WITH THIS AGREEMENT, ANY RIGHTS OR
!    OBLIGATIONS HEREUNDER OR THE PERFORMANCE OF ANY SUCH RIGHTS OR
?     OBLIGATIONS.
::                                [Remainder of page intentionally left blank]




!




                                                                                                          «
     Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 151 of 191




         IN WITNESS WHEREOF, the parties hereto have caused this Fourth Amendment to the Default
Prevention and Collection Services Agreement to be executed as of the date first written above.



                                             U.S. BANK NATIONAL ASSOCIATION, as Successor
                                             Special Servicer under the Special Servicing Agreements

                                             By:

                                                              Brian CTri
                                             Name:
                                                            Vice President
                                             Title:




                                             NCO FINANCIAL SYSTEMS, INC.

                                             By:


                                             Name: Joseph P. Ban-

                                             Title: Vice President



                                          Acknowledged and Agreed:

                                           TURNSTILE CAPITAL MANAGEMENT, LLC

                                           By:


                                           Name: Kenneth L. Ruggiero


                                           Title:     President and CEO




 14101092.6
             Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 152 of 191




                                               EXHIBIT G

                                          OPERATING GUIDELINES

                                  NCSLT Operating Guidelines, version 7/1/14

         Definitions;

         Base Period: The historical cohort(s) used to determine baseline performance.

         Cash Cure Rate: The percentage obtained from the fraction having total Cash Cures as the
         numerator and total Cures as the denominator.

         Cash Cure: Any Cure which has occurred through a payment received from the borrower.

         Cure: An account has been cured if (i) an ASL that is at least thirty (30) days past due but less
         than one hundred and eighty (180) days past due becomes less than thirty (30) days past due and
         (ii) an ASL that is at least one hundred and eighty (180) days past due with respect to whom the
         appropriate Servicer has not yet submitted a Claims Package becomes less than thirty (30) days
!        past due.                  .

j        Early Pre- Default: Loans that are 3 1-60 days past due

i        Goal: Turnstile Capital Management, LLC, a wholly owned subsidiary of Goal Structured
         Solutions, Inc.

         Initial Period: The period of time which begins on the Transition Date and ends 90 days later.

         Indexed Cure Rate: The percentage obtained from the fraction having Cures during the Base
         Period as the numerator and Total Delinquent Accounts during the Base Period as the
         denominator.

         Indexed Cash Cure Rate: The percentage obtained from the fraction having Cash Cures during
         the Base Period as the numerator and Total Delinquent Accounts during the Base Period as the
         denominator.


r
         Indexed Liquidation Rate: The percentage obtained from the fraction having gross recoveries
i        during the Base Period as the numerator and total placements during the Base Period as the
         denominator.

         Liquidation Rate: The percentage obtained from the fraction having gross recoveries for the Base
         period as the numerator and total placements for the Base Period as the denominator.

          Litigation Accounts: Loans that have been identified for litigation according to the Litigation
          Criteria




          14101092.6




                                                                                                             3
    MM
                   Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 153 of 191
    s




             Litigation Criteria :

                                                                                     NCSLT Next Segment Procession
                                                                                                                                      Tertiary                            Quid
                                                                Primary                            Secondary
                                                                                                                                         Recovery Score >600 Recovery<-600 Recovery Score >6QQ
                                                  Recovery <*600 i Recovery Scores 600 Recovery <=600 Recovery Score >600 Recovery** $00
                                                                                                                             Quad                Quad         Warehouse          Warehouse
                                                    Secondary    •    Secondary         Tertiary           Tertiary
                       ea!an«<$2k                                                                                                                                legal             Legal
                                                                                        Tertiary           Tertiary          Quad                Quad
               lower 3 Quartlles Legal Score        Secondary    :    Secondary
                                                                                                           Tertiary          Legal               Quad            legal             Legal
                                                    Secondary         Secondary           Legal
              Upper QuartUe Legal score < &ok                                                                                                    Quad            legal             Legal
                                                                                          Legal            Tertiary          Legal
             Upper Quartile Legal Score => $40k       Legal           Secondary
                                                                                                                             legal               Legal           Legal             Legal
                                                      legal               Legal           Legal                Legal
                     Cease and Desist




                                                                                                       interest
             Market Share: The percentage obtained from the fraction with outstanding principal and
                                                                                                           that
             at a given agency in a given segment as the numerator and total principal and interest within
             segment as the denominator.
                                                                                               1, 2009
             NCO Agreement: The Default Services and Collection Services Agreement dated March
             and amended on June 15, 2012 and September 7, 2012 between NCO Financial Systems (NCO),
i            First Marblehead Education Resources and U.S. Bank.
                                                                                                    by an
             Performance Progression Plan (PPP) - A document that is created by NCO and agreed to
                                                                  an OCA, steps which will he taken to
             OCA which identifies areas of sub-par performance by
                                                                                                   ce
             improve performance and address NCO's concerns, and defines how and when performan
             improvements will be measured.

             Pre-default: Any account which is less than 1 80 days delinquent.
i

             Primary Pre-Default: Loans that are 61 -120 days past due.
\
             Primary Post-Default: Loans that have been placed at 1 OCA including the current OCA.
                                                                                                 (other
A            OCA: A third party collection agency retained by NCO to perform any of the Services
             than Collection Agency Management Services), and NCO.

              Secondary Pre-Default: Loans that are 121-180 days past due.
                                                                                                  OCA
              Secondary Post-Default: Loans that have been placed at 2 OCAs including the current
                                                                                            call quality
              Scorecard Requirements: An internal scorecard developed by NCO which measures
              based upon length and disposition of calls, FDCPA compliance, and other factors.
                                                                                                           mined
              Settlement Loans: Loans that are being fully retired at less than face value per a pre-deter
              agreement with the borrower.

                                                                                                   collected on
              Settlement Percentage: The percentage obtained from the fraction with gross dollars
                                                                            interest on same Settlemen t Loans
              Settlement Loans as the numerator and the total principal and
              as the denominator.
                                                                                                           ult
              Segment: A functional area. Pre-default consists of Early, Primary, and Secondary. Post-defa
              consists of Primary, Secondary, Tertiary, Warehouse, Litigation and others to be created.

              Services: The defined services in the NCO Agreement.



               14101092.6




        3-
         Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 154 of 191




                                                                                       into a post-
     Six Month Batch Rollup: The sum of the last six monthly vintages which have moved
     default status.
                                                                                   U.S. Bank
     Special Subservicing Agreement: The agreement dated September 7, 2012 between
     National Association (U.S. Bank) and Goal.
                                                                                      OCA
     Tertiary: Loans that have been worked by a total of 3 OCAs including the current
                                                                                        have been
     Total Delinquent Accounts'. The total principal and interest of all accounts which
     placed at an OCA for pre-default collection activity.

     Transition Date: October 15th 2012 or such other date on which NCO assumes all operational
     duties previously performed by First Marblehead Education Resources .
                                                                                     fault and
     Warehouse: Loans that have been through Primary Post-Default, Secondary Post-De
     Tertiary Post-Default and do not meet the Litigation Criteria

     Sectionl ; Market share limitations:


5               a.       Pre-default: each OCA will have no more than 70% Market Share in a given
3
••
                         Segment. Once total staffing levels for pre-default services are <8 FTE in any
i                        Segment, the market share limitation shall no longer apply.
                b. Post-default: each OCA will have no more than 70% Market Share in a given
                         Segment. Market share limitations will not apply to loans in the Warehouse Segment
\                        or loans in a litigation status.
%
                                                                                                      the
                c.       Segment Generally: As an account moves to different post-default Segments,
                                                                                                      account
                         OCA responsible for collecting on the account must change. For example, an
                                                                                                         same
                         placed at an OCA responsible for primary collections could not be placed at the
                         OCA for secondary collections. This limitation shall not apply to loans which move
                         into the Warehouse Segment or into a litigation status.


      Section 2: OCA Performance Measurement:



                    a.    Pre-default: Each OCA's performance in each Segment will be measured against
                                                                                                  cure
                          both the Indexed Cure Rate and Indexed Cash Cure Rate. Should any OCA's
                                                                                                           3
                          rate be less than 80% of the Indexed Cure Rate or Indexed Cash Cure Rate for
                                                                                                    ion Plan.  If
                          consecutive months, the OCA will be placed on a Performance Progress
                                                                                                         the
                          the cure rate does not return to at least 80% of the Indexed Cure Rate within
                          timeframe established in the Performance    Progress  ion Plan, the OCA will be eligible
                          for a market share reduction as described in Section 3 d.
                    b.    Post-default: Each OCA's performance in each Segment will be measured against
                                                                                                           80%
                          the Indexed Liquidation Rate. Should any OCA's Liquidation Rate be less than
                          of the Indexed Liquidation Rate for 3 consecutive months, the OCA    will be place on
                                                                                                                •
                          a Performance Progression Plan, If the Liquidation Rate does not return to at least
                           80% of the Indexed Liquidation Rate within the timefram e establish ed in the



       14101092.6




                                                                                                                     ?i
            Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 155 of 191




                                                                                                      redaction
                            Performance Progression Plan, the OCA will be eligible for a market share
                            as described in Section 3d.
                                                                                                        ent
                  c.        New OCAs: As new OCAs are introduced into a segment there will be insuffici
                                                                                                       nce. For
                            performance data to calculate the metrics used to measure OCA performa
                                                               months  of pre-defa ult performa nce history or 6
                            this reason, OCAs with less than 3
                                                                                                         Cure
                            months of post-default performance history will be excluded from the Indexed
                                                                                                      Review.
                            Rate. Performance of new OCAs will be included in the Quarterly Business

         Section 3: Market share allocation and adjustments:

                  a.        Initial Period
                              i.    All market share allocations, adjustments, and measurements defined herein
                                    will not apply to the Initial Period
                             ii.    During the Initial Period, Market Share allocated to NCO will not exceed the
                                    following limitations:
                                             • Pre-Default - 35%
                                             • Post-Default Primary Placement -25% of the current month
                                              placements and 12.5% in aggregate
                                             • Post-Default Secondary Placement -40% of the current month
                                              placements and 30% in aggregate
                                             • Post-Default Tertiary Placements -50% of the current month
                                               placements and 40% in aggregate
                                             • Aggregate Post-Default Market Share - 45%

                                                                                                Market
                   b. Minimum Performance Standards - Pre-Default: In order to be eligible for
                                                                                               following
                      Share increases, an OCA working pre-default accounts must maintain the

I                           requirements:
                                    •    Cash Cure Rate - Early must be at least 72%
                                    •    Cash Cure Rate - Primary must be at least 70%
                                     •   Cash Cure Rate - Secondary must be at least 60%
I
                                     •   Call quality - Calls must both be made in a timely manner and satisfy the
!                                        Scorecard Requirements.
                                                                                                  the OCA
i                  Failure to meet all minimum thresholds for 3 consecutive months would make
                                                          Addition ally each OCA must  perform to the
                   eligible for a market share reduction.
                                                                                                         nal
                   standards established in their contract. Evaluation of OCAs will incorporate operatio
                                                                                                    nt and
                   feedback from NCO including the timeliness and accuracy of reporting, placeme
                   recall of accounts, and litigation monitoring.
is
                       c.    Minimum Performance Standards - Post Defaults: In order to be eligible for market
                                                                                                              g
r;                           share increases, an OCA working post-default accounts must maintain the followin
                             requirements:




          14101092.6




s


     k
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 156 of 191




                                                                      NCSLT Revised Settlement Parameters
                                                                                                                                                                 Warehouse
                                                                            Secondary              Tertiary                  quad
                                                         Primary
                                                                                                                                           Floor   Aggregate   Floor   Aggregate
                                                             Aggregate   Floor   Aggregate   Floor       Aggregate   Floor    Aggregate
                                                     Floor
                                                                                                                                    55%    40%       50%       35%        45%
                                                                75%      60%        70%      50%            $0%      45%
                Stat Date >6 Months                  SS%
                                                                                                                                           35%       None      35%       None
                                                                N/A      N/A        N/A      N/A     :      N/A      N/A            N/A
     Post-Judgment Difficult (NC, SC.TO, PA. f L)    N/A
                                                                                                                                                               30%       None
                                                                         N/A        N/A                     m....    N/A.,          ,N/A             None.
          StatDate<6Mon!hj,npMS/WI                   N/A        N/A _                                                                                None      2054      None
                                                                                             N/A            N/A      N/A            N/A    25%
                                                     N/A        N/A      N/A        N/A
          3 < Stat Date <6 Months, MS/WI                                                                                            N/A    15%       None      1054      None
                                                                N/A      N/A        N/A      N/A            N/A      N/A
            Stat Date < 3 Months, MS/Wf              N/A




                                                                                         make the OCA
                  Failure to meet all minimum thresholds for 3 consecutive months would
                                                                           OCA must perform to the
                  eligible for a market share reduction. Additionally each
                                                                                           rate operational
                  standards established in their contract. Evaluation of OCAs will incorpo
                                                                                          placement and
                  feedback from NCO including the timeliness and accuracy of reporting,
                  recall of accounts, and litigation monitoring.

                   d.     Market share adjustments:
                                 i.     Up to 10% of market share in any segment can be allocated at NCO's
                                        discretion to new OCAs and for testing purposes at any time.
                             ii.        Any OCA which fails to meet the minimum performance standards defined
a                                       herein will be eligible for a reduction in Market Share of up to 15%.
                                                                                                              be
                                         Any OCA which exceeds the performance standards defined herein shall
!                           iii.
                                        eligible for an increase in Market Share of up to 15%.
\                                                                                                                    will
i                            iv.         Upon the creation of a new Segment, the initial allocation to any OCA
                                                                                                                   provided
i                                        not be subject to the limitations in established in Section d ii and iii,
                                                                                                                       No
                                         that the total market share allocated to any OCA does not exceed [70%].
                                         new Segment shall be created without the consent of all parties to this
:
is                                       agreement.
                                                                                                             QBR,
=                                v.      Market share adjustments will generally occur in conjunction with a
                                                                                                             time if
                                         however NCO has the right to make market share adjustments at any
                                          circumstances warrant.

             Section 4 - Quarterly Business Review:
:

                                                                                   (QBR) as provided
             Goal will be responsible for scheduling the Quarterly Business Review
                                                                                           g items:
             for in the Special Subservicing Agreement. Each QBR will discuss the followin

                            •         NCO adherence to the Operating Guidelines
                            •         Staffing levels by segment and corresponding ACRs
                            •         S SA reimbursement limits, proj ections, and staffing changes
                            •         Prior quarter OCA performance and operational changes
                                           o        Hire / fire of OCAs
                                           o        Market Share adjustments
                                           o        Inventory changes
                             •        Portfolio reporting - actual vs. forecast
                                           o        Delinquency rate
                                           o        Forbearance rate



       14101092.6




                                                                                                                                                                                   B.
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 157 of 191




                              o   Default rate
                   •       Quality and Compliance Report
                   •       Pending legislation (both debtors and others)
                   •       Review of NCO pre and post-default performance (as performing in the OCA
                           capacity)
                   •       Strategy review
                   •       Such other matters designated by Goal or NCO


        Section 5 - OCA Management:
i
k
             a.        NCO will perform a QBR with any OCA who receives >$ 125k in quarterly
                       compensation and provide the associated documentation to Goal. For agencies
                       receiving more than $250k in quarterly revenue, NCO will conduct a site visit at
                       least once per year in conjunction with a regularly scheduled OCA Audit.
              b.       Goal will be responsible for monitoring and auditing the performance of NCO in its
                       capacity as an OCA in conjunction with the QBR and as specified in the Special
                       Subservicing Agreement.


        Section 6 - OCA Eligibility and Network Design;

n       NCO will be responsible for the selection of new OCAs for potential inclusion into the
5       NCSLT network design. NCO will perform all necessary due diligence, including a site
        visit.

        Any new OCA must meet the following criteria prior to being added to the OCA network:

                       •   Performed work in either student loan or consumer bank card asset classes within
                            last year
                       •   Actively licensed in all states=where they will be performing collections activities.
                       •   Have a recent SAS 70, Type II or equivalent that can be provided; PCI
=j
                            Certification
                       •    Is in good financial standing and is able to provide two years of audited Financials
                       •    Pass a basic background check of then company and principals
                       •    FDCPA training program, as well as a dedicated Quality Assurance team that
                            monitors
                                                                                              in
         Any addition of an OCA is subject to the notice and consent requirements established
                                                                                                  ably
         Section 2. 12 of the NCO agreement, it being understood that no consent will be unreason
         withheld so long as the above criteria have been met.

         Section 7 - Updates and Revisions to the Operating Guidelines
                                                                                                a
         Any proposed changes or revisions to the Operating Guidelines will be discussed during
                                                                                               the
         Quarterly Business Review. Changes to the Operating Guidelines will be effective with
         written consent of NCO, Goal, and U.S. Bank.




     14101092.6




                                                                                                                   m
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 158 of 191




                                                EXHIBIT H
            TO DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT
                                         FEES. VERSION 7/1/14


    Default Prevention:
                                                                                              be
    For loans that roll at 31+ days from servicer to NCO Default Prevention Collectors and to
                                                                                        loans in
    managed up until 180 days past due or lender mandated charge off date, including
    Claims Review:
    Pricing
    $5,000.00 per month for each pre-approved NCO FTE. An "FTE" is the equivalent of 147
    production hours in a month.
    Initial Staffing Ratios
;       •     The number of FTEs dedicated by NCO for this engagement shall be as mutually agreed.
r       •     Any increase or decrease to staffing levels will be communicated in writing at least
s
              fifteen days (15) prior to the month in which the change shall be effective.
p   Performance Incentive
:   NCO will be further compensated based on reaching and/or exceeding agreed upon "Cure Rate"
5   goals outlined below. The incentive compensation will be a % of the base rate billed in the same
    month for each stage.
    Below numbers are a weighted average for a given month:

                                   Early Tier Bonus
                                       Q1     Q2    Q3     Q4
§    Bonus based on # of reps
     Early tier 1                      59%    56%   56%    53%   $150 per seat
     Early tier 2                      6i%    58%   58%    55%   $350 per seat
3    Early tier 3                      64%    61%   61%    58%   $650 per seat


                                  Primary Tier Bonus

     Bonus based on ft of reps          Q1    Q2    Q3     Q4

     Primary tier 1                     59%   56%   56%    54%   $150 per seat
     Primary tier 2                     6i%   58%   58%    56%   $350 per seat
     Primary tier 3                     63%   6i%   61%    59%   $650 per seat


                               Secondary Tier Bonus

      Bonus based on ft of reps         Q1    Q2      Q3   Q4

     Secondary tier 1                   27%   24% 24%      21%   $150 per seat
      Secondary tier 2                  29%   26% 26%      23%   $350 per seat
      Secondary tier 3                  32%   29% 29%      26%   $650 per seat


                                  Top Agency Bonus

      New top agency bonus structure
      Early                             15% bonus ($750 per head)
      Primary                           15% bonus ($750 per head)
      Secondary                         15% bonus ($750 per head)



     14101092.6




                                                                                                       M
               Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 159 of 191




               Cash Cure Percentages
               NCO is expected to maintain the below percentage of cures attributable to cash resolution (as
               opposed to MGRS, Forbearance, and the Reduced Payment Program). Falling below this
               ratio will cause NCO to be ineligible for the "top agency bonus" for the period as well as
               ineligible for volume increases, both described more fully below.
                                  Early                      Primary                      Secondary

                     30 Day Evaluation (31-60        60 Day Evaluation (61-120       60 Day Replacement
                              DPP)                            DPP)                 Evaluation (121-180 DPP)
                                  72%                          70%                           60%


                •     NCO will compete for a "top agency bonus" each month. A weighted average will be
                      compared on the initial 30 day evaluation (31-60 DPD), the 60 day evaluation (61-120
                      DPD) and the Replacement 60 day evaluation (121-180 DPD). The agency with the best
i
                      cure rate for each of these evaluations will earn a $12,000, $12,000 and $6,000 "top
                      agency bonus," respectively.
i               •     NCO cure rates will be measured to two decimal points, and in the event of a tie will
                      revert to the agency with the highest Cash Cure Percentage.
                      NCO must achieve a minimum of a Tier 1 performance level to be eligible for the "top
j               •
                      agency bonus."
 I                    NCO must not fall below the targeted Cash Cure Percentage to be eligible for the "top
                •
!
i               •
                      agency bonus."
                      If the top agency falls below the Cash Cure Percentage goal, the next best agency will
                      inherit the "top agency bonus" provided they have not fallen below their Cash Cure
f                     Percentage target and have achieved at least Tier 1 performance.
             Volume Increase Opportunity
s

             Monthly, 31+ DPD volume may be reallocated as follows:
: :
                 •    NCO will be ranked based on 31+ day evaluations within a given month, and may be
                      given an increase of volume placed at 31+ DPD for the following month based on
                      that rank. Conversely, poorer performing agencies may realize a decrease in volume
'•j                   for the following month based on their rank.
h                •    NCO may not fall below Cash Cure Percentage targets listed above to qualify for any
                      volume increases.
                 •    NCO will be notified of monthly results and how they will impact the FTE counts
                          outlined above.




             14101092.6




      tia.
                     Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 160 of 191
 T




              Post Default Collections (including probate recoveries):
              NCO to utilize Default Collectors for all of post default collections prior to litigation.
              a.           Payments on First Placements
                                NCO shall receive a fee equal to twenty percent (20%) of all amounts collected directly
                            from the Borrowers) on each account,
              b.           Payments on Second Placements
                                NCO shall receive a fee equal to twenty-nine percent (29%) of all amounts collected
                             directly from the Borrower(s) on each account.
              c.            Payments on Third Placements
                                NCO shall receive a fee equal to thirty-three (33%) of all amounts collected directly
••


I                            from the Borrower(s) on each account,
1             d,            Accounts in Litigation
                                Amounts collected on accounts referred by NCO to an attorney for formal legal
                                proceedings will be deposited into the account, and NCO will be entitled to a fee on any
i.
                                such amount equal to thirty percent (32%) of all amounts collected by the attorney from
                             the borrower.
              e.            Warehouse Placements.
                                NCO shall receive a fee equal to forty percent (40%) of all amounts collected direclty
i                               from Borrowers on each account.
a
i




     ;             14101092.6




                                                                                                                           IS
         Ha
        Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 161 of 191




f

                                       FIFTH AMENDMENT TO
                 DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT


            This Fifth Amendment to Default Prevention and Collection Services Agreement (this
    "Amendment"! is entered into as of July 1, 2015, by and between U.S. Bank National
    Association, as successor Special Servicer, a national banking association with a principal place
    of business at 60 Livingston Avenue, Mailcode: EP-MN-WS3D, St. Paul MN 55107 (together
    with its successors and assigns, the "Successor Special Servicer"! and Transworld Systems Inc.
    (including but not limited to as assignee of NCO Financial Systems, Inc. ("NCO")), a
    corporation organized under the laws of the State of California having a place of business at 507
    Prudential Road, Horsham, PA 19044 (together with its successors and assigns, HSI"), and amends
    that certain Default Prevention and Collection Services Agreement entered into by and between
    First Marblehead Education Resources, Inc. ("FMER"), the initial Special Servicer, and NCO
    and dated as of March 1, 2009 (the "Original Agreement"!, as amended by that certain First
    Amendment to Default Prevention and Collection Services Agreement entered into by and
    between FMER and NCO and dated as of May 1, 2009 (the "First Amendment"! and by that certain
    Second Amendment to Default Prevention and Collection Services Agreement entered into by
    and between FMER and NCO and dated as of June 15, 2012 (the "Second Amendment" and,
    together with the Original Agreement and the First Amendment, the "NCO Agreement": and the
    NCO Agreement, as supplemented and amended by this Amendment and as same may be
    further amended from time to time pursuant to Section 1 1 . 1 0, the "Agreement"!.



           WHEREAS, pursuant to that certain (i) Special Servicing Agreement dated as of
    March 1, 2009 (the "March SSA"! by and among FMER as special servicer, U.S. Bank
    National Association as back-up special servicer (in such capacity the "Back-Up Special
    Servicer") and each of the Trusts listed on Schedule A to the March SSA and (ii) Special
    Servicing Agreement dated as of May 1, 2009 (together with the March SSA, the "Special
    Servicing Agreements"! by and among FMER as special servicer, U.S. Bank as back-up
    special servicer, Ambac Assurance Corporation ("Ambac"! and each of the Trusts listed on
    Schedule A to the May SSA, the Trusts appointed FMER as the initial Special Servicer and
    U.S. Bank as the Back-Up Special Servicer for the purposes of providing default prevention,
    collection and other special services duties to the Trusts identified in the Special Servicing
    Agreements (collectively, the "Trusts" and individually, a "Trust"! in accordance with the
    terms of the Special Servicing Agreements.                .



             WHEREAS, pursuant to the Special Servicing Agreements, FMER as initial Special
    Servicer arranged for the outsourcing to NCO of certain default prevention and collection
    activities of the Special Servicer under the Special Servicing Agreements in the event that U.S.
    Bank became the successor Special Servicer under the Special Servicing Agreements;


           WHEREAS, as of June 21, 2012, the Successor Special Servicer assumed the duties of
    the Special Servicer under the Special Servicing Agreements and FMER notified NCO of such
    assumption;




    14101092.6




>
{1         Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 162 of 191




              WHEREAS, pursuant to the NCO Agreement, upon being notified of the assumption by
      U.S. Bank as Back-up Special Servicer of the duties of the Special Servicer under the Special
      Servicing Agreements, NCO began performance of the Services specified in the NCO
      Agreement;                                                 '


                   WHEREAS, June 21, 2012, is the "Effective Date" for purposes of the Agreement;

                   WHEREAS, the Successor Special Servicer consented to the assignment of NCO's rights,
      obligations and duties under the Agreement to TSI and wish to amend the Agreement to update,
      expand and confirm the services, including, without limitation, collection and enforcement
      services, to be provided by TSI thereunder.


              NOW THEREFORE, in consideration of the premises set forth above, and other good
      and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
      parties hereto hereby agree as follows:


                   L       Defined Terms. All capitalized terms in this Amendment shall have the same
      meaning given to them in the Agreement, unless otherwise expressly stated herein.

                   2.      Amendments of the Agreement. The Agreement is hereby amended in the
      following respects:


                         2.1 All references to "NCO Financial Systems, Inc." and "NCO" are replaced with
                         "Transworld Systems Inc." and "TSI", respectively.

                          2.2 The Exhibits to the Agreement are amended as follows:


                          (a) Exhibit G to the Agreement, identified as version 7/1/14, is amended by
                             adding the following language to the end of Section 3: Market Share
                             Allocation and Adjustments, Sub-Section (c) Minimum Performance
                             Standards - Post Defaults:


                             "A separate consideration will be given to settlements secured in court, where
                             there is no time available to submit for an under blanket request. In these
                             circumstances a settlement will be negotiated that is deemed in the best
                             interest of the trust. A log will be maintained of all settlements secured in this
                             manner, along with the corresponding backup to substantiate the decision."




                          (b) Exhibit H to the Agreement, identified as version 7/1/14, is amended by
                              deleting the chart titled "Early Tier Bonus" and replacing it with the
f                            following;                                   .
i
 >1




1I    14101092.6
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 163 of 191




                                    Early Tier Bonus
       Bonus based on # of reps          Q1    Q2    Q3    Q4
       Early tier 1                      61%   58%   58%   55%   $150 per seat
      Early tier 2 '                     63%   60%   60%   57%   $350 per seat
      Early tier 3                       66%   63%   63%   60%   $650 per seat




                  T    Effect of Amendment, This Amendment shall be effective as of the date first set
     forth above. Except as expressly amended by this Amendment, all terms and provisions
     contained in the Agreement shall continue in full force and effect, without modification. All
     references in the Agreement to the Agreement shall be deemed to mean the Agreement as
     modified hereby. This Amendment shall not constitute a novation of the Agreement, but shall
     constitute an amendment thereof. The parties hereto agree to be bound by the terms and
     conditions of the Agreement, as amended by this Amendment, as though such terms and
     conditions were set forth therein. This Amendment may not be.amended or otherwise modified
     except as provided in the Agreement. The failure or unenforceability of any provision hereof
     shall not affect the other provisions of this Amendment or the Agreement.


                  4.   Multiple Counterparts. This Amendment may be executed in multiple
     counterparts, each of which shall be deemed an original for all purposes and all of which shall be
     deemed, collectively, one agreement, but in making proof hereof it shall not be necessary to
     exhibit more than one such counterpart. Delivery of an executed counterpart of this Amendment
     by facsimile or pdf electronic transmission shall be deemed as effective as delivery of an
     originally executed counterpart.                                      .

                  5     GOVERNING LAW, THIS AMENDMENT SHALL BE GOVERNED BY,
      AND CONSTRUED IN ACCORDANCE WITH, THE INTERNAL LAWS OF THE STATE OF
      OHIO, WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF LAW PROVISION
      OR RULE THAT WOULD CAUSE THE APPLICATION OF LAWS OF ANY JURISDICTION
      OTHER THAN TO THOSE OF THE STATE OF OHIO. EACH PARTY WAIVES ITS RIGHT
     TO A JURY TRIAL WITH RESPECT TO ANY ACTION OR CLAIM ARISING OUT OF
     ANY DISPUTE IN CONNECTION WITH THIS AGREEMENT, ANY RIGHTS OR
      OBLIGATIONS HEREUNDER OR THE PERFORMANCE OF ANY SUCH RIGHTS OR
      OBLIGATIONS.




I
     14101092.6
1
I'

i
         Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 164 of 191

                                                                                                               I




                                                                                                               ]
                  IN WITNESS WHEREOF, the parties hereto have caused this Fifth Amendment to the Default
          Prevention and Collection Services Agreement to be executed as of the date first written above.



                                                      U.S. BANK NATIONAL ASSOCIATION, as Successor
                                                      Special Servicerunder the Special Servicing Agreements

                                                      By:
                                                               SiiiSU.
                                                      Name;
                                                                         Brian C Tri
                                                       Tide:
                                                                   •   Vice President
    •i


I
%                                                     TRANSWORLBS"            EMS INC,

                                                      By;

                                                      Name: DeAnti Brunts

                                                       Title; Chief Financial Officer




i                                                                                                              j-



I
I
I



i
I
1
1

1
I   V
I




i


1
3

1

3         MI01092.6
|




r
i
                                                                                                                   i
g
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 165 of 191




                                     SIXTH AMENDMENT TO               "
             DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT


       This Sixth Amendment to Default Prevention and Collection Services Agreement (this
"Amendment") is entered into as of January 1, 2016, by and between U.S. Bank National
Association, as successor Special Servicer, a national banking association with a principal place
of business at 60 Livingston Avenue, Mailcode: EP-MN-WS3D, St. Paul MN 55107 (together
with its successors and assigns, the "Successor Special Servicer") and Transworld Systems Inc.
(including but not limited to as assignee of NCO Financial Systems, Inc. ("NCO")), a
corporation organized under the laws of the State of California having a place of business at 507
Prudential Road, Florsham, PA 19044 (together with its successors and assigns, "TSI"), and amends
that certain Default Prevention and Collection Services Agreement entered into by and between
First Marblehead Education Resources, Inc. ("FMER"), the initial Special Servicer, and NCO
and dated as of March 1, 2009 (the "Original Agreement"), as amended by that certain First
Amendment to Default Prevention and Collection Services Agreement entered into by and
between FMER and NCO and dated as of May 1, 2009 (the "First Amendment") and by that certain
Second Amendment to Default Prevention and Collection Services Agreement entered into by
and between FMER and NCO and dated as of June 15, 2012 (the "Second Amendment" and,
together with the Original Agreement and the First Amendment, the "NCO Agreement": and the
NCO Agreement, as supplemented and amended by this Amendment and as same may be
further amended from time to time pursuant to Section 11.10, the "Agreement").



             WHEREAS, pursuant to that certain (i) Special Servicing Agreement dated as of
March 1, 2009 (the "March SSA") by and among FMER as special servicer, U.S. Bank
National Association as back-up special servicer (in such capacity the "Back-Up Special
Servicer") and each of the Trusts listed on Schedule A to the March SSA and (ii) Special
Servicing Agreement dated as of May 1, 2009 (together with the March SSA, the "Special
Servicing Agreements") by and among FMER as special servicer, U.S. Bank as back-up
special servicer, Ambac Assurance Corporation ("Ambac") and each of the Trusts listed on
Schedule A to the May SSA, the Trusts appointed FMER as the initial Special Servicer and
U.S. Bank as the Back-Up Special Servicer for the purposes of providing default prevention,
collection and other special services duties to the Trusts identified in the Special Servicing
Agreements (collectively, the "Trusts" and individually, a "Trust") in accordance with the
terms of the Special Servicing Agreements.


         WHEREAS, pursuant to the Special Servicing Agreements, FMER as initial Special
Servicer arranged for the outsourcing to NCO of certain default prevention and collection
activities of the Special Servicer under the Special Servicing Agreements in the event that U.S.
Bank became the successor Special Servicer under the Special Servicing Agreements;


       WHEREAS, as of June 21, 2012, the Successor Special Servicer assumed the duties of
the Special Servicer under the Special Servicing Agreements and FMER notified NCO of such
assumption;                                             .             •




14101092.6
     Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 166 of 191




        WHEREAS, pursuant to the NCO Agreement, upon being notified of the assumption by
U.S. Bank as Back-up Special Servicer of the duties of the Special Servicer under the Special
Servicing Agreements, NCO began performance of the Services specified in the NCO
Agreement; '                                                               .


             WHEREAS, June 21, 2012, is the "Effective Date" for purposes of the Agreement;


        WHEREAS, the Successor Special Servicer consented to the assignment of NCO' s rights,
obligations and duties under the Agreement to TSI and wish to amend the Agreement to update,
expand and confirm the services, including, without limitation, collection and enforcement
services, to be provided by TSI thereunder.


        NOW THEREFORE, in consideration of the premises set forth above, and other good
and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
parties hereto hereby agree as follows:


       h.       Defined Terms. All capitalized terms in this Amendment shall have the same
meaning given to them in the Agreement, unless otherwise expressly stated herein.


             2.    Amendments of the Agreement. The Agreement is hereby amended in the
following respects:
                     2.1 Exhibit H to the Agreement, identified as version 7/1/14, is amended by
deleting the chart titled "Primary Tier Bonus" and replacing it with the following:


                                            Primary Tier Bonus
  Year over year performance
  Tier 1 - meet agencies own previous year's cure
  rate for the same month with a min of 60%                                             $300 per seat


   Tier 2 - meet agencies own previous year's cure
   rate multiplied by 102% with a previous min of
   60% plus the performance improvement                                                 $700 per seat


  Tier 3 - meet agencies own previous year's cure
  rate multiplied by 104% with a previous min of
   60% plus the performance improvement                                                $1,400 per seat


  NOTE: No top agency bonus will be awarded in
   this segment because we have modified the
   stincture to support a single servicer




             3.     Effect of Amendment. This Amendment shall be effective as of the date first set



14101092.6
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 167 of 191




forth above. Except as expressly amended by this Amendment, all terms and provisions
contained in the Agreement shall continue in full force and effect, without modification. All
references in the Agreement to the Agreement shall be deemed to mean the Agreement as
modified hereby. This Amendment shall not constitute a novation of the Agreement, but shall
constitute an amendment thereof. The parties hereto agree to be bound by the terms and
conditions of the Agreement, as amended by this Amendment, as though such terms and
conditions were set forth therein. This Amendment may not be amended or otherwise modified
except as provided in the Agreement. The failure or unenforceability of any provision hereof
shall not affect the other provisions of this Amendment or the Agreement.                              •



              4.     Multiple Counterparts. This Amendment may be executed in multiple
counterparts, each of which shall be deemed an original for all putposes and all of which shall be
deemed, collectively, one agreement, but in making proof hereof it shall not be necessary to
exhibit more than one such counterpart. Delivery of an executed counterpart of this Amendment
by facsimile or pdf electronic transmission shall be deemed as effective as delivery of an
originally executed counterpart.


               5      GOVERNING LAW, THIS AMENDMENT SHALL BE GOVERNED BY,
 AND CONSTRUED IN ACCORDANCE WITH, THE INTERNAL LAWS OF THE STATE OF
 OHIO, WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF LAW PROVISION
 OR RULE THAT WOULD CAUSE THE APPLICATION OF LAWS OF ANY JURISDICTION
 OTHER THAN TO THOSE OF THE STATE OF OHIO. EACH PARTY WAIVES ITS RIGHT
 TO A JURY TRIAL WITH RESPECT TO ANY ACTION OR CLAIM ARISING OUT OF
 ANY DISPUTE IN CONNECTION WITH THIS AGREEMENT, ANY RIGHTS OR
 OBLIGATIONS HEREUNDER OR THE PERFORMANCE OF ANY SUCH RIGHTS OR
 OBLIGATIONS.



             IN WITNESS WHEREOF, the parties hereto have caused this Sixth Amendment to the Default
Prevention and Collection Services Agreement to be executed as of the date first written above.




                                             U.S. BANK NATIONAL ASSOCIATION, as Successor
                                             Special Servicer under the Special Servicing Agreements

                                             By:                a_       A-\



                                             Name:
                                                             Brian C Tri
                                             Title:
                                                           Vice President




                                             TRANSWORLD SYSTEMS INC.


                                             By:       tf9u P. dt1-—
                                                          ph E. Laughlin


                                             Title:   Chief Executive Officer



14101092.6
     Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 168 of 191




                                 SEVENTH AMENDMENT TO
             DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT


         This Seventh Amendment to Default Prevention and Collection Services Agreement (this
"Amendment*1) is entered into as of January 1, 2017, by and between U.S. Bank National
Association, as successor Special Servicer, a national banking association with a principal place
of b usiness at 60 Livingston Avenue, Mailcode: EP-MN-WS3D, St. Paul MN 55107 {together
with its successors and assigns, the "Successor Special Servicer") and Transworld Systems Inc.
(including but not limited to as assignee of NCO Financial Systems, Inc. ("NCO")), a
corporation organized under the laws of the State of California having a place of business at 507
Prudential Road, Horsham, PA 19044 (together with its successors and assigns, TSI"), and amends
that certain Default Prevention and Collection Services Agreement entered into by and between
First Marblehead Education Resources, Inc. ("FMER"), the initial Special Servicer, and NCO
and dated as of March 1, 2009 (the "Original Agreement"), as amended by that certain First
Amendment to Default. Prevention and Collection Services Agreement entered into by and
between FMER and NCO and dated as of May 1 , 2009 (the "First Amendment") and by that certain
Second Amendment to Default Prevention and Collection Services Agreement entered into by
and between FMER and NCO and dated as of June 15, 2012 (the "Second Amendment" and,
together with the Original Agreement and the First Amendment, the "NCO Agreement": and the
NCO Agreement, as supplemented and amended by this Amendment and as same may be
further amended from time to time pursuant to Section 1 1.10, the "Agreement").


        WHEREAS, pursuant to that certain (i) Special Servicing Agreement dated as of
March 1, 2009 (the "March SSA") by and among FMER as special servicer, U.S. Bank
National Association as back-up special servicer (in such capacity the "Back-Up Special
Servicer") and each of the Trusts listed on Schedule A to the March SSA and (ii) Special
Servicing Agreement dated as of May 1, 2009 (together with the March SSA, the "Special
Servicing Agreements") by and among FMER as special servicer, U.S. Bank as back-up
special servicer, Ambac Assurance Corporation C'Ambac") and each of the Trusts listed on
Schedule A to the May SSA, the Trusts appointed FMER as the initial Special Servicer and
U.S. Bank as the Back-Up Special Servicer for the purposes of providing default prevention,
collection and other special services duties to the Trusts identified in the Special Servicing
Agreements '(collectively, the "Trusts" and individually, a "Trust") in accordance with the
terms of the Special Servicing Agreements.


         WHEREAS, pursuant to the Special Servicing Agreements, FMER as initial Special
Servicer arranged for the outsourcing to NCO of certain default prevention and collection
activities of the Special Servicer under the Special Servicing Agreements in the event that U.S.
Bank became the successor Special Servicer under the Special Servicing Agreements;

       WHEREAS, as of June 21, 2012, the Successor Special Servicer assumed the duties of
the Special Servicer under the Special Servicing Agreements and FMER notified NCO of such
assumption;




14101092.6
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 169 of 191




        WHEREAS, pursuant to theNCO Agreement, upon being notified of the assumption by
U.S. Bank as Back-up Special Servicer of the duties of the Special Servicer under the Special
Servicing Agreements, NCO began performance of the Services speci fied in the NCO
Agreement;


              WHEREAS, June 21, 2012, is the "Effective Date" for purposes of the Agreement;


              WHEREAS, the Successor Special Servicer consented to the .assignment of NCO's rights,
obligations and duties under the Agreement to TSI and wish to amend the Agreement to update,
expand and confirm the services, including, without limitation, collection and enforcement
services, to be provided by TSI thereunder.


        NOW THEREFORE, in consideration of the premises set forth above, and other good
and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
parties hereto hereby agree as follows:


               EDefined Terms. All capitalized terms in this Amendment shall have the same
meaning given to them in the Agreement, unless otherwise expressly stated herein.


              2.     Amendments of the Agreement. The Agreement is hereby amended in the
following respects:
                 2.1 Exhibit H to the Agreement, identified as version 7/1/14, and as
previously amended, is amended by deleting the charts titled "Early Tier Bonus", "Primary
Tier Bonus", "Secondary Tier Bonus" and "Top Agency Bonus", and replacing them with the
following:




                                  Early Tier Bonus

 Bonus based on # of reps              Q1    Q2   Q3    Q4
 Early tier 1                          6i%   58% 61%   55%     $100 per seat
 Early tier 2                          63%   60% 60%   57%     $225 per seat
 Early tier 3                          66%   63% 63%   60%     $350 per seat

                                 Primary Tier Bonus
 Year over year performance


 Tier 1 - meet agencies own
 previous year's cure rate for
 the same month with a
 minimum of 60%                                                $150 per seat


 Tier 2 - meet agencies own
 previous year's cure rate
 multiplied by 102% with a                                     $350 per seat



1410 1092.6
      Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 170 of 191




 previous minimum of 60%
 plus the performance
 improvement


Tier 3 - meet agencies own
 previous year's cure rate
 multiplied by 104% with a
 previous minimum of 60%
 plus the performance
 improvement                                               $700 per seat


                         Secondary Tier Bonus
 Bonus based on tf of reps         Q1    Q2    Q3    Q4
 Secondary tier 1                  27%   24%   24%   21%   $100 per seat
 Secondary tier 2                  29%   26%   26%   23%   $225 per seat
Secondary tier 3                   32%   29%   29%   26%   $350 per seat

                             Top Agency Bonus

 New top agency bonus structure
 Early                             $325 per seat
 Primary                           No top agency bonus (single servicer)
 Secondary                         $325 per seat




        1      Effect of Amendment. This Amendment shall be effective as of the date first set
forth above. Except as expressly amended by this Amendment, all terms and provisions
contained in the Agreement shall continue in full force and effect, without modification. All
references in the Agreement to the Agreement shall be deemed to mean the Agreement as
modified hereby. This Amendment shall not constitute a novation of the Agreement, but shall
constitute an amendment thereof. The parties hereto agree to be bound by the terms and
conditions of the Agreement, as amended by this Amendment, as though such terms and
conditions were set forth therein. This Amendment may not be amended or otherwise modified
except as provided in the Agreement. The failure or unenforceability of any provision hereof
shall not affect the other provisions of this Amendment or the Agreement.


        4.      Multiple Counterparts. This Amendment may be executed in multiple
counteiparts, each of which shall be deemed an original for all purposes and all of which shall be
deemed, collectively, one agreement, but in making proof hereof it shall not be necessary to
exhibit more than one such counterpart. Delivery of an executed counterpart of this Amendment
by facsimile or pdf electronic transmission shall be deemed as effective as del ivery of an
originally executed counterpart.

      5    GOVERNING LAW, THIS AMENDMENT SHALL BE GOVERNED BY,
AND CONSTRUED IN ACCORDANCE WITH, THE INTERNAL LAWS OF THE STATE OF



14 10 1092.6
    Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 171 of 191




                                                   ICT OF LAW PROVISION
OHIO, WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFL
                                                   OF ANY JURISDICTION
OR RULE THAT WOULD CAUSE THE APPLICATION OF LAWS
                                                PARTY WAIVES ITS RIGHT
OTHER THAN TO THOSE OF THE STATE OF OHIO. EACH
                                                 CLAIM ARISING OUT OF
TO A JURY TRIAL WITH RESPECT TO ANY ACTION OR
                                                 ANY RIGHTS OR
ANY DISPUTE IN CONNECTION WITH THIS AGREEMENT,
                                           E OF ANY SUCII RIGHTS OR
OBLIGATIONS HEREUNDER OR THE PERFORMANC
OBLIGATIONS.


                                                                        Seventh Amendment to the Default
       IN WITNE'S'S WHEREOF, the parties hereto have -caused this
                                                            as of the date first written above.
Prevention and Collection Services Agreement to be executed



                                          U.S. BANK NATIONAL ASSOCIATION, as Successor
                                          Special Servicer under the Special Servicing Agreements

                                          By:                            f




                                          Name:         Brian C Tri
                                                       V/l00 President
                                           Title:




                                           TRANSWO:         D SYSTEMS INC.


                                           By:


                                           Name:      Cl-                    '£nS Jr
                                           Title:            Q, l^tivvft f*




  14101092.6
         Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 172 of 191



                                                                                                         !



EIGHTH AMENDMENT TO
DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT

        This Eighth Amendment to Default Prevention and Collection Services Agreement (this              i

"Amendment"') is entered into as of January 31, 2018, by and between U.S. Bank National
Association, as successor Special Servicer, a national banking association with a place of business at
                                                                                                         i
60 Livingston Avenue, Mailcode: EP-MN-WS3D, St. Paul MN 55107 (together with its successors
and assigns, the "Successor Special Servicer"') and Transworld Systems Inc. (including but not limited
to as assignee of NCO Financial Systems, Inc. ("NCO")), a corporation organized under the laws of
the State of California having a place of business at 507 Prudential Road, Horsham, PA 19044
(together with its successors and assigns, "TSI"), and amends that certain Default Prevention and        ;
                                                                                                         1
Collection Services Agreement entered into by and between First Marblehead Education Resources,
Inc. ("FMER"), the initial Special Servicer, and NCO and dated as of March 1, 2009 (the "Original
                                                                                                         :
Agreement"), as amended by that certain First Amendment to Default Prevention and Collection             1
Services Agreement entered into' by and between FMER andNCO and dated as of May 1, 2009 (the "First      I
Amendment") and by that certain Second Amendment to Default Prevention and Collection
Services Agreement entered into by and between FMER and NCO and dated as of June 15, 2012 (the
"Second Amendment" and, together with the Original Agreement, the First Amendment and
subsequent amendments, the "NCO Agreement"; and the NCO Agreement, as supplemented and
amended by this Amendment and as same may be further amended from time to time pursuant to
Section 11.10, the "Agreement").
                                                                                                         |



       WHEREAS, pursuant to that certain (i) Special Servicing Agreement dated as of March
1, 2009 (the "March SSA") by and among FMER as special servicer, U.S. Bank National
Association as back-up special servicer (in such capacity the "Back-Up Special Servicer") and
each of the Trusts listed on Schedule A to the March SSA and (ii) Special Servicing Agreement
dated as of May 1, 2009 (together with the March SSA, the "Special Servicing Agreements") by
and among FMER as special servicer, U.S. Bank as back-up special servicer, Ambac Assurance
                                                                                                         5
Corporation f" Ambac") and each of the Trusts listed on Schedule A to the May SSA, the Trusts
appointed FMER as the initial Special Servicer and U.S. Bank as the Back-Up Special Servicer for
the purposes of providing default prevention, collection and other special services to the Trusts
                                                                                                         I
identified in the Special Servicing Agreements (collectively, the "Trusts" and individually, a
                                                                                                         I
"Trust") in accordance with the terms of the Special Servicing Agreements.


        WHEREAS, pursuant to the Special Servicing Agreements, FMER as initial Special                   F
                                                                                                         I
Servicer arranged for the outsourcing to NCO of certain default prevention and collection activities
of the Special Servicer under the Special Servicing Agreements in the event that U.S. Bank became
the successor Special Servicer under the Special Servicing Agreements;
                                                                                                         t




       WHEREAS, as of June 21, 2012, the Successor Special Servicer assumed certain duties of            S

the Special Servicer under the Special Servicing Agreements and FMER notified NCO of such
assumption;
                                                                                                         1
                                                                                                         F




                                                                                                         l
            Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 173 of 191




        WHEREAS, purs-uant to the NCO Agreement, upon being notified of the assumption by U.S.
Bank as Back-up Special Servicer of certain of the duties of the Special Servicer under the Special
Servicing Agreements, NCO began performance of the Services specified in the NCO Agreement;


        WHEREAS, June 21, 2012, is the "Effective Date" for purposes of the Agreement;


         "WHEREAS, TSI -acquired the rights, obligations and duties of NCO under the Agreement and
the parties wish to amend the Agreement to update the collection and enforcement services, to be
provided by TSI thereunder.


       NOW THEREFORE, in consideration of the premises set forth above, and other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties
hereto hereby agree as follows:


            L   Defined Terms. All capitalized terms in this Amendment shall have the same
meaning given to them in the Agreement, unless otherwise expressly stated herein.


        2.      Amendments of the Agreement The Agreement is hereby amended in the following
respects:

                 2.1 Exhibit H to the Agreement, identified as version 7/1/14, and as
subsequently amended, is amended by deleting the charts titled "Early Tier Bonus", "Primary Tier
Bonus", "Secondary Tier Bonus" and "Top Agency Bonus", and replacing them with the
following:


    •   Incentive program structure - Cap Dollars are assigned by trust to each of the 3 Pre-
        Default segments. The OCA incentive plan will be comprised of a fixed compensation
        component (currently 70% of the available dollars) and a variable compensation
        component based on performance (currently 30% of the available dollars). The fixed and
        variable incentive components may change from time to time based on overall
        performance, inventory, and available cap dollars.


    •   Goal setting — Targets are established based on a year over year comparison to the prior
        quarters' results and other relevant factors to optimize overall results. TSI will compare
        how the OCA performed versus the Index. For each quarter, TSI will assume the higher
        result (the OCA's past performance or the Index) as the benchmark and added 1% to
        establish the performance target. Goals will be reevaluated as appropriate utilizing the
        above methodology and considerations. Targets are established based on a comparison to
        historical results. Goals will be reevaluated as necessary and agreed upon by TSI and U.S.
        Bank (after consulting with TCM).


    •   Allocation of Cap dollars - For any trust with remaining available cap dollars, TSI will
        conduct a periodic inventory analysis to allocate dollars to the 3 Pre-Default segments.
        Allocations are first made to the Secondary segment. From there, available dollars will be
        allocated to the Primary segment. Should any cap dollars be available after allocations to
        the Secondary and Primary segments, they are allocated to the Early segment. The intent




                                                                                                      1
         Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 174 of 191



                                                                                                            !
                                                                                                            ;
       again is to utilize the' OCA and AES where they are' overall most effective. The above
       analysis will be conducted periodically based on inventory and available trust cap dollars


   •   Please refer to Appendix A for the trust dollar allocations and performance targets as of
       January 2018. This is subject to change based on periodic reviews of performance,
                                                                                                            :
       inventory, and available cap dollars.                                                                <




        3.  Effect of Amendment. This Amendment shall be effective as of the date first set forth
                                                                                                            '
above. Except as expressly amended by this Amendment, all terms and provisions contained in
the Agreement shall continue in full force and effect, without modification. All references in the
Agreement to the Agreement shall be deemed to mean the Agreement as modified hereby. This
Amendment shall not constitute a novation of the Agreement, but shall constitute an amendment               ;


thereof. The parties hereto agree to be bound by the terms and conditions of the Agreement, as              1

amended by this Amendment, as though such terms and conditions were set forth therein. This
Amendment may not be amended or otherwise modified except as provided in the Agreement. The                 i


failure or unenforceability of any provision hereof shall not affect the other provisions of this           i

Amendment or the Agreement.



        4.     Multiple Counterparts, This Amendment may be executed in multiple counterparts,
each of which shall be deemed an original for all purposes and all of which shall be deemed,
collectively, one agreement, but in making proof hereof it shall not be necessary to exhibit more
than one such counterpart. Delivery of an executed counterpart of this Amendment by facsimile or            i
                                                                                                            I
pdf electronic transmission shall be deemed as effective as delivery of an originally executed
counterpart.


         5       GOVERNING LAW, THIS AMENDMENT SHALL BE GOVERNED BY,
AND CONSTRUED IN ACCORDANCE WITH, THE INTERNAL LAWS OF THE STATE OF OHIO,
WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF LAW PROVISION OR RULE
THAT WOULD CAUSE THE APPLICATION OF LAWS OF ANY JURISDICTION OTHER THAN                                         :

TO THOSE OF THE STATE OF OHIO. EACH PARTY WAIVES ITS RIGHT TO A JURY TRIAL
WITH RESPECT TO ANY ACTION OR CLAIM ARISING OUT OF ANY DISPUTE IN                                               -


CONNECTION WITH THIS AGREEMENT, ANY RIGHTS OR OBLIGATIONS HEREUNDER OR
 THE PERFORMANCE OF ANY SUCH RIGHTS OR OBLIGATIONS.

                                                                                                            f

       IN WITNESS WHEREOF, the parties hereto have caused this Eighth Amendment to the Default Prevention   I
and Collection Services Agreement to be executed .as of the date first written .above.




                                        U.S. BANK NATIONAL ASSOCIATION, as Successor                        *

                                        Special Servicer under the Special Servicing Agreements

                                        By:                     ~~
                                                                                                            \

                                        Name: Brian C. Tri                                                  %

                                        Title: Vice President



                                                                                                                :




                                                                                                            I
Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 175 of 191




                       TRANSW       JD SYSTEMS INC.


                       By:

                       Name-: Ralph Lyons

                       Title: VP Claims Processing
                Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 176 of 191


                                                                                                                                                                                                      ;
                                                                                                                                                                                                      ;


                                                                                                                                                                                                      5

                                                                                                                                                                                                      !

                                                                                    Appendix A


                                                                           As of January 2018.

     Subject to change based on periodic reviews of performance, inventory, and available cap                                                                                                         ;
                                                                                                                                                                                                      ,




                                                                                          dollars.


                                                                                                                                                                                                      <
                                                                                                                                                                                         ET3




                                                                                                                                                                                                      §
»SSJ®®
                                                                                                                                                                                                      ?
                                                                                                                 -AM**,.!!**. A<M»v^S<7W A4h*v«l-40C* ot


m*""
~— r~
                                  -.                ®        Variable       "        Total             Tieri              T1«2      \7-     Th*3          •           '    : Tic. 4       "
                                                                                                                                                                                                      S



                                                                                                     Variables       Variable i           Variable $                      i7v*iMm$s                   ;
    Month           Cap$                E»eiSie$:           Potential $         Compenaatloh
                                                                                                                         $3,723                                             S4-,38C
                                                                                                                                                                                                      I
    Jan-18         $14,600                                    $1.330               $14.60<l           $3,066                              JME.                                                        ;
    Few*           $24.600               $10,220            "$4,382                $14,600            $3^60
                                                                                                                         ».g.              $3,942                                                     i
    M4r-18         $14,600               $10,220              $4,330               $14,600            $3,066             $3.723            $32342                           $4,380

                   $3,133                                     $940                  |U33               $638                $7$$             $346                             $940
    Apf-18                               SSL.
    May-!*         $3.133                 $2,193              $940                  $3,133             $653                $79$             $846                             $$40

                   $3,133                 $2,-193             $910                  $3.13-3            $65$               gj                SS                               ®s               -



     lulm                                 SUSi                                      $1.11?             $453                $789             W4.;,                            m#                       i
                J&M*                                                                                                                                                                                      1
    -SSil          $3.133                "ii'.m               $910                  $3.133             <653                $759             $846                             $943

                                                                                                       $658                                 $«6                              $910
                                                                                                                                                                                                      !
                                          $2493               $940                                                     JM
    JSfcZL      JLML.                                                               $y»
    Oct-18         SL533                 "$1,073                                    $1,533            sk                   $391             $414                             $160

                                          $1.073              $460                                     $»2                 $311             -$414                            $4®
    Nqv-H          $1.»1                                                           sm»
    Deo 18         $1,533                 $14373               $1®                  $1,533             $322                $391             $414                             $160

«
                                                                                                                                                                                                  :
             Taw

I -iQ?017           n.m
j
i
    2Q2017         69.64%
                   494 1H
                                                                                                                                                                                                      I
E. . 4Q2017        69.11%                                                  -•r'"- -••-r
                                                                                                                                                    rYu-,-..'- •••.
                                                                                                                                                                                          J           ,


                                                                                                                                                                                                      8


                                                                                                                                                                                                      i
                                                                                                                                                                                                      I
                                                                                                                                                                                      *???*
pS^SnT                                                                                                                                                                                                I
                                                                                                                                                                                                      "




       "            ~                                         -V-Ubte.j4 r;:Tot4i^;;-- x*T~'                              vm
     Monlh         ...- C*o 5             Ba^nr« 5      f    potential $    |    CampamaHan          Variable?       Variable'
     Hi*t&           $26,078               $10,»5              $7,813                $26,078           $5,476            $64350            $7,041                           $7.623
     FCb-lB             $26.078            .$11355             SSL                   $26.076           $5.476            $6.650            $7.041                           $7.823
                                                                                                                         $6,650
     MablS              $26.078            $18.253             SSL,                 mow
                                                                                                      SSL                                 SSI                              BSL                        6

                                           $17,862                                   $234-15           $$464             $6514             $6497                            $7,654
                        $2X543                                 #•*»
                        $25,545            $17,882                                                    SSL                 $6,514           SSL                             SSI
     Mjy-16                                                   iSS                   SLSL
     lun-18             $25,545            $17,882             $7,664                $25,545           $5.361             S6.S14           $6,897                          SSL.
E     lul-18            $21,856            $15.299             $6,557                $21,856           $4,550            SSL               $3,901                          SSL
     Aug-1»                                $25-299             SSL                   $21.SK» ,        SSL        _       SS2_             SSL                              SS7 .
                                                               $6,557                                  54,590                              $5,501                          ..$$-!$y       :
     Sep. 18            $21,856            $15,29$                                  SiSL                                  $MLL.
     SkS                $15,711            $U.O$3              $£KT                  $18,71.1..                           $4,771           SSL                             SSL                        I
                                                              SSL                    $18,711           $3,929             $4.771           $5,052                          SSL
     HWU8            m                     Ifil
                                                                                     $18,711                                               S5.C52                          SSL
     Det-18             $18,711-           $13,093             $5.613                                 SSL                SSL                                                                                  I

                                                                                                                                                                                                      ?
                        39-39%.                                                                                                                                                                       5
1    7*2,2017
;    2Q2017             £S£                                                                                                                                                                               .
;    3Q2017             s»                                                                                                                                                                            i

E    4Q2017             61.41%                                                                                       iiVf'mfi.--'
                                       jaaaaa




                                                                                                                                                                                                      I

                                                                                                                                                                                                      .
                  Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 177 of 191




                                                   rrrrrrrrrrrrrr                                                                                 WWU.U.AA.IL.".,--!   H55H5!   —


stwi^iy'scgmSw

                                                                                                                            toit,
                                                                                      n
                                                                                                                                                                 3t4of Achie*

                                                                                                                                                                                      ,
?    v.r.v::.               • ^                                TCUI. , : I -
                                                 v«bM«' • i:cgngewfr*                                                                               ^3.                   -
                                                                                                                                                                                   n«4 j;
                                                                                                                                                                                . v*ubks
: :.--MMth-'.,           ^-c»S V;                                                                       v*w>m ..v.-             v*bbh-$    ..-.   v*t»M«$
        Jln-lS           $78,322      $13,223    $8,«7              $70,322                                 $4,263               SS,1S2            $5,<87                           $S,M7
        7*^38             $20,322     Sj432S     $£097              $20,322                                 &U6S                                    <6,437                          $6,C37
                                                                                                                                  -    -
                                                 S3S97                                                                                              $3.487                          $4.097
                         SMB.        SMS                            as                                      sm                  as
        AptU                          $14,22-3   38.097             im/m                                     >U«                 WAS2              $&«7 '                           $6.097
                         SMS.
                                      SU.as      *W»                M,a                                      S4,aa                                                                  8*097
        Mjy-)g           lass.
                          sw.j»       SM.32S     $6097              man                                      $4.263                                 ***7                            S6.W
L       ""V"
        )U1'1S            $17411      $11.908    $3.102             ;i7,an                                   53477               $ui3               $4493                           $5.103
                                                                    $17,011                                  $3,377                                 $4493                           S3,103
        «!&M              $17,011     $11,908
                                         11      Sffi.                                                                          Sim
                          $17,011                $3,103             $17.011                                  $3.572                                 $4493                           $3-103
                                      iiim
        Od-18             $14,756     $10.379                       W4S6                                     $3.099              $3.763             $34$:                           M.
                                                                                                             $3,099                                                                 $4,417
;       Hov-lt            $14,736    m           iffl.              $14.736                                                                        .n.m
                          $14,750     $10,329                       $14,73$                                  $3,099              $3.763             $3,9$:                          $4,427
-       Ow-M                                     as

                 .t*b*
        107017             31.0795
        20 7017
                          3&25L                                                                                                                                                               ;
r       3Q2017            24,9393
        402017             27.51%                                             1 1 1 iiii . lim .Vii nr « 'i fit ii                                                                           uiM




Available Cap Dollars as of January 2018".
                                                                                                               —     —-


'incentive $ By Segment (' "          Early       Prtmiiyji            Secondary                                      mm
            Isrs-m                   §14,600      $28,07S                §20,3?2                                      S61.C0C
            feb-18                   §14.600      §26,078                §20,322                                      §61,000

            Mlf-lS                   §14,600      $26,078                $20.322                                      §61,000

            Apr-18                   §3,133       §25,545                §20,322                                      $»9„000
            May-is                   §3,333       $25,545                $20,322
            Jup.-IS                  $3,133       $25,545                $20322                                       §49,000
                                     $3,133        $21.856               $17,011                                      ^coo
           Jifii-
    r                                $3,133       $21,856                swin                                         §42,000
    i

                                                  §21,856                                                             $42,000
           isedi                                                         liiSiL
            Oct- IS                  $1,53$        $18;711               $1436-                                       §35iOOO
                                                                         $14,756                                      l?Mco
    u
            NOV- 18                               is
            oeo-is                   §1,533        §15,711               $14,756                                      $35,000      „
               Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 178 of 191



               ank

         EP-MN-WS3D                                    September ?. 2012
         60 Livingston Avenue
         St. Paul, m 5510/

         NCO Financial Systems, Inc.
         Attn: Joshua Gindin, Esq.
         Executive Vice President and General Counsel
         507 Prudential Road
         Horsham, Pennsylvania 19044


         Turnstile Capital Management, LLC
         Attn: Alan Amico
         401 West A Street, Suite 1300
         San Diego, California 92101


                                       Re:    Fee Agreement With Respect to Special Services


         Ladies and Gentlemen:


                       Reference is hereby made to the following:


                       (0       that certain Special Servicing Agreement dated as of March 1 , 2009 (the "March
         SSA") by and among First Marblehead Education Resources, Inc. ("FMER") as special servicer,
         U.S. Bank National Association ("U.S. Bank") as hack-up special servicer and each of the Trusts
         party thereto;


                      that certain Special Servicing Agreement dated as of May 1, 2009 (the "May
                       (ii)
         SSA" and together with the March SSA, the "SSAs") by and among FMER as special servicer,
         U.S. Bank as back-up special servicer, Ambac Assurance Corporation ("Ambac") and each of
         the Trusts party thereto;


                      that certain Special Subservicing Agreement dated as of September 7. 2012 (as
                       (iii)
         same may be amended from time to time, the "Special Subservicing Agreement") by and
         between Turnstile Capital Management. LLC ("TCM") and LPS. Bank as successor special
         servicer under the SSAs; and


                        that certain Third Amendment to Default Prevention and Collection Services
                       (iv)
         Agreement (the "Third Amendment") dated as of June 21, 2012, by and between U.S. Bank, as
         successor special servicer and NCO Financial Systems, Inc. (together with its successors and
         assign, "NCO"), and amends that certain Default Prevention and Collection Services Agreement
         entered into by and between First Marblehead Education Resources, Inc. ("FMER"). the initial
         Special Servicer and NCO and dated as of March 1, 2009, as amended by that certain First
         Amendment to Default Prevention and Collection Services Agreement entered into by and
          between FMER and NCO and dated as of May 1, 2009, and by that certain Second Amendment
          to Default Prevention and Collection Services Agreement entered into by and between FMER



          14103-M5.5

sisbarik.com
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 179 of 191



and NCO and dated as of June 15, 2012 (as amended from time to time pursuant to terms thereof,
the "NCO Agreement"),


             WHEREAS, U.S. Bank has become the successor special servicer under the SSAs (the
"Successor Special Servicer") and as the Successor Special Servicer, it has retained TCM and
NCO to provide certain subservicing including the Special Services pursuant to the terms of the
Successor Special Servicing Agreement and the Third Amendment, respectively; and


             WHEREAS, the Successor Special Servicer will agree to pay or direct the payment of the
fee it is entitled to receive under Section 5(A) of the SSAs to: (x) NCO, as compensation for
collection system-of-record, servicer/OCA management, portfolio strategy and accounting
services under the Third Amendment and (y) TCM, as compensation for the performance of
subservicing duties under the Special Subservicing Agreement, each in accordance with the
terms provided herein.


             NOW THEREFORE, in consideration of the premises set forth above, and other good
and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
parties hereto hereby agree as follows:


             1.       Defined Terms. AH capitalized terms in this letter agreement shall have the same
meaning given to them in the SSAs, unless otherwise expressly stated herein.


             2.       Compensation. As compensation to (x) NCO, for performance of the Collection
Agency Management Services and the Other Services (as such terms are defined in the Third
Amendment) pursuant to the Third Amendment, and (y) TCM, for performance of the services
contemplated in the Special Subservicing Agreement, NCO and Goal shall each be entitled to a
fee (collectively, the "Fee") payable from each Trust in accordance with the related Indenture on
each Distribution Date consisting of:


             A. to NCO - a fee at a rate equal to sixty-two percent (62%) of 1/12 of 0.01% of the
                  aggregate outstanding Pool Balance (for the Student Loans owned by such Trust) as
                  of the last day of the prior calendar month; and


             B. to Goal - a fee at a rate equal to thirty-eight percent (38%) of 1/12 of 0.01% of the
                  aggregate outstanding Pool Balance (for the Student Loans owned by such Trust) as
                  of the last day of the prior calendar month.


NCO and TCM acknowledge that for so long as FMER is performing Special Services, the
Successor Special Servicer has agreed with FMER that FMER shall be entitled to the Servicing
Fee (as identified in the SSAs). Accordingly, the Successor Special Servicer shall have no
obligation to, and NCO and TCM shall not be entitled to payment of the Fee (or to the expense
reimbursement identified in Section 3 below) until such time as performance of the services
contemplated above has been transferred to NCO and TCM as applicable and FMER has ceased
performance thereof.




14103449.5
        Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 180 of 191



             3.   Reimbursement. Each of NCO and TCM agrees and acknowledges that with
respect to any additional fees and expenses incurred on behalf of a Trust and reimbursable to it
under the NCO Agreement and the Special Subservicing Agreement, respectively, the
reimbursement of such fees and expenses shall be subject to the terms and conditions of the
SSAs, including, without limitation, the Monthly Reimbursement Limit.


             4.No Recourse. The payment of the Fee and expense reimbursement shall be solely
an obligation of the Trust for which such expenses were incurred, payable in accordance with the
applicable Indenture. U.S. Bank National Association, individually or in any of its
representative capacities, shall not be liable to NCO or TCM for any amounts owed herein
except to the extent the Fee and such other amounts are reimbursed by the Trusts and received by
the Successor Special Servicer directly.


        5.     Amendment. Neither the Fee nor this letter agreement may be amended except by
an instrument in writing signed by each party hereto as of the date of any such amendment.


             6.   Execution. This letter agreement may be executed in any number of counterparts,
each of which shall be an original, and all of which, when taken together, shall constitute one
agreement. Delivery of an executed signature page of this letter agreement by facsimile
transmission or emailed pdf shall be effective as delivery of a manually executed counterpart
hereof.


             7.   Governing Law. This letter agreement (and any dispute related to this letter
agreement arising under contract law, tort or otherwise) shall be governed by, and construed in
accordance with, the substantive laws of the State of New York.



             [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




14103449.5
 Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 181 of 191




        Kindly indicate your agreement by executing a counterpart copy of this fee letter
agreement where indicated. Each of the undersigned have caused this letter to be executed by its
duly authorized officer as of the date first set forth above.

                                     Sincerely,


                                     U.S. BANK NATIONAL ASSOCIATION, as
                                     Successor Special Servicer

                                                               .   A
                                     By:      -4£r, B.             /

                                     Name:
                                     Title:        Eve D. Kaplan       ^       .     ,
                                                  Se ti ter u/C£ r'rrstdsi') T

ACKNOWLEDGED AND AGREED:



NCO FINANCIAL SYSTEMS, INC.



By:
Name:
Title:




TURNSTILE CAPITAL MANAGEMENT, LLC


By:
Name
Title:




 14103449.5
    Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 182 of 191



-




           Kindly indicate your agreement by executing a counterpart copy of this fee letter
    agreement where indicated. Each of the undersigned have caused this letter to be executed by its
    duly authorized officer as of the date first set forth above.

                                            Sincerely,


                                            U.S. BANK NATIONAL ASSOCIATION, as
                                            Successor Special Servicer



                                            By:
                                           Name:
                                            Title:




    ACKNOWLEDGED AND AGREED:



    NCO FINANCIAL SYSTEMS, INC.



    By:
    Name: Alan B.          Superfine
    Title:       vice   President




    TURNSTILE CAPITAL MANAGEMENT, LLC


    By:
    Name
    Title:




    14103449,5
     Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 183 of 191




        Kindly indicate your agreement by executing a counterpart copy of this fee letter
agreement where indicated. Each of the undersigned have caused this letter to be executed by its
duly authorized officer as of the date first set forth above.


                                     Sincerely,


                                    U.S. BANK NATIONAL ASSOCIATION, as
                                    Successor Special Servicer



                                     By:
                                     Name:
                                     Title:




ACKNOWLEDGED AND AGREED:



NCO FINANCIAL SYSTEMS, INC.



By:
Name:
Title:




TURNSTILEfeAP            MANAGEMENT, LLC


By:
Name
Title:




14103449.5
       Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 184 of 191



  NCO                                                                                          NCO Financial Systems, Inc.11


                                                                                              507 Prudential Road
                                                                                              Horsham, PA 19044

                                                                                              Phone: [2151 441-3000




   February 27, 2013




   U.S. Bank National Association

  Attn; Brian Tri


  60 Livingston Avenue


  Mailcode: EP-MN-WS3D


  St. Paul MN 55107




  Turnstile Capital Management, LLC


  Attn: Alan Amico

 401 W. A Street, Suite 1300


 San Diego, CA 92101




 RE:  Letter Agreement/ Addendum to THIRD
                                          AMENDMENT to Default Prevention and
                                                                              Collection
 Services Agreement




Gentlemen:


This letter confirms the agreement amon
                                        g Turnstile Capital Management, LLC, U.S.
                                                                                   Bank
National Association and NCO Financial
                                       Systems, Inc. ("NCO") with respect to fees
                                                                                  to be paid to
NCO for the bankruptcy services performed
                                           by NCO in accordance with the Third Ame
                                                                                      ndment
to the Default Prevention and Collection
                                            Services Agreement dated June 21,2012
                                                                                    ("Third Amendment").
It has come to our attention that Exhib
                                        it H to the Third Amendment omits to
                                                                               identify the servicing fee to
be paid to NCO in connection with the perfo
                                               rmance of the bankruptcy services generally
                                                                                            described in
Section 2.5 and Exhibit F to the Third Amen
                                              dment. Accordingly, by your signature below
                                                                                          , you agree to
amend Exhibit H to the Third Amendmen
                                           t by adding the following new clause to
                                                                                   Exhibit H under the
        Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 185 of 191




  heading "Post Default Collections (including Probate Recoveries)" in
                                                                       order to specify the fees
  for NCO's bankruptcy servicing:


  "f. Bankruptcy Recoveries.


  NCO shall receive a fee equal to thirty percent (30%) of all amounts
                                                                       collected and all proceeds
  collected from Trustees in all bankruptcy cases in which NCO provides
                                                                         bankruptcy servicing.

  This Part f to Exhibit H. as set out above, shall be effective as of March
                                                                             1, 2013.

 Except as specifically modified above in this letter agreement, all
                                                                     other terms and conditions of
 the Third Amendment to the Default Prevention and Collection Services
                                                                            Agreement shall
 continue in full force and effect.




 Accepted and agreed to this 27th day of February, 2013

  NCO Financial Systems, Inc.


 Bv^^^

 Printed Name: Michael A. Bevilacqua. Jr.


 Title Vice President




 U.S. Bank National Association, as Special Servicer


 By.

Printed Name:           ^ncuTX    0       ill

Title      "n! I C e.


Turnstij       pital Management, LLC


By.

Printed Name:           nISTH L
Title                         iTpCASuf&p.
          Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 186 of 191

                                                                                                          !

                                                                                                          \
                                  NINTH AMENDMENT TO
   DEFAULT PREVENTION AND COLLECTION SERVICES AGREEMENT

       This Ninth Amendment to Default Prevention and Collection Services Agreement (this
"Amendment"1! is entered into as of January 3 1 . 2019, by and between l-J.S. Bank National
Association, as successor Special Servicer, a national banking association with a place of business at
60 Livingston Avenue, Mailcodttr EP-MN-WS3f>, St. Paul" M'N 55107 (together with its successors
and assigns, the "Successor Special Servicer"! and TransworSd Systems inc. (including but not limited
to as assignee of NCO Financial Systems, Inc. ("NCO")), a corporation organized under the laws of
the State of California having a place ofbusiness at 507 Prudential 'Road, Horsham, PA 19044
(together with its successors and assigns, TSI"), and amends that certain Default Prevention and
Col lection ' Services Agreement entered into by and 'between 'First Marb'lehcad 'Educat ion Resources,
Inc. ("FMER"), -the initial Special Servicer, and NCO and dated as of March 1, 2009 (the "Original
Agreement"!, as amended by that certain First Amendment to Default Prevention and Collection
Services Agreement entered into by and between FMER and NCO and dated as of May 1 , 2009 (the "First
Amendment"! and by that certain Second Amendment to Default Prevention and Collection
Services Agreement entered into by and between FM ER and NCO and dated as of June 1 5, 2012 (the
"Second Amendment" and, together with the Original Agreement and the First Amendment, the "NCO
Agreement": and the NCO Agreement, as supplemented and amended by this Amendment and as
same may be further amended from time to time pursuant to Section IT. 10, the "Agreement"!.



       WHEREAS, pursuant to that certain (i) Special Servicing Agreement dated as of March
1, 2009 (the "March SSA") by and among FMER as special servicer, U.S. Bank National
Association as back-up special servicer (in such capacity the "Back-Up Special Servicer") and
each of the Trusts listed on Schedule A to the March SSA and (ii) Special Servicing Agreement
dated as of May I, 2009 (together with the March SSA, the "Special Servicing Agreements") by
and among FMER as special servicer, U.S. .Bank as back-up special servicer, Ambae Assurance
Corporation ("Ambae"! and each of the Trusts listed on Schedule A to the May SSA, the Trusts
appointed FMER as the initial Special Servicer and U.S. Bank as the Back-Up Special Servicer for
the purposes of providing default prevention, collection and other special services to the Trusts
identified in the Special Servicing Agreements (collectively, the "Trusts" and individually, a
"Trust"! in accordance with the terms of the Special Servicing Agreements.


       WHEREAS, pursuant to the Special Servicing Agreements, FM ER as initial Special
Servicer arranged for the outsourcing to NCO of certain -default prevention and collection activities
of the Special Servicer under the Special Servicing Agreements in the event that U.S. Bank became
the successor Special Servicer under the Special Servicing Agreements;


       WHEREAS, as of June 21, 2012, the Successor Special Servicer assumed certain duties of
the 'Special Servicer under the Special Servicing Agreements and FMER notified NOG of such
assumption;




                                                                                                          I
                                                                                                          i
                                                                                                          i
                                                                                                          i
                Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 187 of 191


                                                                                                        I


                                                                                                        f

        WHEREAS, pursuant to the NCO Agreement, upon being notified of the assumption by U.S.
                                                                                                        I
Bank as Back-up Special Servicer of certain of the duties of the Special Servicer under the Special
Servicing Agreements, NCO began performance of the Services specified in the NCO Agreement;

                                                                                                        J
        WHEREAS, June 2 i, 20(2, is the "Effective Date" for purposes of the Agreement;


        WHEREAS, TSI acquired Lite lights, obligations- and' duties of NCO' under the Agreement and"
the parties wish to amend the Agreement, to update the collection and enforcement services, to be
provided by TSI thereunder,


        NOW THEREFORE, in consideration of the premises set forth above, and other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties
hereto hereby .agree as follows:


            L      Defined Terms. All capitalized terms in this Amendment shall have the same
meaning given to them in the Agreement, unless otherwise expressly stated herein.


        2         Amendments of the Agreement. The Agreement is hereby amended in the following
respects:

                     2.1 Exhibit H to the Agreement, identified as version 7/1/14, and as
subsequently amended, is. amended by deleting the charts titled "Early Tier Bonus", "Primary Tier
Bonus", "Secondary Tier Bonus" and "Top Agency Bonus", and replacing them with the                      i
following:


                                                                                                        \
    •   Incentive program structure - Cap Dollars are assigned by trust to each of the 2 Pre-
        Default segments. The OCA incentive plan will be comprised of a fixed compensation
                                                                                                        |
        component (currently 70% of the available dollars) and .a variable compensation based on
        performance (currently 30% of the available dollars). The fixed and variable incentive          I
        components may change from time to time based on overall performance, inventory, and



    •
        available cap dollars.


        Goal setting - Targets are established based on a year over year comparison to the prior
        quarters' results- and other relevant factors to- optimize overall results. TS-I will compare
                                                                                                        !
        how the OCA performed versus the Index. For each quarter, TSI will assume the higher
        result (the OCA's past performance or the Index) as the benchmark and added 1% lo               !
        establish the performance target. Goals will be reevaluated as appropriate utilizing the
        above methodology and considerations. Targets are established based on a comparison to
        historical results, Goals will be reevaluated as necessary and agreed upon by U.S. Bank,
                                                                                                        I
        TCM and TSI.


    •   Allocation of Cap dollars - For any trust with remaining available cap dollars, TSI will
        conduct a periodic inventory analysis Lo allocate dollars to the 2 Pre-Default segments,
        Allocations are first made to the Secondary segment. From there, available dollars will be
        allocated to the Primary segment. The Intent again is to utilize the OCA and AES where
        they are overall most effective. The above analysis will be conducted periodically based on




                                                                                                        j
             Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 188 of 191




       inventory and available trust cap dollars

   •   Please refer to Appendix A for the trust dollar allocations and performance targets as of
       January 2019, This is subject to change based on periodic reviews of performance,
       inventory, and available cap dollars.                                                                I


         X    Effect of Amendment. This Amendment shall he effective as of the- date first set forth
above. Except as expressly amended by this Amendment, all terms and provisions contained in
the Agreement shall continue in full force and effect, without modification. All references in the
Agreement to the Agreement shall be deemed to mean the Agreement as modified hereby. This
Amendment shall not constitute a novation of the Agreement, but shall constitute an amendment
                                                                                                            !
thereof. The parties hereto agree to he hound by the terms and conditions of the Agreement, as
amended by this Amendment, as though such terms and conditions were .set forth therein. This                I
Amendment may not be amended or otherwise modified except as provided in the Agreement. The
failure or unenforceability of any provision hereof shall not affect the other provisions of this
Amendment or the Agreement,


        4.      Multiple Counterparts, This Amendment may be executed in multiple counterparts,
each of which shall be deemed an original for all purposes and all. of which shall be deemed,
collectively, one agreement, but in making proof hereof it shall not be necessary to exhibit more
than one such counterpart, Delivery of an executed counterpart of this Amendment by facsimile or
pdf electronic transmission shall be deemed as effective as delivery of an originally executed
counterpart.


      5    GOVERNING LAW, THIS AMENDMENT SHALL BE GOVERNED BY,
AND CONSTRUED IN ACCORDANCE WITH, THE INTERNAL LAWS OF THE STATE OF OHIO,
WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF LAW PROVISION OR RULE
THAT WOULD CAUSE THE APPLICATION OF LAWS OF ANY JURISDICTION OTHER THAN
TO THOSE OF THE STATE OF OHIO. EACH PARTY WAIVES ITS RIGHT TO A JURY TRIAL
WITH RESPECT TO ANY ACTION OR CLAIM ARISING OUT OF ANY DISPUTE IN
CONNECTION WITH THIS AGREEMENT, ANY RIGHTS OR OBLIGATIONS HEREUNDER OR
THE PERFORMANCE OF ANY SUCH RIGHTS OR OBLIGATIONS.



       IN WITNESS WHEREOF, the parties hereto have caused this Eighth Amendment to the Default Prevention
and Collection Services Agreement to be executed as of the date first written above.




                                         U.S. BANK NATIONAL ASSOCIATION, as Successor
                                         Special MrvNer .under the Special Servicing Agreements             I

                                         By;                                                                [
                                                            John G. Richards |)
                                         Name:

                                                             Vice Presfcteni                                !
                                         Title?




                                                                                                            I
                                                                                                            I
Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 189 of 191

                                                                          t
                                                                          !



                     TRANSWQRLD SY^TC^IS INC.
                                                                          i
                     By:
                                4^
                     Name: Ralph Lyons     \J
                                                                          i
                     Title: SVP Portfel io Management & Legal- Services   i
                                           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 190 of 191




                                                                                                                                        Appendix A

                                                                                                                            As of January 2019,

        Subject to change based on periodic reviews of performance, inventory, and available cap
                                                                                                                                            dollars.



                                                                                                                                                                                                                                                                        I


                                                                                                                                                                 %%% <tt target     ttd&aflVgel                  iOff&of Jaigtrt              JOilNiOf tiargfci
                            OC A Pief)efduli                                    70^ of syllable 30'Hof iwatlable                RfaxPotenlUf                     Achieved- IG%    iUhleveri - tt'K           At Htevecf 9Q&               Achieved - 11KJH




                                                                                                                                                                                                                                                                        I
                            Swuu Stfurtuce                                                                   toirspS            timipamaHiph                      otvariahSe         of v^fiatate                 Of                            ai VJUdWi?
                                                                                                                                                                   jjySoHtf*^         pptunfal                     pcitenllaf                   poteiu^J
    l***£L
                                                                                                             V«UM»                      Ifcta*                       lis* J                       1                     Tier .1
        Pidfn^              Mcaljj^                        C ap £                                    J    PotchriteS £          C«»*P|jfir.UllOh                   y3Jjjfrk_$        Variable $                    V3tbbls3 1_                ., Y*ML®>
               is __>>_>                               Hi^-Lil-                                                                                                      j4 Sib         _ u? C^_                            J-= J.-V                  H.W-
        Out- IS             -jUHi; ^ $d£.iuG _                                                               jJ.i-JO            _                                                        iiu.L'Ba                                                 :pA40
                                                                                       if _:
         toll' *9           h\i<- t-?                                                                                                                                                                              a Sfc.-Vte                     5-vi^o
                                                                                                                                                                                     :


        Jdrli: YL ...2Y2E2L., i                                                                                                                                                          -usm                    "' li'.'rtj.                     £J«lSsO
        Mat j'>             h'^v dr                    -vLV'-'yL                                                                                                                         £.?:,.        ...              &M-
        *!><«»                  '*"-}*                                                                       OUSA                     •5: j.SSs                                          ii. m                                                                           \
                                                                                                                                                                                                                                                  <> ;«<,
         lun tg .           -y ,,v                         thj^/ __         _ _ J6£|*                1                                 fcu'P?
         M is               w>j- i*                        L*i?jL

    _'>!»! ! 11                     " E ^ | sT^V"'                                                           T^#
                                                                                                                                                                                              ,5*3

                                                                                       f*v?£A, .                                                                                                                    .LLifA.
    Asi-l                                                               i              *XvL                                                                                                                        .11*2*
        Nov- 14 j ;                                                                    ?<• i£::                                                                     ; i 9-J&

        tttff • f a J           •
                                                                                                                                                                                                                                      -
         hlil M I !                                    t
                                                       X                               L*jlL        -1
        Alj f*>t> l« (i                *«.         (


                                                                                                                                                                     ;-dX0 ,             "*&'•>                         n.tss
                                                                                                                                        itt&ti               j      5*l.6S&                                                                      in:6$s
                                                                                                                            !          Jutf&fi           I                                                                                       sJ 3.93d
                                                                                                                                                                                         iiiSL
                                                                                                                            j          .WOt*             ;                               fs.aw                                                   jdUof
                                                                                                                                       Af'tOlt                                                                          SS.SiS        1


                                                                                                                                                                                                                                                                        I


»   I                                                                       I
                                                                                                     ~                          r                                I yiYnifl<ir^t 1                 Uigt't          tiWditif Ta<$ef              liriftol fdigel :
                                                                                                                                                                                                                                                                        !
                                    Or APftJiuliul?                                   m% of tvilbUfr lOfiaf «v«»b&:                                               A^tev*<2 •        Achieved'                     Achieved * ®0i6 A<blev«!t< • JiKiK
                                                                                                                                                                                                                                                                   -4
                                    Bofurt ittititule                                      ton»p$              fwnpS                  CtKTip#iiia!ioii              ofv»Uh(ft            otvariaJde                 yfwajiable                   al wtMile
                                                                                                                                                                                                                        pote-rtfial
                                                                                                               VAtfokJks                                 "" '          Ikr i"                itet J                       riei i                     tteM

        '.Yd '.Y;           MoMh                                                                              Pe^ittiil S             Cmnpemattoii                   Variable $          VariEty!? $         j          Vsrmh^ $                 VafUbte$
                                                             C*PV .
        rjnyiii                                            ii       04 _          ^                   " *"      f-'if;                                                                      ^i.Av6                       $1,l04
        jtiHja
                    x— :
                            '              '       |       ili.'KC-         i :             St-.W*             "•'"                   "jn ^o""""'                      i»7jv"             ' k:> ye-j
                                                                                                                                                                                                '            ,
                                                                                                                                                                                                                    '
        .mj? ^                                     \ J.LIyMa...                            JVi^L               MJ11-                     iii.) i*>                     ilis<                                             U£di                                           i
        leh- S-(                                                                                               HdiSL
        Md'-.i1'
         ApJ-14

                                                       ""sA.'/f*
                                                                                  :

                                                                                  : .
                                                                                  !""
                                                                                       _

                                                                                                              :L;-. t;.o
                                                                                                         t_" Ji.^v
                                                                                                                                ...

                                                                                                                                  _
                                                                                                                                                                        S&u-s
                                                                                                                                                                                                                                                                        I
         fiHt-wj A.:y.J.-r j                                <4.7i3                                             .ii±L;l
                                                                                                                fri,4?.o                  a.'Hy                                                                           nr!t__                   ?i.43-d
        Jdl   I »                                                                       ...JL1M.
            is;                                _       _S-5_?vi                             512H                                                                                                                         "11 m"                   .Siii
         ^p-h!                                              •r.*   t,                                                                                                   5&^-

        .911 -}                                                                             n.>s?                                                                                                                                                   •.   i              i
        Ho»     i   .                                                                                                                    JttJM.                                            i; U:71                        r:Lf/?.
                                                                                                                                                                      J?H ..                $i.W
         lh    ^            1
                                                             4.                                                                           tA.iii                        few                                  \      ' AK.SIZ              .                              !
        _^LJ '
        All ft!t        u           ) ry           l rygolij Al.s
                                                                                                                liJlH
                                                                                                                                          lit C.Y'                                                                      £}yA*L^...
                                                                                                                                          J.-nt
                                                                                                                                                                       !?•                                                jg.Wi
                                                                                                                                          5J«Olt_    ___               pAdV                                               u.m         "
                                                                                                                                          jinO!'




                                                                                                                                                                                                                                                                        i:




                                                                                                                                                                                                                                                                        f
                                                                                                                                                                                                                                                                        j
           Case 2:18-cv-01132-TSZ Document 88-1 Filed 10/05/20 Page 191 of 191




                                                                                 !

Available Cap Dollars as of January 2019:

                                                                                 1
                                                                                 I
   Inventive $
                   Primary     Secondary     Total
   By Segment
                                                                                 !
      Jan- 19      $23,800      $11,200     $35,000

      Feb- 19      $23,800      $11,200     $35,000

      Mar- 13      $23,200      $11,200     $35,000                              I

      Apr- 19      $13,933       $7,067     $21,000

     May- 19       $13,933       $7,067     $21,000

      Jim- 19      $13,333       $7,067     $21,000

      Jul -19      $9,267        $4,733     $14,000

     Aug- 19       $9,267        $4,73:3    $14,000

      Sep- 15      $9,267        $4,733     $1.4,000

      Oct- 19      $3,267        $-5,733    $14,000

      Nov- 13      $9,267        $4,733     $14,000

      Dec- 19      $9,2.67       $4,733     $14,000
